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Transcript Name   Depo Date Page Line Page Line                      Page Line Page Line                              Page Start Line Start Page End Line End
                            Start Start End End                      Start Start End End
Amato, Lynne      8/26/2015   7      7      7       10
Amato, Lynne      8/26/2015   7     15      7       17
Amato, Lynne      8/26/2015   17    19     18        8
Amato, Lynne      8/26/2015   24     8     24       12      402
Amato, Lynne      8/26/2015   40     5     40       16      402       38      3      39     25
Amato, Lynne      8/26/2015   40    22     40       25      402
Amato, Lynne      8/26/2015   41    14     41       18      402
Amato, Lynne      8/26/2015   41    24     42        1      402
Amato, Lynne      8/26/2015   42    11     42       16      402       42     21      43     13
Amato, Lynne      8/26/2015   44     3     44       17
Amato, Lynne      8/26/2015   47     2     48       10
Amato, Lynne      8/26/2015   49    18     49       23
Amato, Lynne      8/26/2015   52    17     53        4
Amato, Lynne      8/26/2015   55    10     55       18
Amato, Lynne      8/26/2015                             HS (92:13-    93      2      93     13
                              91    19     93        1     93:1)
Amato, Lynne      8/26/2015                            402, 403, 602
                              93    20     93       24
Amato, Lynne      8/26/2015                            402, 403, 602 94       6      94     7
                              94     2     94        5
                                                                      94     19      95     3
                                                                      95     14      96     21
Amato, Lynne      8/26/2015   97    25     98        6      402
Amato, Lynne      8/26/2015  119    24    120        4
Amato, Lynne      8/26/2015  120     6    120       18
Amato, Lynne      8/26/2015  128     6    128        8
Amato, Lynne      8/26/2015  128    17    129        1   402, 602
Amato, Lynne      8/26/2015  171     1    172        4        L
Amato, Lynne      8/26/2015  172     6    172        8        L
Amato, Lynne      8/26/2015  172    11    172       18        L
Amato, Lynne      8/26/2015                             VAG, 602,
                             172    19    172       21      701
Amato, Lynne      8/26/2015  172    24    172       25   602, 701
Amato, Lynne      8/26/2015                              602, 701,
                             173     4    173       20  HYPO, AF
Amato, Lynne      8/26/2015                              602, 701,
                                                         HYPO, L
                             173    23    175       14  (175:2-14)
Amato, Lynne      8/26/2015  180    17    181        8     L, HS
Amato, Lynne      8/26/2015                            L, VAG, 402,
                             181    10    181       15      BS
Amato, Lynne      8/26/2015  181    21    181       25  L, BS, 402
Amato, Lynne      8/26/2015  182     2    182        3    602, BS




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Amato, Lynne      8/26/2015                               BS, 602
                                                        (182:8-11),
                              182   8      183     7   HS (183:4-7)
Amato, Lynne      8/26/2015                            HS (183:12-
                              183   12     183    16     13), L, BS
Amato, Lynne      8/26/2015   183   19     184     1        L, BS
Amato, Lynne      8/26/2015   184    5     184     6        L, BS
Amato, Lynne      8/26/2015   184    9     184    15        L, BS
Amato, Lynne      8/26/2015   184   21     185     7        L, BS
Amato, Lynne      8/26/2015   185    9     185    13     L, BS, AF
Amato, Lynne      8/26/2015   185   16     185    24     L, BS, HS
Amato, Lynne      8/26/2015   186    3     186     5     L, BS, HS
Amato, Lynne      8/26/2015   186    8     186     8     L, BS, HS
Amato, Lynne      8/26/2015   188    3     188     4
Amato, Lynne      8/26/2015                            BS, 402, 403
                              188   8      188    20
Amato, Lynne      8/26/2015                            BS, 402, 403
                              188   24     189    15
Amato, Lynne      8/26/2015                            BS, 402, 403
                              189   16     189    20
Amato, Lynne      8/26/2015   189   23     190    24       602        193     5    193     22
Amato, Lynne      8/26/2015   191    1     191     1       602
Amato, Lynne      8/26/2015   191    3     191     8     602, VAG
Amato, Lynne      8/26/2015                                602        194     7    194     9    Argumentative; Asked
                                                                                                and answered; Vague
                              191   10     191    12                                            and ambiguous
                                                                      194    12    194     18   Argumentative; Asked
                                                                                                and answered; Vague
                                                                                                and ambiguous
Amato, Lynne      1/18/2008   5      4      5      6       HS
Amato, Lynne      1/18/2008   5     14      5     15       HS
Amato, Lynne      1/18/2008   7     13      7     23       HS
Amato, Lynne      1/18/2008   17     9      17    13     HS, 402
Amato, Lynne      1/18/2008   20    15      20    24     HS, 402
Amato, Lynne      1/18/2008   21     9      21    11     HS, CUM
Amato, Lynne      1/18/2008   21    16      21    20     HS, 402
Amato, Lynne      1/18/2008   46     6      46    16     HS, CUM
Amato, Lynne      1/18/2008   46    19      46    25       HS
Amato, Lynne      1/18/2008   47     5      47    13     HS, CUM
Amato, Lynne      1/18/2008   47    17      48     8     HS, CUM
Amato, Lynne      1/18/2008   55    25      56    10     HS, CUM
Amato, Lynne      1/18/2008   56    22      57     4     HS, 602
Amato, Lynne      1/18/2008   57    10      57    20       HS          57    23     58     3




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                            Start Start End End                        Start Start End End
Amato, Lynne      1/18/2008                               HS, 602
                                                       (66:25-67:13)
                              66    20      67    13
Amato, Lynne      1/18/2008   70     4      72    12     HS, 602
Amato, Lynne      1/18/2008                            HS, 602, 701
                              84    1       84    16
Amato, Lynne      1/18/2008                             HS, CUM,
                              85    5       85    13       602
Amato, Lynne      1/18/2008                             HS, 402,
                              87     1      87     4       VAG
Amato, Lynne      1/18/2008   87    11      87    16     HS, 602
Amato, Lynne      1/18/2008   91    25      92    16     HS, 602
Amato, Lynne      1/18/2008                            HS, 602, 402
                              114   3      114     9
Amato, Lynne      1/18/2008   150   7      150    16     HS, 402
Amato, Lynne      1/18/2008                            HS, 402, 701,   160    16    161    5   Vague and ambiguous
                                                           VAG                                 (160:16-160:20); 104a
                                                                                               (160:16-161:5); 602
                              159   17     160    15                                           (160:16-161:5)




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                            Start Start End End                        Start Start End End
Amyot, Vincent    4/29/2015   6     19      6       22
Amyot, Vincent    4/29/2015   6     25      7        1
Amyot, Vincent    4/29/2019  34      9     35       13
Amyot, Vincent    4/29/2015  40     23     40       25 701, PK
Amyot, Vincent    4/29/2015  41     24     42        4 701, PK, INC

Amyot, Vincent    4/29/2015    48     23    48     25   701, PK, 602

Amyot, Vincent    4/29/2015    49     3     49      4   701, PK, 602

Amyot, Vincent    4/29/2015    53     7     53     25   701, PK, 602    54      1       54    8    Vague and
                                                                                                   ambiguous;
                                                                                                     104a
                                                                       54       12      55     2
Amyot, Vincent    4/29/2015   174     1     174     9   402            182      22      182   23
                                                                       183       9      183   17      106
                                                                       185       9      186    4
                                                                       187      17      187   25
                                                                       189       4      190    2    104a; 602
                                                                       193      19      194    5    104a; 602;
                                                                                                   Vague and
                                                                                                   ambiguous
                                                                                                   (193:19-20)
Amyot, Vincent    4/29/2015   174     11    174    16   402                                                               175           4      175         18 BS
Amyot, Vincent    4/29/2015   179      8    179    15   701, PK, 602   177      12      179   7

Amyot, Vincent    4/29/2015   179     19    180     2   701, PK, 602

Amyot, Vincent    4/29/2015   181     17    181    19   602, HS
Amyot, Vincent    4/29/2015   181     22    182     3   602, HS
                                                                                                      106           183            18       183       19       VAG, 701,
                                                                                                                                                               602, 402
                                                                                                      106           183            24       185        5       VAG, 701,
                                                                                                                                                               602, 402
                                                                                                      106           187            1        187        8       402, 602, 701
                                                                                                                    191            19       192       17       701, 402,
                                                                                                                                                               602, HS
                                                                                                                    195            1        195       12       701, 602, 402



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Transcript Name   Depo Date Page Line Page Line                         Page Line Page Line                  Page Start    Line Start Page End Line End
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Amyot, Vincent    4/29/2015  200   15    200       17   701, 602
Amyot, Vincent    4/29/2015  200   20    201       14   701, 602
Amyot, Vincent    4/29/2015  262   15    263       12                   263      13      263   23   402
Amyot, Vincent    4/29/2015  263   24    264        4   INC
Amyot, Vincent    4/29/2015  264    9    265        4
Amyot, Vincent    4/29/2015  288   22    289        5   L
Amyot, Vincent    4/29/2015  291    4    291       16   L, 602, BS
Amyot, Vincent    4/29/2015  291   18    292       25   L, 602, 701,
                                                        VAG, BS
Amyot, Vincent    4/29/2015   293    4     293    11    L, 602, VAG,
                                                        BS
Amyot, Vincent    4/29/2015   293    14    293    21    L, 602, VAG,
                                                        BS
Amyot, Vincent    4/29/2015   294    24    295    17    L, 602, PK,
                                                        701
Amyot, Vincent    4/29/2015   298    18    298    25    PK, 602, L
Amyot, Vincent    4/29/2015   299    24    301     1    PK, 602, L,
                                                        BS
Amyot, Vincent    4/29/2015   301    4     301    9     701, INC, BS    301      10      301   14

Amyot, Vincent    4/29/2015   301    15    301    24    701, INC, PK,
                                                        602, BS
Amyot, Vincent    4/29/2015   302     3    302    12    PK, 602
Amyot, Vincent    4/29/2015   303    18    306    22    701, PK, 602,
                                                        L, 402, BS

Amyot, Vincent    4/29/2015   307    6     308    2     701, 602, PK.
                                                        L
Amyot, Vincent    4/29/2015   309    4     309    6     HS, PK, 602,
                                                        402, 701, BS

Amyot, Vincent    4/29/2015   309    9     310    4     HS, PK, 602,
                                                        402, 701, BS

Amyot, Vincent    4/29/2015   311    10    311    13    L, BS
Amyot, Vincent    4/29/2015   311    16    311    25    L, BS
Amyot, Vincent    4/29/2015   315     4    315     6    402
Amyot, Vincent    4/29/2015   315    10    315    12    L, 402
Amyot, Vincent    4/29/2015   315    15    315    15    L, 402



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Amyot, Vincent    4/29/2015  315   17    316       5 L, INC, 402
                                                                                                        106      316           6       316       21       602, 402
                                                                                                        106      317           2       317        4
                                                                                                        106      317          20       317       24
Amyot, Vincent    4/29/2015   321    12    324    15   L, 602, 402,
                                                       701
Amyot, Vincent    4/29/2015   324    18    324    22   L, 602, 402,
                                                       701
Amyot, Vincent    4/29/2015   324    24    325     4   L, 602, 402,
                                                       701
Amyot, Vincent     5/2/2008     6     4      6     6   HS
Amyot, Vincent     5/2/2008     7     1      8    14   HS
Amyot, Vincent     5/2/2008     9     3      9     6   HS
Amyot, Vincent     5/2/2008     9    21      9    23   HS
Amyot, Vincent     5/2/2008    15    18     15    24   HS
Amyot, Vincent     5/2/2008    16    24     17     8   HS
Amyot, Vincent     5/2/2008    17    15     17    19   HS                24   16      26     5 Vague and
                                                                                               ambiguous
                                                                                               (24:16-17,
                                                                                               24:25, 25:6-
                                                                                               7); 106
Amyot, Vincent     5/2/2008    18    13     18    22   HS
Amyot, Vincent     5/2/2008    19     6     19    18   HS
                                                                                                        106      26           6         26       20                  402
                                                                                                                 26           17        27         2                 402
Amyot, Vincent     5/2/2008    38     8     38    23   PK, 602, HS

Amyot, Vincent     5/2/2008    39     3     40     6   HS
Amyot, Vincent     5/2/2008    40    16     41     1   HS
Amyot, Vincent     5/2/2008    42     1     42     4   HS                42    5      42    15
Amyot, Vincent     5/2/2008    42    16     42    22   HS                42   23      42    24
Amyot, Vincent     5/2/2008    42    25     43     3   PK, 602, HS
Amyot, Vincent     5/2/2008    43    15     43    17   PK, 602, HS       47   16      48     7
                                                       HS                51   14      51    19                   51           20        52         1      BS, 402, 602,
                                                                                                                                                          701
Amyot, Vincent     5/2/2008    43    21     44     1   HS, PK
Amyot, Vincent     5/2/2008    44     4     44     7   PK, HS
Amyot, Vincent     5/2/2008    44    17     44    19   HS
Amyot, Vincent     5/2/2008    45     2     45     4   HS




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Amyot, Vincent     5/2/2008  48    10     50        1 701, PK, 602,
                                                      HS
Amyot, Vincent     5/2/2008  50    12     51       10 701, PK,
                                                      602,HS
Amyot, Vincent     5/2/2008  57     3     57        5 HS
Amyot, Vincent     5/2/2008  57    16     57       18 HS
Amyot, Vincent     5/2/2008  57    24     58       14 HS
Amyot, Vincent     5/2/2008  58    24     59        2 HS               59       4     59    5
                                                                       59     22      59   24                59         25         60        1
Amyot, Vincent     5/2/2008  59    11     59       14 701, PK, HS      59       8     59   10         602
                                                                                                                 60        8      60        11      L, 602, 701,
                                                                                                                                                    AF
Amyot, Vincent     5/2/2008   87     4     88     23   701, 602, PK,
                                                       HS
Amyot, Vincent     5/2/2008   94     22    95     21   PK, 402, HS      96    25      97    23 106 (97:21-       97        24     98        9       602, 701, 402
                                                                                               23); 104a
                                                                                               (97:16-21)
                                                                        98    25      99    19 104a              99        20    100        8       602, 701, 402

                                                                       100     9     100    24 104a             100        25    101        5       602, 701, 402

                                                                       169    25     170     7                  170        11    170        19
                                                                       186    25     187    14                  187        15    188        12      602, 701, PK
Amyot, Vincent     5/2/2008   119     9    120    16   HS, PK
Amyot, Vincent     5/2/2008   120    22    121     1   HS, PK
Amyot, Vincent     5/2/2008   123    21    123    24   HS              123    25     124     6 Vague and        124        7     124        13
                                                                                               ambiguous
Amyot, Vincent     5/2/2008   124    19    125    11   602, HS
Amyot, Vincent     5/2/2008   125    25    126     2   HS
Amyot, Vincent     5/2/2008   133     8    133    15   701, PK, HS
                                                                                                        106     170        11    170        19
                                                                                                        106     188         2    188         6      702, 602




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Anspach, Jean-Louis    5/6/2008   6      3      6        6   HS
Anspach, Jean-Louis    5/6/2008   6      9      6       11   HS
Anspach, Jean-Louis    5/6/2008   8     14      8       23   HS
Anspach, Jean-Louis    5/6/2008  51     13     52       13   HS, 402, 403,
                                                             AF, 602
Anspach, Jean-Louis    5/6/2008    53    15      53   19     HS, 402, 403,
                                                             AF, 602
Anspach, Jean-Louis    5/6/2008    54    12      55    8     HS, 402, 403,
                                                             AF, 602
Anspach, Jean-Louis    5/6/2008    85     4      85    7     HS
Anspach, Jean-Louis    5/6/2008    85    21      88    8     HS, 402, 403,
                                                             AF, 602
Anspach, Jean-Louis    5/6/2008    88    14      88   19     HS, AF, 402,
                                                             403, SPEC,
                                                             602
Anspach, Jean-Louis    5/6/2008    90    23      91    1     HS, AF, 1002

Anspach, Jean-Louis    5/6/2008    91     9      92    8     HS, AF,Best
                                                             evidence rule
Anspach, Jean-Louis    5/6/2008    93     4      94    6     HS, 402, 403,
                                                             AF, 602
Anspach, Jean-Louis    5/6/2008   100    23     101   18     HS, 602, AF,
                                                             402, 403
Anspach, Jean-Louis    5/6/2008   133    14     133   21     HS
Anspach, Jean-Louis    5/6/2008   138     3     138    8     HS, 1002,
                                                             Priv
Anspach, Jean-Louis    5/6/2008   138    11     139    2     HS,
                                                             1002,Priv
Anspach, Jean-Louis    5/6/2008   166    15     167   18     HS, 1002,
                                                             601
Anspach, Jean-Louis    5/6/2008   174    13     176    3     HS, 402, 403,
                                                             602
Anspach, Jean-Louis    5/6/2008   178    21     179    6     HS, 402, 403
                                                             602, AF
Anspach, Jean-Louis    5/6/2008   179    20     180    1     HS, 402, 403,
                                                             AF, 602
Anspach, Jean-Louis    5/6/2008   182    24     183    7     HS, 402, 403,
                                                             AF, 602
Anspach, Jean-Louis    5/6/2008   184    14     185   10     HS, 402, 403,   185    11    185   17
                                                             602, 701,




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                                Start Start End End                     Start Start End End
                                                                        187      1      187    3 104a


Anspach, Jean-Louis    5/6/2008   187   4     187   14   HS, 602, 701   188     1    188    9




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                               Start Start End End                                Start End End
Blum, Leonard     12/11/2015    10    19     10       21
Blum, Leonard     12/11/2015    11    13     11       14
Blum, Leonard     12/11/2015    17    22     18        2
Blum, Leonard     12/11/2015    18    20     19       10
Blum, Leonard     12/11/2015    22    17     22       18
Blum, Leonard     12/11/2015    22    20     24       14
Blum, Leonard     12/11/2015    38     5     38        6
Blum, Leonard     12/11/2015    38     8     38        8
Blum, Leonard     12/11/2015    48    18     48       19
Blum, Leonard     12/11/2015    48    22     49        3
Blum, Leonard     12/11/2015    56    24     57        5
Blum, Leonard     12/11/2015    58    19     58       25
Blum, Leonard     12/11/2015    59     3     59        6
Blum, Leonard     12/11/2015    59     8     60       15
Blum, Leonard     12/11/2015    60    17     60       17
Blum, Leonard     12/11/2015    60    19     60       23
Blum, Leonard     12/11/2015    63    16     64       11
Blum, Leonard     12/11/2015    70    17     71        5
Blum, Leonard     12/11/2015    79    21     80        6
Blum, Leonard     12/11/2015   100     3    100        4
Blum, Leonard     12/11/2015   100     6    100       14
Blum, Leonard     12/11/2015   107    13    107       18
Blum, Leonard     12/11/2015   138    13    138       14
Blum, Leonard     12/11/2015   138    16    138       18
Blum, Leonard     12/11/2015   163    24    164       10 INC                 164      18    164 24         106
Blum, Leonard     12/11/2015   164    13    164       16
Blum, Leonard     12/11/2015   165     7    165       22 INC                 165      23    166  4
Blum, Leonard     12/11/2015   166     5    166       22 AA, MIS,
                                                         MPT
Blum, Leonard     12/11/2015   166    25    167        2 MIS, MPT            167       9    167 13
Blum, Leonard     12/11/2015   167    15    167       19 MIS, AA,            167      22    168  2
                                                         MPT
Blum, Leonard     12/11/2015   168     3    168        8 403,AA
Blum, Leonard     12/11/2015   168    10    168       10 403,AA
Blum, Leonard     12/11/2015   169     1    169        8 HS, AA, MIS,
                                                         MPI
Blum, Leonard     12/11/2015   169    10    169       11 MPI, MPT.
                                                         AA
Blum, Leonard     12/11/2015   170     9    170       17 INC                 170      18    171  7
Blum, Leonard     12/11/2015   171    24    172        5 402, 602, 701

Blum, Leonard     12/11/2015   172     8      172   17   602, 701
Blum, Leonard     12/11/2015   176     9      177   23



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                             Start Start End End                                Start End End
Blum, Leonard     12/11/2015 177    25    178       12
Blum, Leonard     12/11/2015 178    15    178       18 403,602,HYP
                                                       O
Blum, Leonard     12/11/2015 178    21    179        5 403,602,Hyp
                                                       o
Blum, Leonard     12/11/2015 179    15    180       18 MIS, 602,
                                                       701
Blum, Leonard     12/11/2015 180    20    180       20 602, 701,
                                                       MIS
Blum, Leonard     12/11/2015 180    22    181       14 MIS, AA, 602,
                                                       701
Blum, Leonard     12/11/2015 181    16    182        6 403, 602, 701

Blum, Leonard     12/11/2015   182   8      182   12   403, 602, 701

Blum, Leonard     12/11/2015   182   15     182   20   403, 602, 701

Blum, Leonard     12/11/2015   191   11     194   18   HS, 602, 701

Blum, Leonard     12/11/2015   196   23     197   21   AA
Blum, Leonard     12/11/2015   197   23     198   13   602
Blum, Leonard     12/11/2015   201   24     202    1   L, MIS, MPT,       200     8    201    23
                                                       602
Blum, Leonard     12/11/2015   202   4      202    4   MIS, 701
Blum, Leonard     12/11/2015   202   6      202   14   MIS, 602,          202    15    202    24
                                                       701
Blum, Leonard     12/11/2015   205   15     205   17   701
Blum, Leonard     12/11/2015   205   19     205   25   701
Blum, Leonard     12/11/2015   207    7     207   11
Blum, Leonard     12/11/2015   209    3     210    2
Blum, Leonard     12/11/2015   210    8     210   14
Blum, Leonard     12/11/2015   210   17     210   18
Blum, Leonard     12/11/2015   210   20     210   23
Blum, Leonard     12/11/2015   211   10     211   12   AA
Blum, Leonard     12/11/2015   211   14     211   14   AA
Blum, Leonard     12/11/2015   211   16     211   17   AA
Blum, Leonard     12/11/2015   211   21     211   21   AA
Blum, Leonard     12/11/2015   213    1     213   12
Blum, Leonard     12/11/2015   213   16     213   18
Blum, Leonard     12/11/2015   213   20     213   23
Blum, Leonard     12/11/2015   213   25     214    4
Blum, Leonard     12/11/2015   214    6     214    9
Blum, Leonard     12/11/2015   214   18     214   22



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Transcript Name   Depo Date    Page Line Page Line                       Page Start Line Page Line                 Page Start Line Start Page End Line End
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Blum, Leonard     12/11/2015   215    14    215       16 602
Blum, Leonard     12/11/2015   215    18    215       18 602
Blum, Leonard     12/11/2015   216    22    216       24 Leading, AA,
                                                         MPT
Blum, Leonard     12/11/2015   217     1    217        1 AA, MIS
Blum, Leonard     12/11/2015   221     8    221       13
Blum, Leonard     12/11/2015   221    17    221       24 AA, MPT
Blum, Leonard     12/11/2015   222     1    222        9 AA, MPT




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                            Start Start End End                      Start Start End End
Bua, Jay          8/23/2011   9     20     10        3
Bua, Jay          8/23/2011  16      6     16       12
Bua, Jay          8/23/2011  16     17     16       18
Bua, Jay          8/23/2011  17      7     17       10
Bua, Jay          8/23/2011  60     12     61        6
Bua, Jay          8/23/2011  169    17    172       11
Bua, Jay          8/23/2011  172    21    174        1 L, VAG, HS,
                                                       602, PK, O,
                                                       NARR
Bua, Jay          8/23/2011  174     3    174        6 L, VAG, HS,
                                                       602, PK, O,
                                                       NARR
Bua, Jay          8/23/2011  174    19    175       21 VAG, 602,
                                                       PK, O, NARR

Bua, Jay          8/23/2011   176    1     176    17   L, VAG, 602
Bua, Jay          4/20/2016   12    10     12     12
Bua, Jay          4/20/2016   12    20     12     23
Bua, Jay          4/20/2016   17    22     17     22   INC
Bua, Jay          4/20/2016   18     3     18      7   INC
Bua, Jay          4/20/2016   23    12     23     14   L
Bua, Jay          4/20/2016   24    13     24     15   L
Bua, Jay          4/20/2016   34     5     34     10
Bua, Jay          4/20/2016   34    18     34     24   L, VAG
Bua, Jay          4/20/2016   34    25     35      1   L, VAG
Bua, Jay          4/20/2016   42    14     42     15   L, VAG
Bua, Jay          4/20/2016   42    18     42     18   L, VAG
Bua, Jay          4/20/2016   42    20     42     25   L, VAG
Bua, Jay          4/20/2016   48     7     48      9   H, VAG, 602
Bua, Jay          4/20/2016   48    13     48     14   H, VAG, 602
Bua, Jay          4/20/2016   73     6     73     12
Bua, Jay          4/20/2016   103   14     103    16
Bua, Jay          4/20/2016   105    3     105     6
Bua, Jay          4/20/2016   105   22     105    24   INC
Bua, Jay          4/20/2016   112   25     115    12   H, VAG, 602
Bua, Jay          4/20/2016   130   24     131     2   L, H
Bua, Jay          4/20/2016   132    9     132    22   L, H, VAG,
                                                       602
Bua, Jay          4/20/2016   133    7     133     9
Bua, Jay          4/20/2016   133   11     133    14   AC
Bua, Jay          4/20/2016   133   19     133    23   AC
Bua, Jay          4/20/2016   134    4     134     9   602


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Transcript Name   Depo Date Page Line Page Line                        Page Line Page Line                   Page Start    Line Start Page End Line End
                            Start Start End End                        Start Start End End
Bua, Jay          4/20/2016  134   12    134       14   INC
Bua, Jay          4/20/2016  134   16    135        4   INC, L
Bua, Jay          4/20/2016  135    9    135       19   H, VAG, 602
Bua, Jay          4/20/2016  135   21    135       23   H, VAG, 602
Bua, Jay          4/20/2016  135   25    136       21   L, H, VAG,
                                                        602
Bua, Jay          4/20/2016   137     2    137     6    602
Bua, Jay          4/20/2016   141    13    141    20    602, PK, O,
                                                        NARR
Bua, Jay          4/20/2016   144     1    144    13
Bua, Jay          4/20/2016   144    16    145     1
Bua, Jay          4/20/2016   145     4    147     4    502, PK, O,
                                                        NARR
Bua, Jay          4/20/2016   156    16    156    19    701, 403,
                                                        602, PK
Bua, Jay          4/20/2016   156    24    157    5     701, 403,
                                                        602, PK
Bua, Jay          4/20/2016   157    7     157    18    701, 403,
                                                        602, PK
Bua, Jay          4/20/2016   158     2    158    12
Bua, Jay          4/20/2016   160     6    160     9
Bua, Jay          4/20/2016   160    20    161    15    701, 403,
                                                        602, O,
                                                        NARR
Bua, Jay          4/20/2016   162    3     165    14    602, O,
                                                        NARR
Bua, Jay          4/20/2016   165    20    167    14    L, 602
Bua, Jay          4/20/2016   167    20    168    13    402, 602, O,
                                                        NARR
Bua, Jay          4/20/2016   168    16    168    18    L, VAG, 602
Bua, Jay          4/20/2016   169     6    170    21    L, 602
Bua, Jay          4/20/2016   171     1    171    14    L, 602
Bua, Jay          4/20/2016   172    12    172    12    402, 602
Bua, Jay          4/20/2016   172    15    172    17    402, 602
Bua, Jay          4/20/2016   172    22    174     9    HS, L, 402,
                                                        602
Bua, Jay          4/20/2016   175    13    175    22    L, 402, 602,
                                                        INC
Bua, Jay          4/20/2016   175    23    175    24    INC
Bua, Jay          4/20/2016   176     1    177    18    L, 402, 602
Bua, Jay          4/20/2016   177    20    177    24    L, 402, 602




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                            Start Start End End                     Start Start End End
Bua, Jay          4/20/2016  178    1    179       21 402, 602, O,
                                                      NARR
Bua, Jay          4/20/2016  180    2    182       17 L, 402, 602,
                                                      PK, O, NARR

Bua, Jay          4/20/2016   183    9     186    14   L, 402, 602,
                                                       PK, 702
Bua, Jay          4/20/2016   186   25     187    25   L, 402, 602,
                                                       702
Bua, Jay          4/20/2016   188    2     188     7   L, 602, INC
Bua, Jay          4/20/2016   188   14     188    19   L, 402, 602
Bua, Jay          4/20/2016   188   25     189    10   602, PK
Bua, Jay          4/20/2016   189   13     190     9   402, 602, PK

Bua, Jay          4/20/2016   190   12     190    14             402
Bua, Jay          4/20/2016   190   16     191    25   402, 602, PK

Bua, Jay          4/20/2016   192    6     195    7    L, HS, 402,
                                                       602
Bua, Jay          4/20/2016   195    9     195    18   L, 402, 602
Bua, Jay          4/20/2016   196    5     196     6   L, 402, 602
Bua, Jay          4/20/2016   196    8     196     9   L, 402, 602
Bua, Jay          4/20/2016   196   11     196    11   L, 402, 602
Bua, Jay          4/20/2016   196   13     197    20   L, 602
Bua, Jay          4/20/2016   199   10     199    15   H, 602, PK
Bua, Jay          4/20/2016   199   17     199    22   AC
Bua, Jay          4/20/2016   199   24     200     9
Bua, Jay          4/20/2016   201    4     204    20
Bua, Jay          4/20/2016   207    6     207    15   HS, L, 403,
                                                       602, PK
Bua, Jay          4/20/2016   214   16     214    21
Bua, Jay          4/20/2016   214   23     216     9   HS, L, 602,
                                                       PK
Bua, Jay          4/20/2016   216   14     216    16   602, PK
Bua, Jay          4/20/2016   218    6     218    18   HS, L, 602,
                                                       PK
Bua, Jay          4/20/2016   222    4     222    15   602, PK
Bua, Jay          4/20/2016   224   24     225     8   L, 602, 701,
                                                       403
Bua, Jay          4/20/2016   227   12     227    14
Bua, Jay          4/20/2016   227   16     227    20   901, 602




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Buchen, David      5/5/2015  6      15      6       21   HS
Buchen, David      5/5/2015   5      3      5       11   HS
Buchen, David      5/5/2015   8     21      9        7   HS, L
Buchen, David      5/5/2015   9     13      9       16   HS, 402
Buchen, David      5/5/2015                              HS, 402, NARR,
                             10      1     10        8   INC
Buchen, David      5/5/2015  10      9     11        7   HS, 402, NARR,
Buchen, David      5/5/2015  18     11     18       19   HS, 602                 18    20    19     4
Buchen, David      5/5/2015  23     11     25        3   HS
Buchen, David      5/5/2015                              HS, 25:18-21 (602)
                             25      4     25       21
Buchen, David      5/5/2015  26      3     26        6   HS
Buchen, David      5/5/2015  26     18     26       21   HS
Buchen, David      5/5/2015                              HS, VAG, 602, PK,
                             27      2     27        3   NARR
Buchen, David      5/5/2015                              HS, VAG, 602, PK,       26    22    27     1
                             27      6     27       11   NARR
Buchen, David      5/5/2015  27     13     27       14   HS
Buchen, David      5/5/2015  27     16     27       17   HS
Buchen, David      5/5/2015                              HS, VAG, 602, PK,
                             27     19     28        6   NARR
                                                         HS, 28:2-6 (VAG,
                                                         602, PK, O, NARR)

Buchen, David      5/5/2015    41    20      42    19 HS, 402, NARR
Buchen, David      5/5/2015                           HS, VAG, 602, O,
                               43     4      43     5 NARR, AF, 403
Buchen, David      5/5/2015                           HS, VAG, 602, O,           45    17    46     5   403; 501
                               43     9      43    21 NARR, AF, 403
                                                      HS                         54    15    54    20
Buchen, David      5/5/2015    53     5      53    22 HS
Buchen, David      5/5/2015                           HS, PRIV, VAG,
                                                      602, O, NARR, 403
                               54    15      54    16
Buchen, David      5/5/2015                           HS, 54:21-55:2             45    17    46     5   403; 501
                                                      (PRIV, VAG, 602,
                               54    21      55     8 O, NARR, 403)
                                                                                 54    17    54    20
                                                                                 55     9    55    11     403
Buchen, David      5/5/2015    55    12      55    18 HS, L, 402
Buchen, David      5/5/2015                           HS, INC, VAG, 602
                               62    18      64    10
Buchen, David      5/5/2015    64    16      64    22 HS



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Buchen, David      5/5/2015  64    23     65        3   HS
Buchen, David      5/5/2015  66     1     66        6   HS
Buchen, David      5/5/2015  66     7     66       24   HS
Buchen, David      5/5/2015  67     4     67       13   HS
Buchen, David      5/5/2015  67    21     67       25   HS
Buchen, David      5/5/2015  69    17     70       23   HS
Buchen, David      5/5/2015  72    10     72       18   HS
Buchen, David      5/5/2015  73     1     73        5   HS
Buchen, David      5/5/2015  73    18     74        5   HS
Buchen, David      5/5/2015  97    13     97       22   HS
Buchen, David      5/5/2015  97    23     98        2   HS
Buchen, David      5/5/2015  98     3     98        4   HS
Buchen, David      5/5/2015                             HS, VAG, 602, O,
                             98     8     98       10   NARR, AF, 403
Buchen, David      5/5/2015                             HS, VAG, 602, PK,     106    22      106   24   Vague and
                                                        O, NARR, AF, 403                                ambiguous
                              98     12     99    4
                                                                              107        1   107   9    Vague and
                                                                                                        ambiguous
Buchen, David      5/5/2015   99     5      99    14 HS
Buchen, David      5/5/2015                          HS, VAG, 602, O,         101    15      101   23   Asked and
                                                     NARR, AF, 403                                       answered;
                                                                                                        Vague and
                                                                                                        ambiguous;
                               99    15     100    1                                                      403; 501
Buchen, David      5/5/2015   100    6      100   15 HS
Buchen, David      5/5/2015   100    16     101   14 HS
Buchen, David      5/5/2015   101    15     101   16 HS                       101    17      101   23
                                                                              102    13      104   23
Buchen, David      5/5/2015                             HS, PRIV, VAG,        102    13      104   23   Asked and
                                                        602, O, NARR                                     answered;
                                                                                                        Vague and
                                                                                                        ambiguous;
                              101    24     102   12                                                      403; 501
Buchen, David      5/5/2015   106    22     106   24 HS
Buchen, David      5/5/2015   107    1      107    9 HS
Buchen, David      5/5/2015                          HS, L, VAG, 602,         115    10      115   18
                              143    5      143   14 INC
                                                                              115    24      117    4      501
                                                                              117     7      118   13    403; 501
Buchen, David      5/5/2015   143    15     143   19 HS, L, VAG, 602          106    22      106   24
                                                                              107     1      107    9




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Buchen, David      5/5/2015                             HS, VAG, 602, 403     116     24     118   13
                             143   20    144        3
Buchen, David      5/5/2015                             HS, VAG, 602, 403     116    24      118   13
                             144   11    144       17
Buchen, David      5/5/2015  167   14    167       24   HS, 602, PK
Buchen, David      5/5/2015                             HS, VAG, 602, PK
                             175   16    176       15
Buchen, David      5/5/2015                             HS, L, VAG, 602,
                             178   17    179       21   PK
Buchen, David      5/5/2015  180    2    180       6    HS, L, 602, PK
Buchen, David      5/5/2015                             HS, L, VAG, 602,      191    13      191   17
                             190   21    191       12   PK, NARR, INC
                                                                              192    14      192   23
Buchen, David      7/8/2011    5     13      5    16    HS
Buchen, David      7/8/2011    9      4      9    15    HS
Buchen, David      7/8/2011   12     12     12    25    HS
Buchen, David      7/8/2011   14      6     14    14    HS
Buchen, David      7/8/2011   17     16     17    25    HS
Buchen, David      7/8/2011   20     13     20    14    HS
Buchen, David      7/8/2011   28     14     28    21    HS
Buchen, David      7/8/2011   29     22     30     4    HS
Buchen, David      7/8/2011                             HS, L, VAG, 602,
                              73     2      74    11    INC
Buchen, David      7/8/2011                             HS, L, VAG, 602,
                               76    15      77    4    PK
Buchen, David     7/8/2011     80    23      81    6    HS
Buchen, David     7/8/2011     81    20      82    5    HS
Buchen, David     7/8/2011     82    11      82   24    HS
Buchen, David     7/8/2011     98     9      98   15    HS
Buchen, David     7/8/2011     98    17      98   25    HS
Buchen, David     7/8/2011    102    19     103    8    HS
Buchen, David     7/8/2011    115    6      115   22    HS
Buchen, David     3/21/2008    7     4       7     6    HS
Buchen, David     3/21/2008    7     9       7    14    HS
Buchen, David     3/21/2008    9     1       9     5    HS
Buchen, David     3/21/2008    16    19      17    9    HS
Buchen, David     3/21/2008    19    10      19   20    HS, 402
Buchen, David     3/21/2008    26     5      26    7    HS, 602
Buchen, David     3/21/2008    27     1      27    3    HS, 602                27        4    27    5
Buchen, David     3/21/2008    27     6      27    7    HS
Buchen, David     3/21/2008                             HS, VAG, 602, PK,
                              28     8      28    11    INC




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Transcript Name   Depo Date Page Line Page Line                              Page Line Page Line                   Page Start Line Start Page End Line End
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Buchen, David     3/21/2008                              VAG, HS, 602, PK,      28     23      28   25     403
                              28    12     28       22   INC
Buchen, David     3/21/2008   30     6     30       14   HS
Buchen, David     3/21/2008   30    15     31        1   HS
Buchen, David     3/21/2008   31     7     31       21   HS
Buchen, David     3/21/2008   32    14     32       15   HS
Buchen, David     3/21/2008                              HS, L, VAG, 602,
                              39    15     39       20   PK
Buchen, David     3/21/2008   40     8     40       19   HS, L, VAG, 602
Buchen, David     3/21/2008                              HS, VAG, 602, PK
                              40    20     40       23
Buchen, David     3/21/2008                              HS, VAG, 602, PK
                              41     8     41       15
Buchen, David     3/21/2008                              HS, L, VAG, 602,
                              42    24     43        2   PK
Buchen, David     3/21/2008   50    16     50       20   HS
Buchen, David     3/21/2008                              HS, VAG, 602, PK       55        4    55    6
                              54    21     55        3
Buchen, David     3/21/2008   89    16     89       19   HS, AC
Buchen, David     3/21/2008   91     1     91        3   HS
Buchen, David     3/21/2008                              HS, VAG, 602, PK
                              91    12     91       16
Buchen, David     3/21/2008   97    17     98       22   HS, VAG, 602
Buchen, David     3/21/2008  100    13    100       23   HS, VAG, 602
Buchen, David     3/21/2008  100    24    101        6   HS, VAG, 602
Buchen, David     3/21/2008                              HS, VAG, 602, PK
                             101     7    102       19
Buchen, David     3/21/2008  102    20    102       25   HS, VAG, 602
Buchen, David     3/21/2008  105     9    105       19   HS, 402
Buchen, David     3/21/2008  111     6    111       23   HS, VAG, 602
Buchen, David     3/21/2008  112    11    112       12   HS
Buchen, David     3/21/2008  112    17    112       19   HS                    112    13      112   16    403
Buchen, David     3/21/2008  112    25    113        1   HS, VAG, 602
Buchen, David     3/21/2008  113     5    114       11   HS, VAG, 602
Buchen, David     3/21/2008  114    23    115        4   HS, VAG, 602
Buchen, David     3/21/2008  115     5    115       18   HS, VAG, 602
Buchen, David     3/21/2008  115    19    115       22   HS, VAG, 602
Buchen, David     3/21/2008  115    23    116       20   HS, VAG, 602
Buchen, David     3/21/2008                              HS, VAG, 602, PK
                             119    16    120       12
Buchen, David     3/21/2008  122    17    123        1   HS, L, VAG, 602
Buchen, David     3/21/2008                              HS, VAG, 602, PK
                             148     7    148       25



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Buchen, David     3/21/2008  149    1    149       17 HS, VAG, 602
Buchen, David     3/21/2008                           HS, VAG, 602, O,
                             149   18    149       23 NARR
Buchen, David     3/21/2008  149   24    152        3 HS, VAG, 602
Buchen, David     3/21/2008  150   23    151       10 HS, VAG, 602
Buchen, David     3/21/2008  151   19    152        3 HS, VAG, 602
Buchen, David     3/21/2008                           DUP, HS, VAG,
                             152    4    152       11 602, PK
Buchen, David     3/21/2008                           HS, VAG, 602, PK      153        4   153    7     602
                             152    4    153        1
Buchen, David     3/21/2008  155   13    155       21 HS, VAG, 602
Buchen, David     3/21/2008                           HS, VAG, 602, PK
                             156   10    156       18
Buchen, David     3/21/2008  156   19    157        6 HS, VAG, 602
Buchen, David     3/21/2008                           HS, VAG, 602, PK
                             157    7    158        1
Buchen, David     3/21/2008  158   20    159        9 HS, VAG, 602
Buchen, David     3/21/2008                           HS, VAG, 602, PK
                             159   15    160        1
Buchen, David     3/21/2008  161    8    161       17 HS, L, CUM, VAG
Buchen, David     3/21/2008                           HS, L, CUM, VAG,
                             161   18    162        6 602
Buchen, David     3/21/2008                           HS, L, VAG, 602,
                             162   21    163        9 PK
Buchen, David     3/21/2008  163   10    163       15 HS, L, VAG, 602
Buchen, David     3/21/2008  163   22    163       25 HS, VAG
Buchen, David     3/21/2008  165    1    165        4 HS, VAG
Buchen, David     3/21/2008                           HS, VAG, 602, PK
                             165    5    166       12
Buchen, David     3/21/2008  166   13    166       18 HS, VAG, 602
Buchen, David     3/21/2008  190   14    190       16 HS, VAG, 602
Buchen, David     3/21/2008  204   17    205        1 HS, VAG, 602
Buchen, David     3/21/2008  205    2    205        3 HS, L, VAG, 602
Buchen, David     3/21/2008  205    6    205        7 HS, 602
Buchen, David     3/21/2008  205   17    206        7 HS, VAG, 602
Buchen, David     3/21/2008  208   23    209        2 VAG, HS, 602
Buchen, David     3/21/2008                           HS, L, VAG, 602,      223    17      223   19   403; 501
                             223   12    223       16 PK




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Transcript Name    Depo Date Page Line Page Line                          Page Line Page Line                Page Start Line Start Page End Line End
                             Start Start End End                          Start Start End End
Campanelli, Paul   1/16/2008   5      3      5        6   HS
Campanelli, Paul   1/16/2008   5     24      5       25   HS
Campanelli, Paul   1/16/2008   7      7      7        8   HS
Campanelli, Paul   1/16/2008   7     15      7       16   HS
Campanelli, Paul   1/16/2008  17     10     18        6   HS, 501, MIL

Campanelli, Paul   1/16/2008    18    13     18    15     HS, 501, MIL

Campanelli, Paul   1/16/2008    22    24     24     3     HS, 501, MIL

Campanelli, Paul   1/16/2008    28     6     28    16     HS, 501, MIL     27       6       28   5

Campanelli, Paul   1/16/2008    41    13     41    16     HS
Campanelli, Paul   1/16/2008    41    20     42     3     HS
Campanelli, Paul   1/16/2008    43     1     43    23     HS
Campanelli, Paul   1/16/2008    43    24     46    22     HS, MPT, L,
                                                          NARR, 602
Campanelli, Paul   1/16/2008    47     3     47     6     HS               46      23       47   2
Campanelli, Paul   1/16/2008    47    20     47    24     HS
Campanelli, Paul   1/16/2008    50     8     51     9     HS, 602, PK,
                                                          L
Campanelli, Paul   1/16/2008    51    10     51    18     HS, 602, PK
Campanelli, Paul   1/16/2008    52     8     52    13     HS, 501, ML,
                                                          MPT
Campanelli, Paul   1/16/2008    68    16     68    18     HS
Campanelli, Paul   1/16/2008    68    22     69     9     HS
Campanelli, Paul   1/16/2008    69    12     69    15     HS
Campanelli, Paul   1/16/2008    69    21     69    22     HS
Campanelli, Paul   1/16/2008    70     5     70     8     HS
Campanelli, Paul   1/16/2008    70    14     70    14     HS
Campanelli, Paul   1/16/2008    73    15     74     1     HS               73       9       73   16
Campanelli, Paul   1/16/2008    76     1     78    19     HS, NARR,
                                                          BS
Campanelli, Paul   1/16/2008    86    18     90     4     HS, 602, MIL,
                                                          L, PK
Campanelli, Paul   1/16/2008    90     6     93     6     HS, 602, MIL,
                                                          L, PK
Campanelli, Paul   1/16/2008   102    15    102    18     HS
Campanelli, Paul   1/16/2008   160    22    161     6     HS
Campanelli, Paul   1/16/2008   165    21    166    12     HS, 402, 602




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Transcript Name    Depo Date Page Line Page Line                        Page Line Page Line                Page Start Line Start Page End Line End
                             Start Start End End                        Start Start End End
Campanelli, Paul   1/16/2008  166   18    166       23 HS, QNA,
                                                       402, 602
Campanelli, Paul   1/16/2008  167    6    167        9 HS
Campanelli, Paul   6/26/2008  206    9    207        1 HS
Campanelli, Paul   6/26/2008  208   13    209       21 HS, 501, MIL

Campanelli, Paul   6/26/2008   255     9    255    16   HS, 501, MIL

Campanelli, Paul   6/26/2008   318     8    318    16   HS, VAG
Campanelli, Paul    7/1/2011    7     15     7     17
Campanelli, Paul    7/1/2011    8     17     8     25
Campanelli, Paul    7/1/2011    9      2     9     10
Campanelli, Paul    7/1/2011    9     22     9     23
Campanelli, Paul    7/1/2011   10      4    10     18
Campanelli, Paul    7/1/2011   62     16    62     24   403, VAG
Campanelli, Paul    7/1/2011   63      2    63     25   MIL, 501, 602

Campanelli, Paul    7/1/2011    64     2     64     6   MIL, 501, 602

Campanelli, Paul    7/1/2011    64     7     64    11
Campanelli, Paul    7/1/2011    64    15     66    10   MIL, 501, 602

Campanelli, Paul    7/1/2011   66     17    66     22
Campanelli, Paul    7/1/2011   67      8    67     18                    67      19       69    2
Campanelli, Paul    7/1/2011   69      3    69      7
Campanelli, Paul    7/1/2011   69     12    69     15   MPT
Campanelli, Paul    7/1/2011   69     19    70     16
Campanelli, Paul    7/1/2011   71      2    71     15   602, PK
Campanelli, Paul    7/1/2011   72      5    72     16                    73       2       74    2
Campanelli, Paul    7/1/2011   74      3    74      7   L
Campanelli, Paul    7/1/2011   82      3    82     10
Campanelli, Paul    7/1/2011   105    11    105    20                   105       2       105   10
Campanelli, Paul    7/1/2011   108    13    108    23   602, PK         109      11       109   13
Campanelli, Paul    7/1/2011   113    17    113    25
Campanelli, Paul    7/1/2011   114     2    114    25
Campanelli, Paul    7/1/2011   115     2    115     7
Campanelli, Paul    7/1/2011   201    25    201    25   L, AF
Campanelli, Paul    7/1/2011   202     2    202     6
Campanelli, Paul    7/1/2011   202    10    202    13
Campanelli, Paul    7/1/2011   202    16    202    19
Campanelli, Paul    7/1/2011   217     8    217    18
Campanelli, Paul   3/25/2016    7     14     7     16


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Transcript Name    Depo Date Page Line Page Line                         Page Line Page Line                Page Start Line Start Page End Line End
                             Start Start End End                         Start Start End End
Campanelli, Paul   3/25/2016   7     18      7       20
Campanelli, Paul   3/25/2016  11      9     11       10
Campanelli, Paul   3/25/2016  11     12     11       22
Campanelli, Paul   3/25/2016  13     19     13       23
Campanelli, Paul   3/25/2016  29      3     30        8
Campanelli, Paul   3/25/2016  30     21     31        3
Campanelli, Paul   3/25/2016  31      7     32        8
Campanelli, Paul   3/25/2016  32     12     32       17
Campanelli, Paul   3/25/2016  47      9     47       10
Campanelli, Paul   3/25/2016  47     14     48       23
Campanelli, Paul   3/25/2016  49      1     49       19
Campanelli, Paul   3/25/2016  68      8     68       10   PK
Campanelli, Paul   3/25/2016  68     13     68       15   PK                68    16      69    6
Campanelli, Paul   3/25/2016  131     6    131       15                    131    16     131   19
Campanelli, Paul   3/25/2016  133     3    133        4
Campanelli, Paul   3/25/2016  133    22    133       24
Campanelli, Paul   3/25/2016  134    13    134       16   NQP
Campanelli, Paul   3/25/2016  135    14    135       16
Campanelli, Paul   3/25/2016  136     3    136        3
Campanelli, Paul   3/25/2016  136     5    136       23   H, 501, MIL,
                                                          PK
Campanelli, Paul   3/25/2016   151    16    151    18
Campanelli, Paul   3/25/2016   162    14    162    18     H, 501, MIL
Campanelli, Paul   3/25/2016   162    22    162    23     H, 501, MIL
Campanelli, Paul   3/25/2016   163    16    163    18
Campanelli, Paul   3/25/2016   164     7    164    18
Campanelli, Paul   3/25/2016   164    21    165    16




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Clark, Napoleon   3/10/2016   7       4      7       7
Clark, Napoleon   3/10/2016    7     14      7       16
Clark, Napoleon   3/10/2016   10     14     11        1
Clark, Napoleon   3/10/2016   12      3     12       13
Clark, Napoleon   3/10/2016   15      9     16        1
Clark, Napoleon   3/10/2016   18     16     19        7
Clark, Napoleon   3/10/2016                               402, 403         156     20        156   23 Vague and
                             156      2    156       19                                               ambiguous
Clark, Napoleon   3/10/2016  192     13    192       21   602
Clark, Napoleon   3/10/2016  242     25    243        2   402, 403         243       3       243   14
Clark, Napoleon   3/10/2016  243     23    244        1   402, 403
Clark, Napoleon   3/10/2016  244      3    244       19   402, 403
Clark, Napoleon   3/10/2016  245      7    245       23   402, 403
Clark, Napoleon   3/10/2016  245     24    247       17   402, 403




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Transcript Name   Depo Date Page Line Page Line                             Page Line Page Line                            Page Start Line Start Page End Line End
                            Start Start End End                             Start Start End End
Dale, Lynn        5/11/2016  8      5      8       6
Dale, Lynn        5/11/2016  10    16     10       20
Dale, Lynn        5/11/2016  10    21     11       18
Dale, Lynn        5/11/2016  11    19     12        3
Dale, Lynn        5/11/2016  12     4     12       18
Dale, Lynn        5/11/2016  12    18     12       20
Dale, Lynn        5/11/2016  12    21     13        5
Dale, Lynn        5/11/2016  13     6     14        3
Dale, Lynn        5/11/2016  14     4     14       21
Dale, Lynn        5/11/2016  15     2     15        6
Dale, Lynn        5/11/2016  16     3     16        8
Dale, Lynn        5/11/2016  16    24     18       10
Dale, Lynn        5/11/2016  18     7     18       10
Dale, Lynn        5/11/2016  18    15     21        3   402, 403
Dale, Lynn        5/11/2016  21    17     23        6   701
Dale, Lynn        5/11/2016  23    17     25        2   701, 602, L
Dale, Lynn        5/11/2016  25     4     25        8
Dale, Lynn        5/11/2016  25    20     25       21
Dale, Lynn        5/11/2016  25    24     25       25
Dale, Lynn        5/11/2016  26     3     26       18
Dale, Lynn        5/11/2016  26    24     27        1
Dale, Lynn        5/11/2016  27     4     30        8   701, 602, L, 403
Dale, Lynn        5/11/2016  29     4     30        2
Dale, Lynn        5/11/2016  30    18     34       13
Dale, Lynn        5/11/2016  35    11     35       19
Dale, Lynn        5/11/2016  37     9     37       14   602
Dale, Lynn        5/11/2016  37    17     38        3   602, 402, 403
Dale, Lynn        5/11/2016  38     7     38       12
Dale, Lynn        5/11/2016  39     5     39        9   602, 403, 701       125      2        125   13
Dale, Lynn        5/11/2016  39    15     40        5   602, 403, 701, AF   125      2        125   13
Dale, Lynn        5/11/2016  40     8     40        8   602, 403, 701, AF
Dale, Lynn        5/11/2016  40    16     41       16   402
Dale, Lynn        5/11/2016  41    19     42       18   CLC, 701
Dale, Lynn        5/11/2016  42    22     42       25   CLC, 701
Dale, Lynn        5/11/2016  43     5     43       25
Dale, Lynn        5/11/2016  44     3     44       16
Dale, Lynn        5/11/2016  45     3     45       10
Dale, Lynn        5/11/2016  45    12     46        3
Dale, Lynn        5/11/2016  46     6     46       13                       163      23       164   7
                                                                            165       3       165   6
                                                                            165       8       165   24   602 (165:22-24)
                                                                            166       1       166   2          602
Dale, Lynn        5/11/2016   46     16    46     19
Dale, Lynn        5/11/2016   46     21    46     23    701, 403, 602
Dale, Lynn        5/11/2016   46     25    47      9    701, 403, 602
Dale, Lynn        5/11/2016   47     25    48     19



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Dale, Lynn        5/11/2016  48    22     49       10   602, 701, 403
Dale, Lynn        5/11/2016  49    16     50       10   602, 701, 403
Dale, Lynn        5/11/2016  50    13     50       18
Dale, Lynn        5/11/2016  50    21     50       25
Dale, Lynn        5/11/2016  51     8     53       12   602, 701, 403       219      10       221    7        402, 802        221        8        221       21                 403
Dale, Lynn        5/11/2016  53    17     54        2   602, 701, 403
Dale, Lynn        5/11/2016  54     6     55       24   602, 701, 403
Dale, Lynn        5/11/2016  56     1     56        5
Dale, Lynn        5/11/2016  56     7     56        9
Dale, Lynn        5/11/2016  56    14     57        1   602, 701
Dale, Lynn        5/11/2016  57     5     57        7   602, 701
Dale, Lynn        5/11/2016  60     1     61        3
Dale, Lynn        5/11/2016  61    21     61       25
Dale, Lynn        5/11/2016  62     3     62        8
Dale, Lynn        5/11/2016  63     3     63        7   602
Dale, Lynn        5/11/2016  63    10     63       20   602, L
Dale, Lynn        5/11/2016  63    25     66        2   602, L, 701, 403,
                                                        402, CLC
Dale, Lynn        5/11/2016   66      5    66     15
Dale, Lynn        5/11/2016   66     17    66     23
Dale, Lynn        5/11/2016   66     25    67      1
Dale, Lynn        5/11/2016   67      3    67     11
Dale, Lynn        5/11/2016   69      5    69      7    602
Dale, Lynn        5/11/2016   69     10    69     18    602, 701, 403
Dale, Lynn        5/11/2016   69     22    71     23    602, 701, 403, L
Dale, Lynn        5/11/2016   72      1    72      5    402, 403, L
Dale, Lynn        5/11/2016   72      8    72     11    402, 403, 701, L
Dale, Lynn        5/11/2016   72     15    73      1
Dale, Lynn        5/11/2016   73      9    73     22
Dale, Lynn        5/11/2016   73     25    74     15    L
Dale, Lynn        5/11/2016   74     17    74     21    L, CLC, 602
Dale, Lynn        5/11/2016   74     24    76     10    403, 701, L            76         4     76       7
Dale, Lynn        5/11/2016   76     12    77      5    403, L, 602
Dale, Lynn        5/11/2016   77      7    77     24    403, L, 602
Dale, Lynn        5/11/2016   78      3    78     21
Dale, Lynn        5/11/2016   79     16    79     25
Dale, Lynn        5/11/2016   80     11    80     12    L, AC
Dale, Lynn        5/11/2016   80     14    80     14    L, AC
Dale, Lynn        5/11/2016   80     17    80     22    L, AC
Dale, Lynn        5/11/2016   80     25    81     14
Dale, Lynn        5/11/2016   82      9    82     20    403, 402
Dale, Lynn        5/11/2016   82     24    83     19    403, 402
Dale, Lynn        5/11/2016   87      5    88      5    403, 402
Dale, Lynn        5/11/2016   88     10    88     16    HS, 403
Dale, Lynn        5/11/2016   88     19    88     20
Dale, Lynn        5/11/2016   88     24    89     15



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                               Defendants' Initial          Plaintiffs'       Plaintiffs' Counter     Defendants'         Defendants' Reply Designations       Plaintiffs'
                                 Designations               Objections          Designations          Objections                                               Objections
Transcript Name   Depo Date Page Line Page Line                            Page Line Page Line                       Page Start Line Start Page End Line End
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Dale, Lynn        5/11/2016  89    18     90        4
Dale, Lynn        5/11/2016  90     6     90       15
Dale, Lynn        5/11/2016  91     2     92        6
Dale, Lynn        5/11/2016  92     8     93        3   L, 403, MPT
Dale, Lynn        5/11/2016  93     8     93       21   L, 403, MPT
Dale, Lynn        5/11/2016  94    10     94       13   AA, L, 403
Dale, Lynn        5/11/2016  94    16     94       16   AA, L, 403
Dale, Lynn        5/11/2016  95    17     96       12   602, 701, 403
Dale, Lynn        5/11/2016  96    15     98        4   602, 701, 403, L
Dale, Lynn        5/11/2016  98     9     98       13
Dale, Lynn        5/11/2016  98    18    102       14
Dale, Lynn        5/11/2016 102    16    102       17
Dale, Lynn        5/11/2016 102    22    103       7    L
Dale, Lynn        5/11/2016 103     9    103       10   L
Dale, Lynn        5/11/2016 103    13    104       8
Dale, Lynn        5/11/2016 104    16    104       21
Dale, Lynn        5/11/2016 105    24    106       1
Dale, Lynn        5/11/2016 106     7    106       8
Dale, Lynn        5/11/2016 106    15    106       16
Dale, Lynn        5/11/2016 107     6    107       8
Dale, Lynn        5/11/2016 107    15    107       19
Dale, Lynn        5/11/2016 109    22    109       25
Dale, Lynn        5/11/2016 111     1    111       20
Dale, Lynn        5/11/2016 111    25    112       3
Dale, Lynn        5/11/2016 112     9    113       25
Dale, Lynn        5/11/2016 114     3    114       14
Dale, Lynn        5/11/2016 115    21    116       10
Dale, Lynn        5/11/2016 116    12    117       9
Dale, Lynn        5/11/2016 117    12    118       1
Dale, Lynn        5/11/2016 118     9    118       14   602, 701, 403
Dale, Lynn        5/11/2016 118    16    120       13   602, 701, 403
Dale, Lynn        5/11/2016 247     7    247       9    602
Dale, Lynn        5/11/2016 247    14    247       23   602
Dale, Lynn        5/11/2016 255    22    255       25   602, 701, 403
Dale, Lynn        5/11/2016 256     5    256       10   701, 403




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                                 Designations               Objections                                                                                  Objections                                                Objections
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                            Start Start End End
Doud, Larry       7/13/2011  7     23      8        2 IMP
Doud, Larry       7/13/2011  8      4      8        7
Doud, Larry       7/13/2011  8     13      8       15
Doud, Larry       7/13/2011  48    11     48       12 402. 403, 602, CLC            48                16                50                5             104a; Not
                                                                                                                                                       responsive;
                                                                                                                                                       Vague and
                                                                                                                                                       ambiguous;
                                                                                                                                                        103; 402;
                                                                                                                                                      403; 602; 701
                                                                                   268                4                269                4                403
                                                                              From 4/15/2016    From 4/15/2016    From 4/15/2016    From 4/15/2016       103; 403;
                                                                              Transcript: 226    Transcript: 4    Transcript: 226    Transcript: 23     104a; 602;
                                                                                                                                                           701
Doud, Larry       7/13/2011    48    15    48     15   402. 403, 501, 602,          48                16                50                5             104a; Not
                                                       CLC                                                                                             responsive;
                                                                                                                                                       Vague and
                                                                                                                                                       ambiguous;
                                                                                                                                                         103; 402;
                                                                                                                                                      403; 602; 701
                                                                                   268                4                269                4                403
                                                                              From 4/15/2016    From 4/15/2016    From 4/15/2016    From 4/15/2016       103; 403;
                                                                              Transcript: 226    Transcript: 4    Transcript: 226    Transcript: 23     104a; 602;
                                                                                                                                                           701
Doud, Larry       7/13/2011    52    17    52     19   106, 402, 403, 501,          48                16                50                5             104a; Not
                                                       CP, INC                                                                                         responsive;
                                                                                                                                                       Vague and
                                                                                                                                                       ambiguous;
                                                                                                                                                         103; 402;
                                                                                                                                                      403; 602; 701
                                                                                    299                7               299                10            402; 403
Doud, Larry       7/13/2011    52    24    52     25   106, 402, 403, 501,           48               16               50                 5             104a; Not
                                                       CP, INC                                                                                         responsive;
                                                                                                                                                       Vague and
                                                                                                                                                       ambiguous;
                                                                                                                                                        103; 402;
                                                                                                                                                      403; 602; 701
                                                                                    299                7               299                10            402; 403
Doud, Larry       7/13/2011    53     3    53     6    106, 402, 403, 501,           48               16               50                 5             104a; Not
                                                       CLC, 602, 701, HYPO,                                                                            responsive;
                                                       CP, INC                                                                                         Vague and
                                                                                                                                                       ambiguous;
                                                                                                                                                        103; 402;
                                                                                                                                                      403; 602; 701
                                                                                    299                7               299                10             402; 403
Doud, Larry       7/13/2011    53    13    53     16   106, 402, 403, 501,
                                                       CLC, 602, 701, HYPO,
                                                       CP, INC
Doud, Larry       7/13/2011    53    23    53     23   106, 402, 403, CLC,
                                                       501, 602, 701, HYPO,
                                                       CP, INC
Doud, Larry       7/13/2011    55     7     55    11   402, 403
Doud, Larry       7/13/2011   167     9    167    11   402, 403, 602                167               19               168                1              402; 403




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                                 Designations               Objections                                                                                  Objections                                                Objections
Transcript Name   Depo Date Page Line Page Line                                 Page Start         Line Start       Page End           Line End                       Page Start   Line Start Page End Line End
                            Start Start End End
Doud, Larry       7/13/2011 167    14    167       18 106, 402, 403, 602,           167               19               168                1              402; 403
                                                      INC
Doud, Larry       7/13/2011 168     7    168       12 402, 403
Doud, Larry       7/13/2011 194     9    194       14 106, INC, 106, 402,
                                                      403, 602, 701, HYPO
Doud, Larry       7/13/2011 194    17    195       10 106, INC, 106, 402,
                                                      403, 602, 701, HYPO
Doud, Larry       4/15/2016  6      4      6        6 IMP
Doud, Larry       4/15/2016  12    19     12       23
Doud, Larry       4/15/2016 228    16    228       22 602, 701, CLC, HYPO           227               19               227                23             402; 403

                                                                                    242                6               242                10          103; 602;
                                                                                                                                                    106; 403; 701

                                                                                    242               21               242                25          103; 602;
                                                                                                                                                    106; 403; 701

                                                                                    243                2               243                2           103; 602;
                                                                                                                                                    106; 403; 701

Doud, Larry       4/15/2016   229    5    229    12   602, 701, CLC, HYPO           227               19               227                23             402; 403

                                                                                    242                6               242                10          103; 602;
                                                                                                                                                    106; 403; 701

                                                                                    242               21               242                25          103; 602;
                                                                                                                                                    106; 403; 701

                                                                                    243                2               243                2
Doud, Larry       4/15/2016   235    10   235    17   402, 403




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                                   Designations          Objections          Designations      Objections                                                   Objections
Transcript Name    Depo Date Page Line Page Line                        Page Line Page Line                    Page Start    Line Start Page End Line End
                             Start Start End End                        Start Start End End
Downey, Laurence   1/23/2008   5      4      5        6
Downey, Laurence   1/23/2008   6     10      6       12
Downey, Laurence   1/23/2008   6     19      6       22
Downey, Laurence   1/23/2008  40      9     45       19 VAG, HS,
                                                        602
Downey, Laurence   1/23/2008  103    24    104        8 VAG, HS,
                                                        602
Downey, Laurence   1/23/2008  105    22    106       24 VAG, HS,
                                                        602
Downey, Laurence   1/23/2008  107    22    110        9 VAG, HS,
                                                        602, PK
Downey, Laurence   1/23/2008  111     8    111       14 L, HS,
Downey, Laurence   1/23/2008  111    23    112       17 HS, 602, O,     112      18       113   2
                                                        NARR
Downey, Laurence   1/23/2008  124     7    124       10 INC
Downey, Laurence   1/23/2008  124    20    125        4 VAG, HS,
                                                        602
Downey, Laurence   1/23/2008  125    10    125       24 VAG, HS,
                                                        602, O,
                                                        NARR
Downey, Laurence   1/23/2008  126    15    126       25 VAG, HS,
                                                        602
Downey, Laurence   1/23/2008  127     1    127       10
Downey, Laurence   1/23/2008  141    16    141       20 VAG, 602, O
Downey, Laurence   1/23/2008  142     4    142       23 VAG, HS,
                                                        602, 402
Downey, Laurence   1/23/2008  142     3    142        3 INC
Downey, Laurence   1/23/2008  143     9    143       12 VAG, HS,
                                                        602, 402
Downey, Laurence   1/23/2008  149     7    150        8 VAG, HS,
                                                        602, PK, O,
                                                        NARR
Downey, Laurence   1/23/2008  165    18    166        4 VAG, HS,
                                                        602
Downey, Laurence   1/23/2008  190    21    191        6 VAG, 602
Downey, Laurence   1/23/2008  194    19    196        3 VAG, HS,
                                                        602
Downey, Laurence   4/29/2008  206     1    206        3
Downey, Laurence   4/29/2008  210     8    210       17 VAG, 602,
                                                        PK
Downey, Laurence   4/29/2008  213    12    213       25 VAG, 602,
                                                        HS, PK


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Downey, Laurence   4/29/2008  241    8    241       19 VAG, 602,
                                                       HS, O, NARR

Downey, Laurence   4/29/2008   241   23     242    10   VAG, 602,
                                                        HS, O, NARR

Downey, Laurence   4/29/2008   246   11     248    5    246:25-
                                                        247:12 (VAG,
                                                        602, HS, 402,
                                                        O, NARR)

Downey, Laurence   4/29/2008   270   12     270    14   L, VAG, 602,
                                                        PK, O, NARR

Downey, Laurence   4/29/2008   271    4     271    11   L, VAG, HS,
                                                        602, PK, O,
                                                        NARR
Downey, Laurence   4/29/2008   289    7     290    9    403, MIL,
                                                        PRIV, HS,
                                                        602
Downey, Laurence    5/8/2015   12     8     12     10
Downey, Laurence    5/8/2015   12    16     12     17
Downey, Laurence    5/8/2015   55    25     56      7
Downey, Laurence    5/8/2015   81    23     82     11
Downey, Laurence    5/8/2015   160    6     160    13
Downey, Laurence    5/8/2015   167   20     167    25
Downey, Laurence    5/8/2015   168    3     168     5
Downey, Laurence    5/8/2015   173    5     173     6
Downey, Laurence    5/8/2015   173    9     173    11
Downey, Laurence    5/8/2015   173   14     173    17
Downey, Laurence    5/8/2015   203   11     203    20
Downey, Laurence    5/8/2015   203   22     203    22
Downey, Laurence    5/8/2015   203   24     204     3   L, VAG, 602
Downey, Laurence    5/8/2015   204    5     204    10   L, VAG, 602
Downey, Laurence    5/8/2015   204   14     204    17   L, VAG, 602
Downey, Laurence    5/8/2015   204   19     205     1   L, VAG, 602
Downey, Laurence    5/8/2015   205    3     205     6   L, VAG
Downey, Laurence    5/8/2015   205    8     205     8   L, VAG
Downey, Laurence    5/8/2015   205   10     205    17   L, VAG
Downey, Laurence    5/8/2015   205   19     205    19   L, VAG
Downey, Laurence    5/8/2015   205   21     206    25   L, HS, 602,
                                                        PK


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Downey, Laurence    5/8/2015  207    3    207        6 L, HS, 602,
                                                       PK
Downey, Laurence    5/8/2015  211   20    211       23 L, VAG, 602,
                                                       PK
Downey, Laurence    5/8/2015  212    2    212        2 L, VAG, 602,
                                                       PK
Downey, Laurence    5/8/2015  212    4    212       16 VAG, HS,
                                                       602, PK, O,
                                                       NARR
Downey, Laurence    5/8/2015  213    5    213       13 L, VAG, 602,
                                                       PK
Downey, Laurence    5/8/2015  213   15    213       16 L, VAG, 602,
                                                       PK
Downey, Laurence    5/8/2015  213   18    214       22 VAG, 602,
                                                       NARR, 214:8-
                                                       22 (403)

Downey, Laurence    5/8/2015   216   25     217    2    L, VAG, 602
Downey, Laurence    5/8/2015   217    4     217    6    L, VAG, HS,
                                                        602
Downey, Laurence    5/8/2015   217    8     217    10   L, VAG, HS,
                                                        602
Downey, Laurence    5/8/2015   217   12     217    12   L, VAG, HS,
                                                        602
Downey, Laurence    5/8/2015   217   14     217    17   L, VAG, HS,
                                                        602
Downey, Laurence    5/8/2015   217   19     217    19   L, VAG, HS,
                                                        602
Downey, Laurence    5/8/2015   219    2     219    23   VAG, 602,
                                                        PK, O, NARR

Downey, Laurence    5/8/2015   219   25     220    3    VAG, 602,
                                                        PK, O, NARR

Downey, Laurence    5/8/2015   220    5     220    7    VAG, 602,
                                                        PK, O, NARR

Downey, Laurence    5/8/2015   220   10     221    2    VAG, 602,
                                                        PK, O, NARR




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Downey, Laurence    5/8/2015  221    4    221       5 L, VAG, 602,
                                                      PK, O, NARR

Downey, Laurence    5/8/2015   221    8     221    23   L, VAG, 602,
                                                        PK, O, NARR

Downey, Laurence    5/8/2015   222   12     222    17   403, MIL,
                                                        PRIV, L, HS,
                                                        602
Downey, Laurence    5/8/2015   222   22     222    22   403, MIL,
                                                        PRIV, L, HS,
                                                        602
Downey, Laurence    5/8/2015   223    2     223    4    403, MIL, L,
                                                        602
Downey, Laurence    5/8/2015   223   10     223    14   403, MIL, L,
                                                        602
Downey, Laurence    5/8/2015   224   16     224    20   L
Downey, Laurence    5/8/2015   225    7     225     8   L, 602
Downey, Laurence    5/8/2015   225   10     225    13   L, VAG, 602
Downey, Laurence    5/8/2015   225   15     225    17   L, VAG, 602
Downey, Laurence    5/8/2015   225   20     226     3   L, VAG, 602
Downey, Laurence    5/8/2015   226    5     226     7   L, VAG, 602
Downey, Laurence    5/8/2015   226   10     226    13   L, VAG, 602
Downey, Laurence    5/8/2015   227   10     227    16   L
Downey, Laurence    5/8/2015   227   20     228    11   L, 602
Downey, Laurence    5/8/2015   228   13     228    17   L, 602
Downey, Laurence    5/8/2015   228   19     228    21   L, 602




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Transcript Name     Depo Date   Page    Line Start Page End Line End                                  Page    Line Start Page End Line End                                        Page Start   Line Start Page End Line End
                                Start                                                                 Start
Dudley, Robert E.   3/21/2005     6        12          6        14     HS, MIL
Dudley, Robert E.   3/21/2005     6        17          7         1     HS, MIL
Dudley, Robert E.   3/21/2005     8        23          8        25     HS, MIL
Dudley, Robert E.   3/21/2005    14         2         14        17     HS, MIL, L                      14        18          14       22
Dudley, Robert E.   3/21/2005    36        10         36        24     HS, MIL, L
Dudley, Robert E.   3/21/2005    37         2         37         5     HS, MIL, L
Dudley, Robert E.   3/21/2005    73        24         74        18     HS, MIL, L, CP, CUM, DUP        75         1          75       14     402

                                                                                                       75        21          75       23     402
                                                                                                       76        20          76       23     106; 402
Dudley, Robert E.   3/21/2005    78         7         78         9     HS, MIL                         79        13          79       19     402
Dudley, Robert E.   3/21/2005    78        14         78        15     HS, MIL                         78        17          79       11     402; Improper designation of
                                                                                                                                             attorney objection (79:9)
                                                                                                       79        13          79       19     402
Dudley, Robert E.   3/21/2005    82        15         83         1     HS, MIL, VAG, O, CP, AF,
                                                                       602, AA
Dudley, Robert E.   3/21/2005    83         3         83        12     HS, MIL, VAG, O, CP, AF,        83        19          84       10     Asked and answered (84:3-10); 402
                                                                       602, AA                                                               (84:3-10); Improper designation of
                                                                                                                                             attorney objection (84:3-10)

Dudley, Robert E.   3/21/2005    84        12         84        15     HS, MIL, AA, CUM, CP, AF,
                                                                       MPT, MIS, O
Dudley, Robert E.   3/21/2005    84        20         86        15     HS, MIL, 701, 1006, NARR,       86        16          86       19
                                                                       PK, 602, VAG, UT, CLC
Dudley, Robert E.   3/21/2005    86        20         87         2     HS, MIL, CLC, 403, 701, 901,
                                                                       ARG, AF, CP, CUM, LA, MIS,
                                                                       L, O, PK, UT, VAG, 1002,
                                                                       30b6
Dudley, Robert E.   3/21/2005    87         5         87        15     HS, MIL, CLC, 403, 701, 901,
                                                                       ARG, AF, CP, CUM, LA, MIS,
                                                                       L, O, PK, UT, VAG, 1002,
                                                                       30b6
Dudley, Robert E.   3/21/2005    89        14         89        22     HS, MIL, CLC, 403, 701, 901,
                                                                       ARG, AF, CP, CUM, LA, MIS,
                                                                       L, O, PK, UT, VAG, 1002,
                                                                       30b6, AA
Dudley, Robert E.   3/21/2005    89        25         90         6     HS, MIL, CLC, 701, 901,         94         5          95        3
                                                                       ARG, AF, CP, CUM, LA, MIS,
                                                                       L, O, PK, UT, VAG, 1002,
                                                                       30b6, AA
Dudley, Robert E.   3/21/2005    90         9         90        17     HS, MIL, CLC, 701, 901,
                                                                       ARG, AF, CP, CUM, LA, MIS,
                                                                       L, O, PK, UT, VAG, 1002,
                                                                       30b6, AA
Dudley, Robert E.   3/21/2005    93        14         93        16     HS, MIL, CLC, 701, 901,
                                                                       ARG, AF, CP, CUM, LA, MIS,
                                                                       L, O, PK, UT, VAG, 1002,
                                                                       30b6, AA
Dudley, Robert E.   3/21/2005    93        19         94         4     HS, MIL, CLC, 701, 901,
                                                                       ARG, AF, CP, CUM, LA, MIS,
                                                                       L, O, PK, UT, VAG, 1002,
                                                                       30b6, AA, 403



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                                                                               Objections                                                                                                                                          Objections
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                                Start                                                                   Start
Dudley, Robert E.   3/21/2005    113       12        113        25     HS, MIL, CLC, 701, 602, CP,
                                                                       O, AF
Dudley, Robert E.   3/21/2005   129         8        129        13     HS, MIL, 1002, AF, CLC, 701,
                                                                       MIS, NARR, O, PK, 602, VAG

Dudley, Robert E.   3/21/2005   129        15        129        18     HS, MIL, 1002, NR, AF, CLC,
                                                                       701, MIS, NARR, PK, 602,
                                                                       VAG
Dudley, Robert E.   3/22/2005   262        10        262        13     HS, MIL, 106, AC, 402, 501,
                                                                       QNA, INC
Dudley, Robert E.   3/22/2005   360        17        360        18     HS, MIL, 106, AC, 402, 501,
                                                                       QNA, QNP, INC
Dudley, Robert E.   3/22/2005   360        22        361        11     HS, MIL, 106, NQP, AC, 602,
                                                                       1002, CLC, 901, VAG, UT, O,
                                                                       MPT, INC
Dudley, Robert E.   3/22/2005   361        24        362         2     HS, MIL, 106, NQP, INC, PK,
                                                                       VAG, 901, 1002, 402, 403

Dudley, Robert E.   3/22/2005   370        13        371        20     HS, MIL, INC, PK, VAG, 602,
                                                                       QNA, 501, O
Dudley, Robert E.   6/17/2011     7        22          7        24     MIL
Dudley, Robert E.   6/17/2011     8         3          8         5     MIL
Dudley, Robert E.   6/17/2011    48        25         49         1     MIL, INC, 106
Dudley, Robert E.   6/17/2011    49         5         49        16     MIL, 701, 901,1002, 1006              38             2           39      3
                                                                                                             36            16           37     15
                                                                                                             49            11           49     23
                                                                                                             57            22           58      4
                                                                                                             58            20           58     23
                                                                                                            125            11          125     20 Calls for a conclusion; 701; 1002
Dudley, Robert E.   6/17/2011    49        24         50         2     MIL, CLC, 1002, 1006, AF,             50             3           51      9 Calls for a conclusion; 701; 1002;
                                                                       LA, PK                                                                     Improper designation of attorney
                                                                                                                                                  colloquy
Dudley, Robert E.   6/17/2011    50        22         51         1     MIL, CLC, 1002, 1006, AF,
                                                                       LA, PK
Dudley, Robert E.   6/17/2011    51        10         51        22     MIL, CLC, 1002, AF, NR, LA,              51         23          53      14 Calls for a conclusion; 701; 1002;
                                                                       PK                                                                         Improper designation of attorney
                                                                                                                                                  objections
Dudley, Robert E.   6/17/2011    53        16         53        19     MIL, 602, PK                             55         10          55      13
                                                                                                                55         17          57       6
Dudley, Robert E.   6/17/2011    84         8         84        12     MIL, PK
Dudley, Robert E.   6/17/2011    84        15         86         4     MIL, AF, ARG, LA, 701,         88                    8          89      18 Improper designation of attorney
                                                                       30b6, VAG                      (3/21/05                                    colloquy (88:12-25)
                                                                                                      Depo)
Dudley, Robert E.   6/17/2011    86        10         86        12     MIL
Dudley, Robert E.   6/17/2011    86        15         87         1     MIL, NR, AF                           86            24          87       8 Improper designation of attorney
                                                                                                       (3/21/05                                   objection (87:3-4)
                                                                                                          Depo)
                                                                                                            142             7          142     22
                                                                                                            143            15          144     15
                                                                                                            145            11          145     16




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Dudley, Robert E.   6/17/2011   142         7        142        22     MIL, 602, 701, 901, CLC, PK

Dudley, Robert E.   6/17/2011   143        15        144        15     MIL, 602, 701, 901, CLC, PK           86         15          87       1 No question is designated

Dudley, Robert E.   6/17/2011   145        11        145        16     MIL, 602, 701, 901, CLC, PK           86         15          87       1 No question is designated

                                                                                                        142              7          142     22
                                                                                                        143             15          144     15




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Ebert, Charles    6/29/2011    7     13      7       15
Ebert, Charles    6/29/2011    7     19      7       23
Ebert, Charles    6/29/2011    8      2      8        6
Ebert, Charles    6/29/2011   14      2     14       10
Ebert, Charles    6/29/2011   20     25     21       15
Ebert, Charles    6/29/2011   58     16     58       19
Ebert, Charles    6/29/2011   59      8     60        3
Ebert, Charles    6/29/2011   60      5     60       14
Ebert, Charles    6/29/2011  114     20    115        2
Ebert, Charles    6/29/2011                                                118    18     119    2    602 (118:18-    119      3     119        3
                             115     13    118       12                                                118-22)
Ebert, Charles    6/29/2011  142      4    142       9                     142    23     143    2
Ebert, Charles    6/29/2011  142     10    142       22                    142    23     143    2
Ebert, Charles    6/29/2011                             403, AA, AF, L,
                             143      5    144       6 VAG




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Edwards, Peter    5/28/2015   5     20      5       24
Edwards, Peter    5/28/2015  18     14     18       17                   30       9       30     11
                                                                         30      16       30     23
                                                                         32       8       33      9
Edwards, Peter    5/28/2015   96      6    96     11
Edwards, Peter    5/28/2015   96     18    96     20
Edwards, Peter    5/28/2015   113     3    113     5     PK, 602        112      22       113    2       602       109     12      109       17      INC
                                                                         113      12       113    14     602
                                                                         113      17       113    19     602
                                                                         113      24       114     2     602
                                                                         114      24       115     6     602
                                                                         263        1      263    16   104a; 602
                                                                         263      19       263    23   104a; 602
                                                                         264        2      264     3   104a; 602
Edwards, Peter    5/28/2015   119     3    119     6     PK, 602
Edwards, Peter    5/28/2015   119     8    119    12     PK, 602
Edwards, Peter    5/28/2015   253     4    253     8
Edwards, Peter    5/28/2015   253    10    253    13     PK, 602        109       8       109    11
                                                                        109      20       110     4
                                                                        110      16       110    19
                                                                        111       1       111    11
Edwards, Peter    5/28/2015   287     7    287    18     PK, 602, L     72        2       72      4
                                                                        72        6       72     15




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Engert, Oliver     3/4/2016   8      3      8       8
Engert, Oliver     3/4/2016   8     11      8       12
Engert, Oliver     3/4/2016   8     17      8       22
Engert, Oliver     3/4/2016   9      2      9       15
Engert, Oliver     3/4/2016  12     12     12       17   402
Engert, Oliver     3/4/2016  15     14     15       20   HS, INC, 602, VAG                   14     21    15     4
Engert, Oliver     3/4/2016  16      2     16       9    HS, 602, VAG
Engert, Oliver     3/4/2016  22      3     22       12   INC, HS, L, 602                     23     18    24     5
Engert, Oliver     3/4/2016  24      6     24       9
Engert, Oliver     3/4/2016  24     21     25       3
Engert, Oliver     3/4/2016  38      4     38       19   602, VAG, NARR
Engert, Oliver     3/4/2016  39      2     39       10   602, VAG
Engert, Oliver     3/4/2016  48      5     48       14   602, VAG
Engert, Oliver     3/4/2016  68      2     68       10   602, VAG
Engert, Oliver     3/4/2016  68     15     69       1    AC, L
Engert, Oliver     3/4/2016  73      6     73       13   L, 701, 602,
Engert, Oliver     3/4/2016  80     23     81       1    L, 701, 602,
Engert, Oliver     3/4/2016  82     12     82       21   HS, VAG, 602, L
Engert, Oliver     3/4/2016  83      5     83       7    L, 402, 602, PK, HYPO, ARG
Engert, Oliver     3/4/2016  83     10     83       16   602, PK, HYPO, AF
Engert, Oliver     3/4/2016  92      3     92       12   L, HYPO, 602, AF, 403, CP
Engert, Oliver     3/4/2016  92     21     93       7    602, PK, AF
Engert, Oliver     3/4/2016  121    15    121       18
Engert, Oliver     3/4/2016  122     3    122       5
Engert, Oliver     3/4/2016  122     8    122       14
Engert, Oliver     3/4/2016  129    13    129       20   VAG, 602
Engert, Oliver     3/4/2016  129    24    130       3    HS, VAG, 602
Engert, Oliver     3/4/2016  201     7    201       9    L, VAG, 602
Engert, Oliver     3/4/2016  201    12    201       16   VAG, 602




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Erstad, Mary Beth   2/8/2005    5        8        5         10     HS, MIL
Erstad, Mary Beth   2/8/2005    5        14       5         15     HS, MIL
Erstad, Mary Beth   2/8/2005    6        20       7         3      HS, MIL, AF, 602
Erstad, Mary Beth   2/8/2005    7        21       8         5      HS, MIL, O, 1002, 901,
                                                                   602
Erstad, Mary Beth   2/8/2005    8         9        8        15     HS, MIL, O, 1002, 901,     8          16           8        20         402
                                                                   602
Erstad, Mary Beth   2/8/2005    12        4        12       18     HS, MIL, O, 1002, 901,
                                                                   602
Erstad, Mary Beth   2/8/2005    15       19        15       23     HS, MIL, AF, PK, O,
                                                                   VAG, 602
Erstad, Mary Beth   2/8/2005    29        9        29       17     HS, MIL, AF, CUM, CP,      25         20          25        25         402; 602; 802
                                                                   PK, NR, VAG, 602, 701
Erstad, Mary Beth   2/8/2005    30       16        31        1     HS, MIL, AF, 602, 901,
                                                                   1002, O, PK, VAG
Erstad, Mary Beth   2/8/2005    31       24        32        5     HS, MIL, AF, 602, DUP,     32         6           32        11               106          32         12        32        16
                                                                   AA, ARG, MIS, 403, 602,                                                                                                          HS, MIL, AF, 602, DUP, ARG,
                                                                   PK, VAG, UT                                                                                                                      403, 402, PK, VAG, UT, 1002
                                                                                                                                                             33         3         33           7
                                                                                                                                                                                                    HS, MIL, AF, 602, DUP, ARG,
                                                                                                                                                                                                    403, 402, PK, VAG, UT, 1002
                                                                                                                                                             33         11        33        13
                                                                                                                                                                                                    HS, MIL, AF, 602, DUP, ARG,
                                                                                                                                                                                                    403, 402, PK, VAG, UT, 1002
Erstad, Mary Beth   2/8/2005    33       14        33       20     HS, MIL, AF, 602, PK,
                                                                   DUP, AAA, ARG, CLC,
                                                                   MIS, 403, 501, VAG, UT

Erstad, Mary Beth   2/8/2005    34       19        34       21     HS, MIL, AF, 602, 1002,         35           1         35          7
                                                                   CLC, CP, CUM, L, LA, O,
                                                                   PK, VAG
Erstad, Mary Beth   2/8/2005    80       10        80       13     HS, MIL, AF, 602, 501,
                                                                   CP, NARR, LA, CLC,
                                                                   VAG, PK, O, NR, 701
Erstad, Mary Beth   2/8/2005    80       20        81       2      HS, MIL, PK, AF
Erstad, Mary Beth   2/8/2005    81       8         81       19     HS, MIL, PK, AF, 602,           81         20          82          2 402
                                                                   VAG
Erstad, Mary Beth   2/8/2005    82        3        82       15     HS, MIL, 403, 501, 602,         82         22          82        25 106; 602; 802         83         14        83        19      HS, MIL, 403, 602, AF, ARG,
                                                                   701, 30b6, 901, 1002,                                                                                                            CLC, 402, PK, VAG, 106
                                                                   AF, ARG, CLC, CP, CUM,
                                                                   HYPO, LA, MIS, NARR,
                                                                   NR, O, PK, VAG




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Erstad, Mary Beth   2/8/2005    86       21        87        1     HS, MIL, 403, 501, 602,        87       12        87          13
                                                                   701, 30b6, 901, 1002,
                                                                   AF, ARG, CLC, CP, CUM,
                                                                   HYPO, LA, MIS, NARR,
                                                                   NR, O, PK, VAG

Erstad, Mary Beth   2/8/2005    95       22        95       25     HS, MIL, 403, 602, 701,
                                                                   AF, CLC, LA, MIS, O, PK,
                                                                   VAG
Erstad, Mary Beth   2/8/2005   105       16       106       10     HS, MIL, 701, AF, ARG,        106       11        106         14 Not
                                                                   L, MIS, O, PK                                                    responsive;
                                                                                                                                    402
Erstad, Mary Beth   2/8/2005   106       20       107        1     HS, MIL, 701, AF, ARG,        107       15        108          6 602; 701
                                                                   L, MIS, O, PK, CLC, VAG

Erstad, Mary Beth   2/8/2005   107        9       107       14     HS, MIL, 701, AF, ARG,        107       15        108          6 602; 701
                                                                   L, MIS, O, PK, CLC, VAG,
                                                                   602, AA
Erstad, Mary Beth   2/8/2005   108        7       108       10     HS, MIL, 701, AF, ARG,        107       15        108          6 602; 701
                                                                   L, MIS, O, PK, CLC, VAG,
                                                                   602, AA
Erstad, Mary Beth   2/8/2005   108       19       108       20     HS, MIL, 402, IMP,            108       11        108         18
                                                                   1002, 901, VAG, PK
Erstad, Mary Beth   2/8/2005   115       17       115       25     HS, MIL, 701, 901, AF,
                                                                   CLC, DUP, AA, MIS, O,
                                                                   PK, VAG
Erstad, Mary Beth   2/8/2005   117       12       117       16     HS, MIL, 403, 602, 701,
                                                                   901, 1002, AA, AF, ARG,
                                                                   CLC, LA, O, PK, UT,
                                                                   VAG, IMP
Erstad, Mary Beth   2/8/2005   118        5       118        7     HS, MIL, 403, 602, 701,
                                                                   901, 1002, AA, AF, ARG,
                                                                   CLC, LA, O, PK, UT,
                                                                   VAG, IMP, NR
Erstad, Mary Beth   2/8/2005   118       17       118       22     HS, MIL, 403, 602, 701,
                                                                   901, 1002, AA, AF, ARG,
                                                                   CLC, LA, O, PK, UT,
                                                                   VAG, IMP, NR
Erstad, Mary Beth   2/8/2005   121       21       121       24     HS, MIL, 403, 602, 701,
                                                                   901, 1002, AA, AF, ARG,
                                                                   CLC, LA, O, PK, UT,
                                                                   VAG, IMP




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Erstad, Mary Beth   2/8/2005   122       25       123        2     HS, MIL, 501, 602, 701,
                                                                   901, 1002, 30b6, AA,
                                                                   AF, ARG, CLC, CP, CUM,
                                                                   L, LA, IMP, O, PK, UT,
                                                                   VAG
Erstad, Mary Beth   2/8/2005   123        8       123        9     HS, MIL, 501, 602, 701,
                                                                   901, 1002, 30b6, AA,
                                                                   AF, ARG, CLC, CP, CUM,
                                                                   L, LA, IMP, O, PK, UT,
                                                                   VAG




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Gautsch, Michael   5/18/2016   8     1      8       10
Gautsch, Michael   5/18/2016  22     2     22        7 VAG
Gautsch, Michael   5/18/2016  22    11     22       11
Gautsch, Michael   5/18/2016  22    13     22       18
Gautsch, Michael   5/18/2016  53     7     53       25 402; 403; NR; PK;       52       22       53         1     402; 403
                                                       602; 701; IRR; CUM
                                                                               53        4       53         5     402; 403
                                                                              170       12      170        13     402; 403; Vague and ambiguous

                                                                              170       18      170        23     402; 403; Vague and ambiguous

                                                                              171       2       171         9     402; 403; Vague and ambiguous

                                                                              171       12      171        14     402; 403; Vague and ambiguous

                                                                              172       11      172        14     402; 403; Vague and ambiguous

                                                                              202       23      203         2     402; 403; 106
                                                                              212       10      212        12     402; 403
                                                                              212       15      212        24     402; 403
                                                                              213        2      213         9     402; 403
                                                                              214        8      214        11     402; 403; Vague and ambiguous

                                                                              255        4      255        14     402; 403; 104a
                                                                              312        7      314         4     402; 403
                                                                              314       10      314        18     402; 403; 602; 104a
Gautsch, Michael   5/18/2016   54     3     54     3 602; 701
Gautsch, Michael   5/18/2016   54     6     54    13 402; 403; PK; 602;       147       14      148         1     402; 403; Vague and ambiguous
                                                     701; IRR; CUM; HS
                                                                              148       6       148        19     402; 403; Vague and ambiguous

                                                                              312        7      314         4     402; 403
                                                                              314       10      314        18     402; 403; 602; 104a
Gautsch, Michael   5/18/2016   163    16   163    24
Gautsch, Michael   5/18/2016   165    24   166    14 402, 403, NR; CUM;       312       7       314         4     402; 403
                                                     IRR; HS; 602; 701
                                                                              314       10      314        18     402; 403; 602; 104a
Gautsch, Michael   5/18/2016   195     5   195     6
Gautsch, Michael   5/18/2016   195     9   195     9
Gautsch, Michael   5/18/2016   195    11   196     4   602; 701; CUM; PK;     197       24      198         4     402; 403; 104a
                                                       HS
                                                                              198       12      199        21     402; 403

                                                                              312       7       314         4     402; 403

                                                                              314       10      314        18     402; 403; 602; 104a

Gautsch, Michael   5/18/2016   196    13   197    10 602; 701; CUM; PK;       197       24      198         4     402; 403; 104a
                                                     HS
                                                                              198       12      199        21     402; 403


                                                                              312       7       314         4     402; 403




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                                                                            314       10      314         18     402; 403; 602; 104a


Gautsch, Michael   5/18/2016   250   25   251   19
Gautsch, Michael   5/18/2016   288    3   289    5 VAG; O; 402; 403;         312       7       314         4     402; 403
                                                   IRR; CUM; 602; 701;
                                                   HS; PK


                                                                             314       10      314        18     402; 403; 602; 104a
Gautsch, Michael   5/18/2016   289   18   290    1
Gautsch, Michael   5/18/2016   290   19   290   21 402; 403; IRR; CUM;       319       13      322         6
                                                   VAG; O; 602; CLC; L
                                                                             323       16      323        18
                                                                             323       21      323        24
                                                                             324        4      324        19
                                                                             324       23      325         8
                                                                             327       14      327        19
Gautsch, Michael   5/18/2016   291   1    291   6     402; 403; IRR; CUM;    319       13      322         6
                                                      VAG; O; 602; CLC; L
                                                                             323       16      323        18
                                                                             323       21      323        24
                                                                             324        4      324        19
                                                                             324       23      325         8
                                                                             327       14      327        19
Gautsch, Michael   5/18/2016   291   8    291   9     402; 403; IRR; CUM;    319       13      322         6
                                                      VAG; O; 602; CLC; L
                                                                             323       16      323        18
                                                                             323       21      323        24
                                                                             324        4      324        19
                                                                             324       23      325         8
                                                                             327       14      327        19
Gautsch, Michael   5/18/2016   291   14   291   15 402; 403; IRR; CUM;       319       13      322         6
                                                   VAG; O; 602; CLC; L
                                                                             323       16      323        18                                            338        12       338       14       402; 403; IRR; CUM; VAG;
                                                                                                                                                                                               O; 602; L
                                                                                                                                                        338        17       338       25       402, 403, 602
                                                                             323       21      323        24
                                                                             324        4      324        19
                                                                             324       23      325         8
                                                                             327       14      327        19
Gautsch, Michael   5/18/2016   293   9    293   10 403; CUM; VAG; O;         197       24      198        10
                                                   602; 701; CLC; L
                                                                             198       12      199        21     402; 403
                                                                             306        6      306        24     106; Vague and ambiguous;
                                                                                                                 mischaracterizes testimony;
                                                                                                                 argumentative;
                                                                             306       22      306        24
                                                                             307       24      308         2     Vague and ambiguous
                                                                             308        6      308         9     Vague and ambiguous
                                                                             308       15      308        18     Vague and ambiguous
                                                                             308       22      308        24     Vague and ambiguous
                                                                             309       12      309        17     Vague and ambiguous
                                                                             134       17      134        20
                                                                             135       17      135        21
                                                                             136       15      136        17                                   106
                                                                             137       10      137        16     104a




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                                  Designations             Objections                                                                                                                        Objections
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                                                                            138       16      138         18     104a; Vague and ambiguous;
                                                                                                                 602
                                                                             138       21      139        11     104a; Vague and ambiguous;
                                                                                                                 602
                                                                             139       15      139        19     104a; Vague and ambiguous;
                                                                                                                 602
Gautsch, Michael   5/18/2016   293   13   293   13 402; 403; IRR; CUM;       134       17      134        20
                                                   VAG; O; 602; 701;
                                                   CLC; L
                                                                             135       17      135        21
                                                                             136       15      136        17                               106
                                                                             137       10      137        16     104a
                                                                             138       16      138        18     104a; Vague and ambiguous;
                                                                                                                 602
                                                                             138       21      139        11     104a; Vague and ambiguous;
                                                                                                                 602
                                                                             139       15      139        19     104a; Vague and ambiguous;
                                                                                                                 602
Gautsch, Michael   5/18/2016   293   16   293   17 402; 403; IRR; CUM;       134       17      134        20
                                                   VAG; O; 602; L
                                                                             135       17      135        21
                                                                             136       15      136        17                               106
                                                                             137       10      137        16     104a
                                                                             138       16      138        18     104a; Vague and ambiguous;
                                                                                                                 602
                                                                             138       21      139        11     104a; Vague and ambiguous;
                                                                                                                 602
                                                                             139       15      139        19     104a; Vague and ambiguous;
                                                                                                                 602
Gautsch, Michael   5/18/2016   293   20   293   20 402; 403; IRR; CUM;       134       17      134        20
                                                   602
                                                                             135       17      135        21
                                                                             136       15      136        17                               106
                                                                             137       10      137        16     104a
                                                                             138       16      138        18     104a; Vague and ambiguous;
                                                                                                                 602
                                                                             138       21      139        11     104a; Vague and ambiguous;
                                                                                                                 602
                                                                             139       15      139        19     104a; Vague and ambiguous;
                                                                                                                 602
Gautsch, Michael   5/18/2016   293   22   293   23 402; 403; IRR; CUM;       134       17      134        20
                                                   NAR; VAG; O
                                                                             135       17      135        21
                                                                             136       15      136        17                               106
                                                                             137       10      137        16     104a
                                                                             138       16      138        18     104a; Vague and ambiguous;
                                                                                                                 602
                                                                             138       21      139        11     104a; Vague and ambiguous;
                                                                                                                 602
                                                                             139       15      139        19     104a; Vague and ambiguous;
                                                                                                                 602
Gautsch, Michael   5/18/2016   294   2    294   7     402; 403; IRR; CUM;    134       17      134        20
                                                      602
                                                                             135       17      135        21
                                                                             136       15      136        17                                 106
                                                                             137       10      137        16     104a




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                                                                              138       16      138        18     104a; Vague and ambiguous;
                                                                                                                  602
                                                                              138       21      139        11     104a; Vague and ambiguous;
                                                                                                                  602
                                                                              139       15      139        19     104a; Vague and ambiguous;
                                                                                                                  602
Gautsch, Michael   5/18/2016   294    9   294   16
Gautsch, Michael   5/18/2016   295   18   295   20 L; 701; 403; CUM;          253       9       253        18
                                                   CLC
                                                                              254       11      254        16     Vague and ambiguous;
                                                                                                                  compound
                                                                              254       20      254        21                                   106      254        22       255        2       403, 701
                                                                              306        6      306        18     106; Vague and ambiguous;
                                                                                                                  mischaracterizes testimony;
                                                                                                                  argumentative
                                                                              306       22      306        24     106; Vague and ambiguous;
                                                                                                                  mischaracterizes testimony;
                                                                                                                  argumentative
                                                                              307       24      308         2     Vague and ambiguous
                                                                              308        6      308         9     Vague and ambiguous
                                                                              308       15      308        18     Vague and ambiguous
                                                                              308       22      308        24     Vague and ambiguous
                                                                              309       12      309        17     Vague and ambiguous
Gautsch, Michael   5/18/2016   295   23   295   23 701; 403; CUM              253       9       253        18
                                                                              254       11      254        16     Vague and ambiguous;
                                                                                                                  compound
                                                                              254       20      254        21                                   106      254        22       255        2       403, 701, PK, 602
                                                                              306        6      306        18     Vague and ambiguous
                                                                              306       22      306        24     Vague and ambiguous
                                                                              307       24      308         2     Vague and ambiguous
                                                                              308        6      308         9     Vague and ambiguous
                                                                              308       15      308        18     Vague and ambiguous
                                                                              308       22      308        24     Vague and ambiguous
                                                                              309       12      309        17     Vague and ambiguous
Gautsch, Michael   5/18/2016   295   25   296   3     L; CP; 701; 402; 403;   253        9      253        18
                                                      IRR; CUM
                                                                              254       11      254        16     Vague and ambiguous;
                                                                                                                  compound
                                                                              254       20      254        21                                   106      254        22       255        2       403, 701, PK, 602
Gautsch, Michael   5/18/2016   296   7    296   7     701; 402; 403; CUM;     253        9      253        18
                                                      IRR
                                                                              254       11      254        16     Vague and ambiguous;
                                                                                                                  compound
                                                                              254       20      254        21                                   106      254        22       255        2       403, 701, PK, 602
Gautsch, Michael   5/18/2016   296   9    296   10 O; VAG; CLC; PK;
                                                   403: CUM; 402; IRR;
                                                   602; 701
Gautsch, Michael   5/18/2016   296   13   297   1 PK; 602; 701; 402;
                                                   403; IRR; CUM
Gautsch, Michael   5/18/2016   297   4    297    8 O; VAG; CLC; 403:          197       24      198         4     402; 403; 104a
                                                   CUM; 402; IRR; 602;
                                                   701
                                                                              198       12      199        21     402; 403
                                                                              306        6      306        18     106; Vague and ambiguous;
                                                                                                                  mischaracterizes testimony;
                                                                                                                  argumentative
                                                                              306       22      306        24



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                                  Designations             Objections                                                                                                                    Objections
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                                                                            307       24      308          2     Vague and ambiguous
                                                                            308        6      308          9     Vague and ambiguous
                                                                            308       15      308         18     Vague and ambiguous
                                                                            308       22      308         24     Vague and ambiguous
                                                                            309       12      309         17     Vague and ambiguous
Gautsch, Michael   5/18/2016   297   12   298   9     O; VAG; CLC; 403:     197       24      198          4     402; 403; 104a
                                                      CUM; 402; IRR; 602;
                                                      701
                                                                             198       12      199        21     402; 403
                                                                             306        6      306        18     106; Vague and ambiguous;
                                                                                                                 mischaracterizes testimony;
                                                                                                                 argumentative
                                                                             306       22      306        24
                                                                             307       24      308         2     Vague and ambiguous
                                                                             308        6      308         9     Vague and ambiguous
                                                                             308       15      308        18     Vague and ambiguous
                                                                             308       22      308        24     Vague and ambiguous
                                                                             309       12      309        17     Vague and ambiguous
Gautsch, Michael   5/18/2016   298   12   298   15 602; 701; 402; 403;       197       24      198         4     402; 403; 104a
                                                   IRR; CUM
                                                                             198       12      199        21     402; 403
                                                                             306        6      306        18     106; Vague and ambiguous;
                                                                                                                 mischaracterizes testimony;
                                                                                                                 argumentative
                                                                             306       22      306        24
                                                                             307       24      308         2     Vague and ambiguous
                                                                             308        6      308         9     Vague and ambiguous
                                                                             308       15      308        18     Vague and ambiguous
                                                                             308       22      308        24     Vague and ambiguous
                                                                             309       12      309        17     Vague and ambiguous
Gautsch, Michael   5/18/2016   298   17   298   19 O; VAG; 403: CUM;         197       24      198         4     402; 403; 104a
                                                   402; IRR
                                                                             198       12      199        21     402; 403
                                                                             306        6      306        18     106; Vague and ambiguous;
                                                                                                                 mischaracterizes testimony;
                                                                                                                 argumentative
                                                                             306       22      306        24
                                                                             307       24      308         2     Vague and ambiguous
                                                                             308        6      308         9     Vague and ambiguous
                                                                             308       15      308        18     Vague and ambiguous
                                                                             308       22      308        24     Vague and ambiguous
                                                                             309       12      309        17     Vague and ambiguous
Gautsch, Michael   5/18/2016   298   22   298   22 403: CUM; 402; IRR        197       24      198        4      402; 403; 104a
                                                                             198       12      199        21     402; 403
                                                                             306        6      306        18     106; Vague and ambiguous;
                                                                                                                 mischaracterizes testimony;
                                                                                                                 argumentative
                                                                             306       22      306        24
                                                                             307       24      308         2     Vague and ambiguous
                                                                             308        6      308         9     Vague and ambiguous
                                                                             308       15      308        18     Vague and ambiguous
                                                                             308       22      308        24     Vague and ambiguous
                                                                             309       12      309        17     Vague and ambiguous
Gautsch, Michael   5/18/2016   298   24   299   1     VAG; 403: CUM; 402;    197       24      198         4     402; 403; 104a
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                                                                            306        6      306         18     106; Vague and ambiguous;
                                                                                                                 mischaracterizes testimony;
                                                                                                                 argumentative
                                                                             306       22      306        24
                                                                             307       24      308         2     Vague and ambiguous
                                                                             308        6      308         9     Vague and ambiguous
                                                                             308       15      308        18     Vague and ambiguous
                                                                             308       22      308        24     Vague and ambiguous
                                                                             309       12      309        17     Vague and ambiguous
Gautsch, Michael   5/18/2016   299   4    299   14 602; 701; 402; 403;       197       24      198         4     402; 403; 104a
                                                   IRR; CUM; AF
                                                                             198       12      199        21     402; 403
                                                                             306        6      306        18     106; Vague and ambiguous;
                                                                                                                 mischaracterizes testimony;
                                                                                                                 argumentative
                                                                             306       22      306        24
                                                                             307       24      308         2     Vague and ambiguous
                                                                             308        6      308         9     Vague and ambiguous
                                                                             308       15      308        18     Vague and ambiguous
                                                                             308       22      308        24     Vague and ambiguous
                                                                             309       12      309        17     Vague and ambiguous
Gautsch, Michael   5/18/2016   301   16   301   18 O; VAG; 402; 403;         147       14      148         1     402; 403; Vague and ambiguous
                                                   IRR; CUM; 602; 701; L

                                                                             148       6       148        19     402; 403; Vague and ambiguous

                                                                             312        7      314         4     402; 403
                                                                             314       10      314        18     402; 403; 602; 104a
Gautsch, Michael   5/18/2016   301   21   301   23 402; 403; IRR; CUM;        52       22       53         1     402; 403
                                                   602; 701
                                                                              53        4       53         5     402; 403
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                                                                             170       18      170        23     402; 403; Vague and ambiguous

                                                                             171       2       171         9     402; 403; Vague and ambiguous

                                                                             171       12      171        14     402; 403; Vague and ambiguous

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                                                                             213        2      213         9     402; 403
                                                                             214        8      214        11     402; 403; Vague and ambiguous

                                                                             255        4      255        14     402; 403; 104a
                                                                             312        7      314         4     402; 403
                                                                             314       10      314        18     402; 403; 602; 104a
Gautsch, Michael   5/18/2016   301   25   302   2     O; VAG; 402; 403;       52       22       53         1     402; 403
                                                      IRR; CUM; 602; 701;
                                                      L; AF
                                                                              53        4       53         5     402; 403
                                                                             170       12      170        13     402; 403; Vague and ambiguous




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                                                                            170       18      170         23     402; 403; Vague and ambiguous

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                                                                             171       12      171        14     402; 403; Vague and ambiguous

                                                                             172       11      172        14     402; 403; Vague and ambiguous

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                                                                             213        2      213         9     402; 403
                                                                             214        8      214        11     402; 403; Vague and ambiguous

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                                                                             312        7      314         4     402; 403
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Gautsch, Michael   5/18/2016   302   6   302    6     402; 403; IRR; CUM;     52       22       53         1     402; 403
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                                                                              53        4       53         5     402; 403
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                                                                             171       2       171         9     402; 403; Vague and ambiguous

                                                                             171       12      171        14     402; 403; Vague and ambiguous

                                                                             172       11      172        14     402; 403; Vague and ambiguous

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                                                                             212       15      212        24     402; 403
                                                                             213        2      213         9     402; 403
                                                                             214        8      214        11     402; 403; Vague and ambiguous

                                                                             255        4      255        14     402; 403; 104a
                                                                             312        7      314         4     402; 403
                                                                             314       10      314        18     402; 403; 602; 104a
Gautsch, Michael   5/18/2016   302   8   302    17 402; 403; IRR; CUM;        52       22       53         1     402; 403
                                                   602; 701
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                                                                             171       2       171         9     402; 403; Vague and ambiguous

                                                                             171       12      171        14     402; 403; Vague and ambiguous

                                                                             172       11      172        14     402; 403; Vague and ambiguous

                                                                             202       23      203         2     402; 403; 106
                                                                             212       10      212        12     402; 403
                                                                             212       15      212        24     402; 403
                                                                             213        2      213         9     402; 403




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                                                                      214        8      214         11     402; 403; Vague and ambiguous

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Gielen, Chad      3/23/2016  7      8      7       10
Gielen, Chad      3/23/2016  9     18      9       20
Gielen, Chad      3/23/2016  13    20     14       1
Gielen, Chad      3/23/2016  14     8     14       9
Gielen, Chad      3/23/2016  25     7     25       13 402, 403,        25       2       25   6   104a; 602
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Greene, Nefertiti    9/2/2015  10      6     10        8
Greene, Nefertiti    9/2/2015  13      5     19        9
Greene, Nefertiti    9/2/2015  19     10     19       21
Greene, Nefertiti    9/2/2015  20     10     21        3
Greene, Nefertiti    9/2/2015  21      8     22        8
Greene, Nefertiti    9/2/2015  23      8     23       25
Greene, Nefertiti    9/2/2015  24      3     24        7
Greene, Nefertiti    9/2/2015  24     10     24       15
Greene, Nefertiti    9/2/2015  24     21     24       24
Greene, Nefertiti    9/2/2015  25      2     25        4   402, 403           25        5     25     17
Greene, Nefertiti    9/2/2015  25     18     26        5   402, 403           26        6     26     14
Greene, Nefertiti    9/2/2015  26     15     26       19   402, 403           28        5     28     25
Greene, Nefertiti    9/2/2015  30      6     30       13   402, 403, 602

Greene, Nefertiti    9/2/2015    30    21     31     4     402, 403
Greene, Nefertiti    9/2/2015    31    11     31    12     402, 403
Greene, Nefertiti    9/2/2015    31    14     31    17     402, 403
Greene, Nefertiti    9/2/2015    32    24     32    25     402, 403
Greene, Nefertiti    9/2/2015    33     2     33     3     402, 403
Greene, Nefertiti    9/2/2015    33    12     33    13     402, 403           33    22        33     25
Greene, Nefertiti    9/2/2015    35    22     36     7     402, 403           36     8        36     17
Greene, Nefertiti    9/2/2015    36    18     37     4     402, 403           37     5        37     11 103; 104a
Greene, Nefertiti    9/2/2015    37    12     37    16     402, 403
Greene, Nefertiti    9/2/2015    38     1     38     4     402, 403
Greene, Nefertiti    9/2/2015    38     8     38    20     402, 403
Greene, Nefertiti    9/2/2015    38    22     39     4     602
Greene, Nefertiti    9/2/2015    39     5     39     9     402, 403           41    25        42     11
Greene, Nefertiti    9/2/2015    43    11     43    20     402, 403, 602    43     21       44      10              44       11       45        4       402, 403, 602

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                                                                           173     12       173     23
                                                                           174     14       174     25
                                                                           175     1        176     19
Greene, Nefertiti    9/2/2015   50     18    50     19     402, 403
Greene, Nefertiti    9/2/2015   50     22    50     23     402, 403           51        6     51     23
Greene, Nefertiti    9/2/2015   54     10    55      1     402, 403           54        3     54      9
Greene, Nefertiti    9/2/2015   59     16    59     22     402, 403
Greene, Nefertiti    9/2/2015   60      1    60      3     402, 403
Greene, Nefertiti    9/2/2015   61      7    64      5     402, 403           64    11        64     15
Greene, Nefertiti    9/2/2015   71      4    71     11     402, 403           77    25        78     20
Greene, Nefertiti    9/2/2015   135     1    135     5     402, 403
Greene, Nefertiti    9/2/2015   141     5    141     8     402, 403
Greene, Nefertiti    9/2/2015   156    10    156    13     402, 403
Greene, Nefertiti    9/2/2015   180     8    182    18     402, 403
Greene, Nefertiti    9/2/2015   183     5    183    17     402, 403



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Greene, Nefertiti    9/2/2015 183    18    183       23   402, 403
Greene, Nefertiti    9/2/2015 184     1    184       13   402, 403
Greene, Nefertiti    9/2/2015 184    14    185       3    402, 403
Greene, Nefertiti    9/2/2015 189    21    189       25   402, 403
Greene, Nefertiti    9/2/2015 190     3    190       15   402, 403
Greene, Nefertiti    9/2/2015 192    15    192       19   402, 403
Greene, Nefertiti    9/2/2015 192    22    193       4    402, 403
Greene, Nefertiti    9/2/2015 195    10    195       18   402, 403
Greene, Nefertiti    9/2/2015 195    21    196       14   402, 403
Greene, Nefertiti    9/2/2015 196    15    197       12   402, 403
Greene, Nefertiti    9/2/2015 197    15    197       22   402, 403
Greene, Nefertiti    9/2/2015 197    23    198       9    402, 403
Greene, Nefertiti    9/2/2015 198    13    198       19   402, 403
Greene, Nefertiti    9/2/2015 200    18    201       13   402, 403
Greene, Nefertiti    9/2/2015 203     4    203       6    402, 403
Greene, Nefertiti    9/2/2015 203     9    203       24   402, 403
Greene, Nefertiti    9/2/2015 204     3    206       2    402, 403
Greene, Nefertiti    9/2/2015 206     3    206       5    402, 403
Greene, Nefertiti    9/2/2015 206     9    206       15   402, 403
Greene, Nefertiti    9/2/2015 206    22    207       6    402, 403
Greene, Nefertiti    9/2/2015 207     7    208       23   402, 403
Greene, Nefertiti    9/2/2015 209     1    209       12   402, 403
Greene, Nefertiti    9/2/2015 209    15    209       20   402, 403
Greene, Nefertiti    9/2/2015 209    21    209       25   402, 403
Greene, Nefertiti    9/2/2015 210    13    211       19   402, 403
Greene, Nefertiti    9/2/2015 212    18    212       25   402, 403
Greene, Nefertiti    9/2/2015 213     2    213       5    402, 403
Greene, Nefertiti    9/2/2015 213     8    213       11   402, 403
Greene, Nefertiti    9/2/2015 213    12    213       21   402, 403
Greene, Nefertiti    9/2/2015 213    22    214       11   402, 403
Greene, Nefertiti    9/2/2015 214    12    215       7    402, 403
Greene, Nefertiti    9/2/2015 215    10    216       3    402, 403
Greene, Nefertiti    9/2/2015 216     6    216       6    402, 403
Greene, Nefertiti    9/2/2015 217     1    217       4    402, 403
Greene, Nefertiti    9/2/2015 218     5    219       4    402, 403
Greene, Nefertiti    9/2/2015 219     9    221       4    402, 403
Greene, Nefertiti    9/2/2015 221     6    221       10   402, 403
Greene, Nefertiti    9/2/2015 221    12    222       15   402, 403
Greene, Nefertiti    9/2/2015 222    16    223       4    402, 403
Greene, Nefertiti    9/2/2015 223     5    223       10   402, 403
Greene, Nefertiti    9/2/2015 223    13    224       4    402, 403
Greene, Nefertiti    9/2/2015 224     6    224       13   402, 403
Greene, Nefertiti    9/2/2015 224    15    225       23   402, 403
Greene, Nefertiti    9/2/2015 226    12    231       5    402, 403
Greene, Nefertiti    9/2/2015 231     8    232       19   402, 403
Greene, Nefertiti    9/2/2015 232    21    234       7    402, 403



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Greene, Nefertiti    9/2/2015 235     1    235       14   402, 403
Greene, Nefertiti    9/2/2015 235    17    236       13   402, 403
Greene, Nefertiti    9/2/2015 236    16    237       10   402, 403
Greene, Nefertiti    9/2/2015 237    12    238       17   402, 403
Greene, Nefertiti    9/2/2015 238    19    238       25   402, 403
Greene, Nefertiti    9/2/2015 239     2    241       1    402, 403
Greene, Nefertiti    9/2/2015 241     4    241       20   402, 403
Greene, Nefertiti    9/2/2015 241    23    242       6    402, 403
Greene, Nefertiti    9/2/2015 242     9    244       10   402, 403
Greene, Nefertiti    9/2/2015 243     3    243       11   402, 403
Greene, Nefertiti    9/2/2015 243    16    244       14   402, 403
Greene, Nefertiti    9/2/2015 245    13    245       23   402, 403
Greene, Nefertiti    9/2/2015 246    11    248       4    402, 403
Greene, Nefertiti    9/2/2015 248     7    248       12   402, 403
Greene, Nefertiti    9/2/2015 249    10    249       16   402, 403
Greene, Nefertiti    9/2/2015 249    22    251       22   402, 403
Greene, Nefertiti    9/2/2015 252     1    252       6    402, 403
Greene, Nefertiti    9/2/2015 252     9    255       6    402, 403
Greene, Nefertiti    9/2/2015 255     8    255       11   402, 403
Greene, Nefertiti    9/2/2015 255    14    255       14   402, 403
Greene, Nefertiti    9/2/2015 255    15    256       4    402, 403
Greene, Nefertiti    9/2/2015 256     6    256       11   402, 403
Greene, Nefertiti    9/2/2015 256    21    256       23   402, 403
Greene, Nefertiti    9/2/2015 257     5    257       9    402, 403
Greene, Nefertiti    9/3/2015 257    24    258       9    402, 403
Greene, Nefertiti    9/3/2015 260    25    261       7    402, 403
Greene, Nefertiti    9/3/2015 262     5    262       12   402, 403
Greene, Nefertiti    9/2/2015 267    13    269       16   402, 403
Greene, Nefertiti    9/2/2015 271     6    272       2    402, 403
Greene, Nefertiti    9/4/2015 273    15    273       19   402, 403
Greene, Nefertiti    9/5/2015 273    22    273       24   402, 403
Greene, Nefertiti    9/2/2015 274     1    274       13   402, 403
Greene, Nefertiti    9/2/2015 274    17    275       4    402, 403
Greene, Nefertiti    9/2/2015 275     8    275       11   402, 403
Greene, Nefertiti    9/2/2015 275    20    276       4    402, 403
Greene, Nefertiti    9/2/2015 276     6    276       17   402, 403
Greene, Nefertiti    9/2/2015 276    20    276       24   402, 403
Greene, Nefertiti    9/2/2015 278    13    278       16   402, 403
Greene, Nefertiti    9/2/2015 278    19    278       24   402, 403
Greene, Nefertiti    9/2/2015 278    25    279       6    402, 403
Greene, Nefertiti    9/2/2015 279    10    279       20   402, 403
Greene, Nefertiti    9/2/2015 279    24    280       15   402, 403
Greene, Nefertiti    9/2/2015 280    19    281       12   402, 403
Greene, Nefertiti    9/2/2015 281    13    281       22   402, 403
Greene, Nefertiti    9/2/2015 281    25    283       1    402, 403
Greene, Nefertiti    9/2/2015 283     3    283       21   402, 403



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Greene, Nefertiti    9/2/2015 283    25    283       25 402, 403




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Griffin, Scott Robert    5/24/2012    12     5     12        7
Griffin, Scott Robert    5/24/2012    12    17     12       21
Griffin, Scott Robert    5/24/2012    46    16     47        1 402
Griffin, Scott Robert    5/24/2012    62     9     62       17 402, 403
                                                               402, 403, 602
Griffin, Scott Robert    5/24/2012    64    20     65        1
Griffin, Scott Robert    5/24/2012    105   10    105       15 402, 403
Griffin, Scott Robert    5/24/2012    105   23    106        4 402, 403
                                                               602, PK, 701
Griffin, Scott Robert    5/24/2012    227    3    228       15
Griffin, Scott Robert    5/24/2012    229   21    229       23 402, VAG
                                                               VAG, 602,
Griffin, Scott Robert    5/24/2012    230   13    230       14 402
                                                               VAG, 602,       230     17     230   19   602; 104a
Griffin, Scott Robert    5/24/2012    230   16    230       16 402
                                                               INC, VAG,
Griffin, Scott Robert    5/24/2012    230   21    230       22 602, 402
                                                               INC, VAG,       231       2    231    3   602; 104a
Griffin, Scott Robert    5/24/2012    230   24    231        1 602, 402
                                                                               231       5    231    7   602; 104a
                                                               VAG, 602,
Griffin, Scott Robert    5/24/2012    231    8    231       21 402
                                                               VAG, 602,
Griffin, Scott Robert    5/24/2012    231   23    232        1 402, 701
Griffin, Scott Robert    3/16/2016    10     6     10        8
Griffin, Scott Robert    3/16/2016    13     4     13        6
Griffin, Scott Robert    3/16/2016    13    10     13       15
Griffin, Scott Robert    3/16/2016    16    14     16       24
                                                               602, 701, 402
Griffin, Scott Robert    3/16/2016    23    24     24        6
                                                               402, 403, 602
Griffin, Scott Robert    3/16/2016    36    11     36       18
Griffin, Scott Robert    3/16/2016    53    10     53       22 402
                                                               402, 602, PK
Griffin, Scott Robert    3/16/2016    56     6     56       11
Griffin, Scott Robert    3/16/2016    74    22     75        2 402
Griffin, Scott Robert    3/16/2016    75    21     75       22 402
Griffin, Scott Robert    3/16/2016    75    25     76       17 402, INC
Griffin, Scott Robert    3/16/2016    80     1     80       14 402
Griffin, Scott Robert    3/16/2016    90     5     90        9                  90     10      90   22   402; 403
Griffin, Scott Robert    3/16/2016    91     3     91       12




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                                       Designations           Objections         Designations          Objections                                                    Objections
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                                                                               92       8     92   24 402; 403;
                                                                                                      Contrary to
Griffin, Scott Robert    3/16/2016   91    16      92    7                                            Court Order
Griffin, Scott Robert    3/16/2016   103   6      103   15                    102     15     102   24 602                   102          25       103         2
                                                                                                                            103           5       103         5
                                                                              103     16        104    2 402; Contrary
                                                                                                         to Court
                                                                                                         Order
Griffin, Scott Robert    3/16/2016   203   6      203   19   402, 602         203     20        204   12




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                                 Designations            Objections          Designations      Objections                                                   Objections
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Gwinn, Janie       2/3/2016  10    22     10       24   CUM
Gwinn, Janie       2/3/2016  11     6     11        7   CUM
Gwinn, Janie       2/3/2016  16    10     16       12   CUM
Gwinn, Janie       2/3/2016  21    23     23       15   CUM
Gwinn, Janie       2/3/2016  49     3     49       21   CUM
Gwinn, Janie       2/3/2016  55    21     55       23   CUM
Gwinn, Janie       2/3/2016  62    21     63       10   CUM
Gwinn, Janie       2/3/2016  63    15     63       23   CUM
Gwinn, Janie       2/3/2016  67    16     68        6   CUM
Gwinn, Janie       2/3/2016                             CUM, 403,
                             70    11     70       20   602, PK
Gwinn, Janie       2/3/2016                             CUM, 403,
                             70    22     71        2   602, PK
Gwinn, Janie       2/3/2016                             CUM, 402,
                                                        403, NR, 602
                              77     14     78    16
Gwinn, Janie       2/3/2016                             CUM, 602,
                                                        NR, 402, 403
                              87     23     87    25
Gwinn, Janie       2/3/2016                             CUM, 602,
                                                        NR, 402, 403
                              88     3      88    24
Gwinn, Janie       2/3/2016                             CUM, NR,
                              89     23     91    14    402, 403
Gwinn, Janie       2/3/2016                             CUM, NR,
                              91     16     91    24    402, 403
Gwinn, Janie       2/3/2016   148    13     148   24    CUM
Gwinn, Janie       2/3/2016                             CUM, NR,
                                                        PK, 602, 402,
                              151     1     152    8    403
Gwinn, Janie       2/3/2016   160    22     161    2    CUM
Gwinn, Janie       2/3/2016   162     3     162    6    CUM
Gwinn, Janie       2/3/2016   172    17     173    8    CUM
Gwinn, Janie       2/3/2016   176    24     177   12    CUM
Gwinn, Janie       2/3/2016                             CUM, 602,
                                                        PK, 402, 403
                              178    24     179   17
Gwinn, Janie       2/3/2016                             CUM, INC,
                              182     1     183    6    PK, 901
Gwinn, Janie       2/3/2016   190     7     190   10    CUM
Gwinn, Janie       2/3/2016   190    12     190   16    CUM
Gwinn, Janie       2/3/2016   190    18     191    2    CUM




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Transcript Name   Depo Date Page Line Page Line                         Page Line Page Line                    Page Start    Line Start Page End Line End
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Gwinn, Janie       2/3/2016                             CUM, 403,
                             199   10    200       12   NR
Gwinn, Janie       2/3/2016                             CUM, NR,
                             239   20    240       15   402, 403
Gwinn, Janie       2/3/2016                             CUM, NR,
                             240   17    241       13   402, 403
Gwinn, Janie       2/3/2016                             CUM, 402,
                             241   15    242        8   403
Gwinn, Janie       2/3/2016  248   13    249        4   CUM
Gwinn, Janie       2/3/2016                             CUM, 602,
                                                        402, 403, PK
                              250    8      250   11
Gwinn, Janie       2/3/2016                             CUM, 402,
                              253    12     253   18    403
Gwinn, Janie       2/3/2016                             CUM, 602,
                                                        402, 403, PK,
                                                        HYPO,VAG
                              254    2      255   6




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Heimers, Edward   2/15/2008  5       4      5       6    HS
Heimers, Edward   2/15/2008   5     15      5       17   HS
Heimers, Edward   2/15/2008   7     12      7       24   HS
Heimers, Edward   2/15/2008  21     20     22       11   HS                 21     2     21    5
                                                         HS                 21    16     21   19
Heimers, Edward   2/15/2008    22    23     23     2     HS                 23     7     23   14
                                                         HS                 23    24     24    2
Heimers, Edward   2/15/2008                              PK, 602, INC,      28     4     28    6
                               27    20     28      3    HS
Heimers, Edward   2/15/2008    32     3     32      7    HS
Heimers, Edward   2/15/2008    32    17     32     19    HS                 32    25     33    3
Heimers, Edward   2/15/2008    33     4     33      6    HS
Heimers, Edward   2/15/2008    34    16     35     14    HS                 35    25     36    3
                                                         HS                 44    13     44   23
                                                         HS                 45     2     45    9
Heimers, Edward   2/15/2008   36      4    36      17    HS
Heimers, Edward   2/15/2008   37      9    37      11    HS
Heimers, Edward   2/15/2008   37     20    38       3    HS                 38     4     38   18
Heimers, Edward   2/15/2008   42     14    43       3    402, HS
Heimers, Edward   2/15/2008   43      6    43       6    402, HS
Heimers, Edward   2/15/2008   43      8    43      10    HS
Heimers, Edward   2/15/2008   46     11    46      21    INC, HS            46    22     47   13
Heimers, Edward   2/15/2008   47     14    47      16    HS                 47    23     48    2
Heimers, Edward   2/15/2008   48      3    48      25    HS                 49    11     49   15
Heimers, Edward   2/15/2008   49      7    49      10    602, HS
Heimers, Edward   2/15/2008   50      9    51      24    HS
Heimers, Edward   2/15/2008   52      8    53       6    HS                 53     7     53   16
Heimers, Edward   2/15/2008   56      2    56      16    HS
Heimers, Edward   2/15/2008   56     21    57      20    HS, PK, 602
Heimers, Edward   2/15/2008   61     23    62       7    HS, 602
Heimers, Edward   2/15/2008   62     17    62      19    HS
Heimers, Edward   2/15/2008   62     25    63       3    HS
Heimers, Edward   2/15/2008   64      2    64      19    HS
Heimers, Edward   2/15/2008   65     10    65      11    HS
Heimers, Edward   2/15/2008   68      8    68      13    HS                 68    14     68   16
Heimers, Edward   2/15/2008   69      3    72       9    PK, 602, HS        73    15     74   21                 74        22        75       10      602, 701
Heimers, Edward   2/15/2008   76     23    78      23    602, HS            75    23     76    6                 76         7        76       16      HS
Heimers, Edward   2/15/2008   79     18    81      22    HS
Heimers, Edward   2/15/2008   103    20    105     23    602, HS
Heimers, Edward   2/15/2008   111    17    112     25    602, HS
Heimers, Edward   2/15/2008   130     4    130     15    602, HS



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Heimers, Edward   2/15/2008                            PK, 602, 701,   107       3    107   12      602
                                                       402, HS
                             227     4    227        6
Heimers, Edward   2/15/2008                            PK, 602, 701,   156       7    156   20
                                                       402, HS
                             227    12    228       16
Heimers, Edward   2/15/2008                            PK, 602, 701,   260       6    261   15
                                                       402, HS
                             259    22    260        5
Heimers, Edward   3/21/2016   8      8      8       10
Heimers, Edward   3/21/2016   8     16      8       18
Heimers, Edward   3/21/2016  14     16     14       18                  16     15      16   25
                                                                        19       2     19   15                   19         16        19        23
                                                                        19     24      20    6
Heimers, Edward   3/21/2016  14     25     15        6
Heimers, Edward   3/21/2016  20      7     20       13
Heimers, Edward   3/21/2016  21     10     22        5
Heimers, Edward   3/21/2016  22     10     23        5
Heimers, Edward   3/21/2016  23     13     23       14
Heimers, Edward   3/21/2016  23     17     23       20
Heimers, Edward   3/21/2016  23     22     24       23
Heimers, Edward   3/21/2016  25      1     25       12
Heimers, Edward   3/21/2016  27     13     27       16
Heimers, Edward   3/21/2016                            PK, 602, 701
                             27     23     28        4
Heimers, Edward   3/21/2016                            PK, 602, 701
                             28      6     29        7
Heimers, Edward   3/21/2016  29      8     31       16 PK, 602
Heimers, Edward   3/21/2016  31     19     33       25
Heimers, Edward   3/21/2016  34      3     34       18
Heimers, Edward   3/21/2016  34     20     35        9
Heimers, Edward   3/21/2016  40     13     41        1                 104       2    105    6
                                                                       106       1    106    7 Vague and
                                                                                                ambiguous
                                                                                               (106:5-106:7)

                                                                       106     9     106    14   Vague and
                                                                                                 ambiguous
                                                                       195    12     196    17
                                                                       226     8     226    24




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                                                                       338     18     339   6 Compound
                                                                                                (339:3-
                                                                                                339:6);
                                                                                               Vague and
                                                                                               ambiguous
                                                                                             (339:3-339:6)

                                                                       339     8     339   12 Compound,
                                                                                               Vague and
                                                                                               ambiguous
                                                                       350     3     350    9
                                                                       350    18     351   24
                                                                       352    19     352   22
Heimers, Edward   3/21/2016   45    4     45     16                     43     5      45    3
                                                                        45    23      47    7 Misstates
                                                                                                   prior
                                                                                                testimony
                                                                                               (47:5-47:7)
                                                                        47     9      47   18 Vague and
                                                                                               ambiguous
                                                                                              (47:20-47:20)

                                                                        47    20      48   13    Vague and
                                                                                                 ambiguous
                                                                                                (48:11-48:13)

                                                                        48    15      48   17    Vague and
                                                                                                 ambiguous
Heimers, Edward   3/21/2016   53   14     54     4                      54     5      54   21
                                                                        59    21      59   22    Vague and
                                                                                                 ambiguous
                                                                        59    24      60   12    Vague and
                                                                                                 ambiguous
                                                                        61     4      61    5    Vague and
                                                                                                 ambiguous
                                                                        61     7      61   18    Vague and
                                                                                                 ambiguous
                                                                        61    20      62    1    Vague and
                                                                                                 ambiguous
Heimers, Edward   3/21/2016                           PK, 602, 701      36    13      36   25                   37        1        37         4      VAG, 602, 701
                              76   15     77     2




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                                                                                                              37         7         38        3      VAG, 602, 701

Heimers, Edward   3/21/2016   86    16     88     6    701, 602
Heimers, Edward   3/21/2016                            PK, 602, 701
                              97    19     99     9
Heimers, Edward   3/21/2016   149    1     149    9
Heimers, Edward   3/21/2016                            602, PK           322     7     322   24 602 (322:16-
                              153   23     156    20                                              322:24)
Heimers, Edward   3/21/2016   156   22     158     7   602, PK
Heimers, Edward   3/21/2016   180    7     180    21   PK, 602
Heimers, Edward   3/21/2016                                              165    24     166   10   Asked and
                                                                                                  answered;
                              187    4     187    11                                                 602
                                                                         168    15     168   25   Vague and
                                                                                                  ambiguous
Heimers, Edward   3/21/2016                            PK, 602, 701      213    21     214   23                 215        10     215       13      602, PK
                              204   18     205     9
Heimers, Edward   3/21/2016   227   21     227    23                                                            215        15     216       13      602, PK
Heimers, Edward   3/21/2016                            701, PK, 602
                              227   25     228    13
Heimers, Edward   3/21/2016                            701, PK, 602
                              228   15     228    15
Heimers, Edward   3/21/2016                            701, PK, 602
                              228   17     228    23
Heimers, Edward   3/21/2016   229   21     230     3             602     230     4     230    6
Heimers, Edward   3/21/2016   244   12     244    24
Heimers, Edward   3/21/2016   256   17     257     5
Heimers, Edward   3/21/2016   261    3     261    16
Heimers, Edward   3/21/2016   276   25     277    11
Heimers, Edward   3/21/2016   302   23     303    11   PK, 602,BS
Heimers, Edward   3/21/2016   303   13     303    15   PK, 602, BS
Heimers, Edward   3/21/2016                            PK, 602, 701,
                              307    1     307    3    BS, L
Heimers, Edward   3/21/2016                            PK, 602,
                              307    5     308    4    VAG, 701, L
Heimers, Edward   3/21/2016                            PK, 602,
                              308    6     308    9    VAG, 701, L
Heimers, Edward   3/21/2016                            PK, 602,
                              308   11     308    23   VAG, 701, L
Heimers, Edward   3/21/2016   308   25     309     5   602, 701, L
Heimers, Edward   3/21/2016   309    7     309    13   602, 701, L




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Heimers, Edward   3/21/2016                             602, 701, L,
                             310   24    312        4   BS, PK
Heimers, Edward   3/21/2016                             602, L, 701,
                             314    8    314       12   BS
Heimers, Edward   3/21/2016                             602, L, 701,
                             314   14    315        4   BS
Heimers, Edward   3/21/2016                             HS, PK, 602,     341     4     341    5 Vague and
                                                        L, 701, BS                              ambiguous;
                              316    22    317    2                                                602
                                                                         341     7     341   14 Vague and
                                                                                                ambiguous;
                                                                                                   602
Heimers, Edward   3/21/2016                             HS, PK, 602,
                                                        L, 701, BS,
                              317    6     317    21    VAG
Heimers, Edward   3/21/2016                             HS, PK, 602,
                                                        L, 701, BS,
                              317    23    317    25    VAG
Heimers, Edward   3/21/2016                             PK, 602, L,
                                                        701, BS,
                              318    8     318    12    VAG
Heimers, Edward   3/21/2016                             PK, 602, L,
                                                        701, BS,
                              318    17    318    24    VAG
Heimers, Edward   3/21/2016   319    10    319    17
Heimers, Edward   3/21/2016                             L, 602, 701,
                              319    24    320    6     BS
Heimers, Edward   3/21/2016                             L, 602, 701,
                              320    9     320    22    BS, VAG
Heimers, Edward   3/21/2016                             L, 602, 701,
                              320    24    321    11    BS, VAG
Heimers, Edward   3/21/2016                             L, 602, 701,     286     3     286   25 602 (286:10-    285        17     286        2
                              321    14    321    16    BS, VAG                                   286:25)
Heimers, Edward   3/21/2016                             L, 701, VAG,
                              322    25    323    3     CLC
Heimers, Edward   3/21/2016                             L, 701, VAG,
                              323     5    323    24    CLC
Heimers, Edward   3/21/2016   324     1    324    21    L, 701, 602
Heimers, Edward   3/21/2016   324    23    325     6    L, 701, 602
Heimers, Edward   3/21/2016   325     8    325    10    L, 701, 602
Heimers, Edward   3/21/2016                             INC, VAG,
                              325    20    326    6     BS, PK, 602


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Hynd, James        3/5/2008   6      2      6       4 HS
Hynd, James        3/5/2008  21     24     22       5 HS, 402,
Hynd, James        3/5/2008  67     22     68       4 HS, AF            66    20    66     25
                                                                        67    10    67     19
                                                                        68     5    68     13   104a; 402; 602
Hynd, James        3/5/2008    74    15     75     6   HS, 402,AF,      75    17    75     20
                                                       CL, 403, 701
Hynd, James        3/5/2008    90    15     90    21   HS, 402, 403

Hynd, James        3/5/2008   112    16    112    22   HS
Hynd, James        3/5/2008   115    12    115    17   HS
Hynd, James        3/5/2008   116     1    117    1    HS, AF, 402,
                                                       403, 701, 602

Hynd, James        3/5/2008   117    24    120     1   HS, AF, 402,    120    2     120    15
                                                       403, 701, 602

Hynd, James        3/5/2008   126     8    126    16   HS,
Hynd, James        3/5/2008   127    24    128    14   HS, 402, 403

Hynd, James        3/5/2008   131     5    133    14   HS, 402, 403

Hynd, James        3/5/2008   177    18    178     2   HS, 402, 403,
                                                       701, 602

Hynd, James        3/5/2008   186    14    187    16   HS
Hynd, James        3/5/2008   191     2    191    16   HS, 402, 403

Hynd, James        3/5/2008   194    19    195     4   HS
Hynd, James        3/5/2008   195    21    196     9   HS, 402, 403

Hynd, James        3/5/2008   196    17    197     4   HS, 402, 403

Hynd, James        3/5/2008   199    11    199    25   HS, AF, 701,
                                                       602
Hynd, James        3/5/2008   231    10    232    20   HS, 601, AF
Hynd, James        3/5/2008   233    17    237    15   HS, 601, AF 237       16    238    20                                  239           16       240        1       HS, 403, 403, 602
                                                                     240     18    241    1
Hynd, James        3/5/2008   243    11    243    22   HS, 402, 403,

Hynd, James        3/5/2008   260     3    260    15   HS, AF, 601     260    16    260    19
                                                                       244     3    250     4                                 250           5        252        2       HS, AF, 402, 403, 602
Hynd, James        4/6/2016    13     2     13    3
Hynd, James        4/6/2016    21    17     22    3
Hynd, James        4/6/2016    22    17     23    3
Hynd, James        4/6/2016    23     4     23    21
Hynd, James        4/6/2016    25    16     26    16
Hynd, James        4/6/2016    27     2     27    6
Hynd, James        4/6/2016    82    23     83    2    AF, 602



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Hynd, James        4/6/2016  84    12     84       17
Hynd, James        4/6/2016  84    23     85       5
Hynd, James        4/6/2016  117    5    117       10
Hynd, James        4/6/2016  117   14    117       16
Hynd, James        4/6/2016  130    6    131       1 402, 403
Hynd, James        4/6/2016  132   21    132       24 402, 403,
                                                      601, HYPO
Hynd, James        4/6/2016  133    1    133       5 402, 403,
                                                      601, HYPO
Hynd, James        4/6/2016  133   19    134       21 HS, 402, 403,
                                                      601
Hynd, James        4/6/2016  162    2    162       17 NR, 402,      168       15     168   21   402; Counsel reading
                                                      403, 601, AF                              document
Hynd, James        4/6/2016  162   21    163       8 NR, 402,       168       15     168   21   402; Counsel reading
                                                      403, 601, AF                              document
Hynd, James        4/6/2016  163   10    164       1 NR, 402,       168       15     168   21   402; Counsel reading
                                                      403, 601, AF                              document
Hynd, James        4/6/2016  175   24    176       19
Hynd, James        4/6/2016  177   23    178       2
Hynd, James        4/6/2016  178    8    178       10 402, 403
Hynd, James        4/6/2016  178   15    178       22 402, 403
Hynd, James        4/6/2016  186   22    187       6 402, 403, NR

Hynd, James        4/6/2016   188     8    188    24   NR,402, 403,
                                                       601, AF
Hynd, James        4/6/2016   190     2    190    5    NR, 402,
                                                       403, 601, AF
Hynd, James        4/6/2016   190     9    190    14   NR, 402,
                                                       403, 601, AF
Hynd, James        4/6/2016   190    17    191    12   NR, 402,
                                                       403, 601, AF
Hynd, James        4/6/2016   194     4    194    14   PK, 601, AF
Hynd, James        4/6/2016   211     7    211    16
Hynd, James        4/7/2016   330    21    330    22
Hynd, James        4/7/2016   330    25    331    1
Hynd, James        4/7/2016   331     5    332    3
Hynd, James        4/7/2016   332     6    333    19   L, 402, BS
Hynd, James        4/7/2016   333    23    335    10   402, BS, 701,
                                                       602
Hynd, James        4/7/2016   335    12    336    3    402, L, 701, 480     21   483    10
                                                       602, BS
                                                                     483    15   487    10
                                                                     488    6    488    16                                      488          18       489       10       NR, 402, 403, PK, 602
                                                                     489    11   489    16
                                                                     489    17   492    1       Counsel's instruction, not      492          21       493         2      402, 403,AF
                                                                                                evidence (491:22-492:1)
                                                                      493   7    495    3
                                                                      495   10   498    1
Hynd, James        4/7/2016   336     5    336    10   L, 402, BS



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Hynd, James        4/7/2016  336   12    336       13
Hynd, James        4/7/2016  336   19    336       19 BS, 402
Hynd, James        4/7/2016  336   21    338       3 L, AF, 602,
                                                      701, 402, BS,
                                                      403
Hynd, James        4/7/2016  338    6    338       19 402, 403, BS

Hynd, James        4/7/2016   339   16    346    18   402, 403, L,
                                                      602, 701, AF,
                                                      BS
Hynd, James        4/7/2016   346   22    346    25
Hynd, James        4/7/2016   347    6    350    8    L, 402, 403,
                                                      602, AF, BS
Hynd, James        4/7/2016   350   23    351    16   L, BS, 403,
                                                      402, 602,
                                                      Spec
Hynd, James        4/7/2016   351   22    355    12   L, BS, 403,
                                                      402, 602,
                                                      Spec
Hynd, James        4/7/2016   355   15    356    1    L, BS, 403,
                                                      402, 602,
                                                      Spec
Hynd, James        4/7/2016   356    3    356    16   L, BS, 403,
                                                      402, 602,
                                                      Spec
Hynd, James        4/7/2016   356   24    360    5    L, BS, 403,
                                                      402, 602,
                                                      Spec, HS
Hynd, James        4/7/2016   360    9    361    1    L, BS, 403,
                                                      402, 602,
                                                      Spec, HS
Hynd, James        4/7/2016   361    3    361    8    L, BS, 403,
                                                      602, 402, AF
Hynd, James        4/7/2016   361   13    362    21   L, BS, 402,
                                                      403
Hynd, James        4/7/2016   363    5    366    1    L, BS,
                                                      402,403,602
Hynd, James        4/7/2016   366    4    366    5    L, BS, 402,
                                                      403, 602
Hynd, James        4/7/2016   366    7    366    20   L, BS, 402,
                                                      403, 602
Hynd, James        4/7/2016   366   22    368    4    L, BS, 403,
                                                      602,
Hynd, James        4/7/2016   369   11    370    8    L, BS, 402,
                                                      403, 602
Hynd, James        4/7/2016   370   11    372    21   L, BS, 402,
                                                      403, 602
Hynd, James        4/7/2016   374   19    375    9    L, BS, 402,
                                                      403



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Hynd, James        4/7/2016  375   11    376       7 L, BS, 402,
                                                      403, SPEC,
                                                      602
Hynd, James        4/7/2016  376    9    376       13 L, BS, 402,
                                                      403, SPEC,
                                                      602
Hynd, James        4/7/2016  376   15    376       21 L, BS, 402,
                                                      403, 602,
                                                      SPEC
Hynd, James        4/7/2016  376   24    377       3
Hynd, James        4/7/2016  377    5    379       19 L, BS, 402,
                                                      403, 602,
                                                      SPEC
Hynd, James        4/7/2016  380    9    385       1 L, BS, 602,
                                                      AF, SPEC
Hynd, James        4/7/2016  385    4    386       17 L, BS, 602,
                                                      AF, SPEC
Hynd, James        4/7/2016  386   22    387       9
Hynd, James        4/7/2016  387   18    390       4 L, BS,HS,
                                                      602, SPEC,
                                                      AF
Hynd, James        4/7/2016  390    6    390       11 L, BS, 602,
                                                      AF, SPEC
Hynd, James        4/7/2016  390   13    390       24 L, BS, 602,
                                                      AF
Hynd, James        4/7/2016  391    2    391       3 L, BS, 602,
                                                      AF, SPEC,
                                                      701
Hynd, James        4/7/2016  391    5    391       13 L, BS, 602,
                                                      AF
Hynd, James        4/7/2016  391   15    391       17 L, BS, 602,
                                                      AF
Hynd, James        4/7/2016  391   19    392       2 L, BS, 602,
                                                      AF
Hynd, James        4/7/2016  392   20    394       22 L, BS, 602
Hynd, James        4/7/2016  395    5    395       15 L, 602
Hynd, James        4/7/2016  395   17    395       17 L, 602
Hynd, James        4/7/2016  395   19    396       21 L, 602
Hynd, James        4/7/2016  397    8    398       11 L, 402, 403, ,
                                                      BS
Hynd, James        4/7/2016  398   15    399       1 L, 402, 403,
                                                      602, SPEC,
                                                      BS
Hynd, James        4/7/2016  399    9    399       11 L, BS
Hynd, James        4/7/2016  399   18    400       4 L, BS, SPEC,
                                                      AF, 602




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Hynd, James        4/7/2016  400    9    400       12 L, BS, SPEC,
                                                      AF, 602

Hynd, James        4/7/2016   400   14    401    2    L, BS, SPEC,
                                                      AF, 602, 701

Hynd, James        4/7/2016   401    4    401    6    L, BS, SPEC,
                                                      AF, 602, 701

Hynd, James        4/7/2016   401    8    401    9    L, BS, SPEC,
                                                      AF, 602, 701

Hynd, James        4/7/2016   401   11    402    3    L, BS, SPEC,
                                                      AF, 602, 701,
                                                      HYPO

Hynd, James        4/7/2016   402    6    402    16   L, BS, SPEC,
                                                      AF, 602, 701,
                                                      HYPO

Hynd, James        4/7/2016   402   18    402    25   L, BS, SPEC,
                                                      AF, 602, 701,
                                                      HYPO

Hynd, James        4/7/2016   403    3    403    17   L, BS, SPEC,
                                                      AF, 602, 701,
                                                      HYPO

Hynd, James        4/7/2016   403   21    403    23   L, BS, SPEC,
                                                      AF, 602, 701,
                                                      HYPO

Hynd, James        4/7/2016   405   11    405    12   L, BS, SPEC,
                                                      AF, 602,
                                                      HYPO
Hynd, James        4/7/2016   405   14    405    21   L, BS, SPEC,    405   23   406     1
                                                      AF, 602,
                                                      HYPO
                                                                      406   3    406     8
Hynd, James        4/7/2016   406   12    407    12   L, BS, SPEC,
                                                      AF, 602,
                                                      HYPO
Hynd, James        4/7/2016   407   14    408    15   L, BS, SPEC,
                                                      AF, 602,
                                                      HYPO, 402,
                                                      403




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Hynd, James        4/7/2016  408   20    411       24 L, BS, SPEC,
                                                      AF, 602,
                                                      HYPO, 402,
                                                      403, HS

Hynd, James        4/7/2016   412    3    412    21   L, BS, SPEC,
                                                      AF, 602,
                                                      HYPO, 402,
                                                      403
Hynd, James        4/7/2016   414    2    414    5    L, 602
Hynd, James        4/7/2016   414    8    415    8    L, HS,
Hynd, James        4/7/2016   415   15    416    7    L, CLC
Hynd, James        4/7/2016   416   10    417    18   L, 402, 403,
                                                      BS
Hynd, James        4/7/2016   417   20    418    4    L, BS, 402,
                                                      403
Hynd, James        4/7/2016   418    6    418    11   L, 402, 403
Hynd, James        4/7/2016   418   13    419    7    L, 402, 403,
                                                      AF, SPEC,
                                                      602
Hynd, James        4/7/2016   419    9    419    20   L, 402, 403,
                                                      SPEC, HYPO

Hynd, James        4/7/2016   419   22    419    23   L, 402, 403,
                                                      SPEC, HYPO

Hynd, James        4/7/2016   420    3    420    5    L, BS, AF
Hynd, James        4/7/2016   420    8    420    22   L, BS, AF
Hynd, James        4/7/2016   420   24    420    25   L, BS, 402,
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Hynd, James        4/7/2016   421    2    421    12   L, BS, 402,
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Hynd, James        4/7/2016   421   14    421    16   L, BS, 402,
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Hynd, James        4/7/2016   421   18    421    18   L, BS, 402,
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Hynd, James        4/7/2016   421   22    422    4    L, BS< 402,
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Hynd, James        4/7/2016   422   24    425    2    HS,402, 403
Hynd, James        4/7/2016   425    4    425    25   HS, 402, 403

Hynd, James        4/7/2016   426   18    427    4    L, 402, 403
Hynd, James        4/7/2016   427   11    428    10   L, 402, 403,
                                                      HS
Hynd, James        4/7/2016   428   25    433    4    L, CLC, 402,
                                                      403, BS, AF,
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                                                      SPEC
Hynd, James        4/7/2016  433   12    435       5 L, SPEC,
                                                      402, 403, BS,
                                                      AF
Hynd, James        4/7/2016  435    7    435       10 L, SPEC,
                                                      402, 403, BS,
                                                      AF
Hynd, James        4/7/2016  435   12    437       9 L, AF, 602,
                                                      701, 402, BS,
                                                      403
Hynd, James        4/7/2016  437   21    439       22 L, SPEC,
                                                      402, 403, BS,
                                                      AF, CLC

Hynd, James        4/7/2016   439   25    440    5
Hynd, James        4/7/2016   440   12    440    24
Hynd, James        4/7/2016   441    7    446    2    L, HS,          498    5    501       7 402 (500:12-501:7)
                                                      602,AF
Hynd, James        4/7/2016   446   10    447    16   L, PRIV, 402,
                                                      403, BS

Hynd, James        4/7/2016   447   23    448    2    L, PRIV, 402,
                                                      403, BS

Hynd, James        4/7/2016   448    4    448    4    L, 402, 403,
                                                      BS
Hynd, James        4/7/2016   451    8    452    11   L, 402, 403,    511   18    513      21 Questions improperly call for
                                                      BS                                      privileged information
Hynd, James        4/7/2016   452   13    452    17
Hynd, James        4/7/2016   452   25    456    1    L, 602, HS,     509   10    511      17 402, 403
                                                      402, 403, BS

Hynd, James        4/7/2016   456    3    456    6    L, BS, 402,
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Hynd, James        4/7/2016   456   10    456    16   L, BS, 402,
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Hynd, James        4/7/2016   458    9    459    3
Hynd, James        4/7/2016   462   15    462    20   L, BS, HYPO,
                                                      SPEC, 402,
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Hynd, James        4/7/2016   462   23    462    24   L, BS, HYPO,
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Hynd, James        4/7/2016   464   20    467    5   L, BS, PRIV,
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Hynd, James        4/7/2016   467   24    468    8   L, BS, 402,
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Hynd, James        4/7/2016   468   10    468   12   L, BS, 402,
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Hynd, James        4/7/2016   468   18    471   20   L, BS, 402,
                                                     403, 601, HS

Hynd, James        4/7/2016   472    1    473    1   L, BS< HS,
                                                     602
Hynd, James        4/7/2016   473    9    473   10
Hynd, James        4/7/2016   473   14    474   3    L, BS, 402,
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Hynd, James        4/7/2016   475    4    478    8   L, BS,402,
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                                                     AF
Hynd, James        4/7/2016   517   16    517   25   L, BS, 402,
                                                     403, AF
Hynd, James        4/7/2016   518   24    520    1   L, BS, CLC
Hynd, James        4/7/2016   520    9    521    9   L, SPEC, 602

Hynd, James        4/7/2016   521   11    521   11   L, BS, 402,
                                                     403, 602
                                                     SPEC
Hynd, James        4/7/2016   521   13    522   23   L, BS, 402,
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Jaeger, Frank      5/6/2016  32     7     32       10
Jaeger, Frank      5/6/2016  33    14     33       25
Jaeger, Frank      5/6/2016  73    12     73       15 402, 403               72      11       73          3    Vague and ambiguous (73:1-3);
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                                                                                                               ambiguous
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                                                       CUM; 602; 701
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                                                                           208       16      210          7    402; 403
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Jaeger, Frank      5/6/2016   344    18     345    8    CLC, O, VAG, AF;
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Jaeger, Frank      5/6/2016   345    15     345    19   402; 403; IRR;
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Jaeger, Frank      5/6/2016   346    25    347     4   CP, CLC, O, VAG,
                                                       AF; 402; 403; IRR;
                                                       CUM
Jaeger, Frank      5/6/2016   347     7    347    7
Jaeger, Frank      5/6/2016   347     9    347    16   CP, CLC, O, VAG,
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                                                       CUM, INC (347:16)
Jaeger, Frank      5/6/2016   347    24    347    25
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                                                       CUM; AF (348:20)
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Jaeger, Frank      5/6/2016   350     5    350    19   402; 403; IRR;       266        5      266          17   104a (266:16-17)
                                                       CUM
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                                                                            282       20      282          20
                                                                            282       22      282          24   Vague and ambiguous
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                                                                         369       16      370          2    Vague and ambiguous; 402; 403;
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Jaeger, Frank      5/6/2016   360   9   360    11    403, CUM, 602, PK   298        7      298          17   104a; 402; 403

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                                                                         299        7      300          5    Vague and ambiguous (300:3-4)

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                                                     (360:22-24)
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                                                                                                            ambiguous
                                                                         299       7       300         5    Vague and ambiguous (300:3-4)

                                                                         301      13       301         15   104a; 402; 403
                                                                         301      19       302         4    104a; 402; 403
                                                                         302       6       303         17   104a; 402; 403
                                                                         303      20       303         22   104a; 402; 403; mischaracterizes
                                                                                                            document
                                                                         304       2       304         8    104a; 402; 403
                                                                         306      15       306         22
                                                                         362       4       363         3    362:4-13 (402; 403)
                                                                         363      13       363         22
                                                                         364       5       364         8
                                                                         364      13       364         25   402; 403
                                                                         365       4       365         9    402; 403; Vague and ambiguous
                                                                                                            (365:6-9); mischaracterizes
                                                                                                            document (365:6-9)

                                                                         365      14       366         3    402; 403
                                                                         366       8       366         10   402; 403
                                                                         366      13       366         14   402; 403



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                                                                       366       18      366          22   Vague and ambiguous; 402; 403

                                                                        367       2       367         18   402; 403
                                                                        369       6       369         12   Vague and ambiguous; 402; 403;
                                                                                                           104a, incomplete hypothetical

                                                                        369      16       370         2    Vague and ambiguous; 402; 403;
                                                                                                           104a, incomplete hypothetical

                                                                        370      18       370         22   Vague and ambiguous; 103;
                                                                                                           104a; 402; 403; 602
                                                                        371       2       371         2
Jaeger, Frank      5/6/2016   361   2   361    2                        298       7       298         17   104a; 402; 403
                                                                        298      21       299         3    104a; 402; 403; Vague and
                                                                                                           ambiguous
                                                                        299       7       300         5    Vague and ambiguous (300:3-4)

                                                                        301      13       301         15   104a; 402; 403
                                                                        301      19       302         4    104a; 402; 403
                                                                        302       6       303         17   104a; 402; 403
                                                                        303      20       303         22   104a; 402; 403; mischaracterizes
                                                                                                           document
                                                                        304       2       304         8    104a; 402; 403
                                                                        306      15       306         22
                                                                        362       4       363         3    362:4-13 (402; 403)
                                                                        363      13       363         22
                                                                        364       5       364         8
                                                                        364      13       364         25   402; 403
                                                                        365       4       365         9    402; 403; Vague and ambiguous
                                                                                                           (365:6-9); mischaracterizes
                                                                                                           document (365:6-9)

                                                                        365      14       366         3    402; 403
                                                                        366       8       366         10   402; 403
                                                                        366      13       366         14   402; 403
                                                                        366      18       366         22   Vague and ambiguous; 402; 403

                                                                        367       2       367         18   402; 403
                                                                        369       6       369         12   Vague and ambiguous; 402; 403;
                                                                                                           104a, incomplete hypothetical

                                                                        369      16       370         2    Vague and ambiguous; 402; 403;
                                                                                                           104a, incomplete hypothetical

                                                                        370      18       370         22   Vague and ambiguous; 103;
                                                                                                           104a; 402; 403; 602
                                                                        371       2       371         2




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James, Laura L.   4/19/2016   9     17     10    5
James, Laura L.   4/19/2016   14    7      14    15      CUM
James, Laura L.   4/19/2016   15    12     15    14
James, Laura L.   4/19/2016   15    16     15    18
James, Laura L.   4/19/2016   15    20     15    20
James, Laura L.   4/19/2016   15    22     15    23
James, Laura L.   4/19/2016   16    3      16    5       402
James, Laura L.   4/19/2016   16    7      16    11      402
James, Laura L.   4/19/2016   25    21     25    22      402
James, Laura L.   4/19/2016   26    2      26    7       402
James, Laura L.   4/19/2016   52    11     52    18                  42    4     43     6
                                                                     47    19     48     6
                                                                    231     8    232    12 402; 802
James, Laura L.   4/19/2016   75    24     76    2
James, Laura L.   4/19/2016   76    8      76    9
James, Laura L.   4/19/2016   76    11     76    14
                                                      402 (76:23-
James, Laura L.   4/19/2016   76    17     77    3       77:3)
                                                       602, 701      82    25     83    3  Vague and
James, Laura L.   4/19/2016   83    19     83    25                                        ambiguous
                                                                     83     6     83    17 602; 701;
                                                                                           Vague and
                                                                                           ambiguous
James, Laura L.   4/19/2016   87    7      87    11      402
James, Laura L.   4/19/2016   173   20     173   22
                                                      CLC, VAG,
James, Laura L.   4/19/2016   174   2      174   7       701
                                                      CLC, VAG,
James, Laura L.   4/19/2016   174   9      174   11      701




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Janco, Jay        10/22/2015    10    12     10       14
Janco, Jay        10/22/2015    10    23     10       24
Janco, Jay        10/22/2015    15    24     16        7
Janco, Jay        10/22/2015    48     3     48       12   INC             47      23     48        2
Janco, Jay        10/22/2015   215    12    216       10
Janco, Jay        10/22/2015   305    16    305       19   INC            305      20    306        6
Janco, Jay        10/22/2015   306     7    306       11
Janco, Jay        10/22/2015   311    14    311       17   403, CLC, L
Janco, Jay        10/22/2015   311    19    312        1   403, CLC, L
Janco, Jay        10/22/2015   312     3    312        6   403, L, CLC
Janco, Jay        10/22/2015   312     8    312       18   403, L, CLC
Janco, Jay        10/22/2015   312    20    313        2   L, AA, 602
Janco, Jay        10/22/2015   313     4    313        4   L, AA, 602
Janco, Jay        10/22/2015   313     6    314        5   L, AA, 602
Janco, Jay        10/22/2015   315    13    315       14
Janco, Jay        10/22/2015   316     3    316        4   Narr
Janco, Jay        10/22/2015   316    10    317        5   object to
                                                           316:25-317:5
                                                           L, MIS, O,
                                                           602, LA, 701
Janco, Jay        10/22/2015   317     7      317    7     L, MIS, O,
                                                           602, LA, 701
Janco, Jay        10/22/2015   317      9     317   19     701, N, MIS
Janco, Jay        10/22/2015   317     24     318   19
Janco, Jay        10/22/2015   318     21     319   22     602, 701
Janco, Jay        10/22/2015   320      5     320   17     L as to
                                                           320:16-17
Janco, Jay        10/22/2015   320     19     321    1     L, vague
Janco, Jay        10/22/2015   322      1     322   12
Janco, Jay        10/22/2015   322     20     322   23
Janco, Jay        10/22/2015   323      1     323   17
Janco, Jay        10/22/2015   323     21     325    1
Janco, Jay        10/22/2015   325      3     325    3     L,602 as to
                                                           question at
                                                           325:5-6
Janco, Jay        10/22/2015   325      5     325    6     L,602
Janco, Jay        10/22/2015   325      8     326   14     602,             326     15        329       1
Janco, Jay        10/22/2015   329      2     329    6     L, 602, INC      329      7        329       9
Janco, Jay        10/22/2015   329     10     329   14     L, 602, AF
Janco, Jay        10/22/2015   330     10     330   13     L
Janco, Jay        10/22/2015   330     15     330   22     L, AF, 701
Janco, Jay        10/22/2015   330     24     331    2     L, 602, AF
Janco, Jay        10/22/2015   331      4     331   20     L, 602



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Janco, Jay        10/22/2015   331    22    331       24   L, MIS, CLC      357       6    358   4                  358          7        359         2                602
Janco, Jay        10/22/2015   335     8    335       11   L, MIS, AA
Janco, Jay        10/22/2015   335    16    335       16   L, MIS, AA
Janco, Jay        10/22/2015   335    19    336       10   L, MIS, AA
Janco, Jay        10/22/2015   341     5    341       18   L as to
                                                           341:16-18
Janco, Jay        10/22/2015   341     20    341    22     602,701
Janco, Jay        10/22/2015   341     24    342     8     602, 701
Janco, Jay        10/22/2015   343      8    343    14     AA, L, 602
Janco, Jay        10/22/2015   343     17    343    18     602,403
Janco, Jay        10/22/2015   356     12    356    15
Janco, Jay        10/22/2015   356     17    356    17




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Johnson, Scott    12/8/2011    6    9      6     17
Johnson, Scott    12/8/2011    16   6      16    23
Johnson, Scott    12/8/2011    17   15     17    19
Johnson, Scott    12/8/2011    90   12     91    4        402
Johnson, Scott    12/8/2011    92   12     92    16     402, INC
Johnson, Scott    12/8/2011    92   24     93    13     402, INC
Johnson, Scott    12/8/2011    94   1      94    7        402
Johnson, Scott    12/8/2011    94   13     95    1        402
Johnson, Scott    12/8/2011    95   4      95    14       402
Johnson, Scott    12/8/2011    95   17     96    14       402
Johnson, Scott    12/8/2011    98   3      99    3        402
Johnson, Scott    12/8/2011   138   23    139    8      402, 403
Johnson, Scott    12/8/2011   164   2     165    7        602
Johnson, Scott    12/8/2011   178   14    179    23     402, 403




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Kay, Murray       3/12/2008   5     21      5       23
Kay, Murray       3/12/2008  39     24     41       12       H
Kay, Murray       3/12/2008 42      10     43       11       H
Kay, Murray       3/12/2008 44      22     45        1       H
Kay, Murray       3/12/2008 45       5     46       20       H
Kay, Murray       3/12/2008    48    20     49    25         H
Kay, Murray       3/12/2008   50      1    50     20         H          51      20       53    12                53           13        54         6      H
Kay, Murray       3/12/2008   64     25    66      4         H          66       5       66    11
Kay, Murray       3/12/2008   66     12    68      6         H
Kay, Murray       3/12/2008   119    25    120    14         H
Kay, Murray       3/12/2008   142     8    142    21         H
Kay, Murray       3/12/2008   155     5    155     5        QNA
Kay, Murray       3/12/2008   155    11    155    11        QNA
Kay, Murray       3/12/2008   162    11    164    10         H
Kay, Murray       6/27/2008   244     3    244     5
Kay, Murray       6/27/2008   250     2    252     4     H, MIL, UT
Kay, Murray       6/27/2008   290    17    291    22         H
Kay, Murray       6/27/2008   299    11    301     3         H
Kay, Murray       6/27/2008   303    12    305     9         H         305      10       306   16
                                                                       306      24       307    4
Kay, Murray       6/27/2008   307    12    308     8         H
Kay, Murray       6/27/2008   318    17    319    10         H
Kay, Murray       6/27/2008   321     5    322     5         H
Kay, Murray       6/27/2008   325     8    326     3         H
Kay, Murray       6/27/2008   360    15    360    17        QNA
Kay, Murray       6/27/2008   360    19    360    22        QNA
Kay, Murray       6/27/2008   361     4    361    20         H
Kay, Murray       6/27/2008   363     3    365     1         H
Kay, Murray       6/27/2008   366     3    366    22         H
Kay, Murray        6/9/2011   11     12    11     14
Kay, Murray        6/9/2011   23     19    23     22
Kay, Murray        6/9/2011   27      4    27     14
Kay, Murray        6/9/2011   31      3    31      5
Kay, Murray        6/9/2011   31      7    31      8
Kay, Murray        6/9/2011   39      2    39      8
Kay, Murray        6/9/2011   39     10    39     12


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Kay, Murray       6/9/2011   87    15     88     11
Kay, Murray       6/9/2011   89    23     90     11
Kay, Murray       6/9/2011   91     2     91      4
Kay, Murray       6/9/2011   91     6     91     11
Kay, Murray       6/9/2011   114   17     114    21      QNA
Kay, Murray       6/9/2011   115   14     115    19      QNA
Kay, Murray       6/9/2011   117    1     117    10
Kay, Murray       6/9/2011   117   14     117    17
Kay, Murray       6/9/2011   117   19     118     2
Kay, Murray       6/9/2011   118   12     118    14
Kay, Murray       6/9/2011   132   21     134     2
Kay, Murray       6/9/2011   230   10     230    18
Kay, Murray       6/9/2011   233    2     233    16
Kay, Murray       6/9/2011   233   23     235    14
Kay, Murray       6/9/2011   238   17     238    23




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Knocke, David James   8/19/2011     6      10       6          13    MIL
Knocke, David James   8/19/2011     6      18       6         20     MIL, 106, INC
Knocke, David James   8/19/2011    13      17      13         19     MIL, PK
Knocke, David James   8/19/2011    14       2      14         10     MIL, PK
Knocke, David James   8/19/2011    14      15      14         20     MIL, PK, DUP, MIS,
                                                                     AA
Knocke, David James   8/19/2011    24       1       24         3     MIL, PK, O, VAG, AF

Knocke, David James   8/19/2011    24      17       24        24     MIL, NR, PK, O, AF,     25       6          27      10     402; Improper designation of
                                                                     UT, 1002, 701                                              attorney objection (25:13);
                                                                                                                                Improper designation of attorney
                                                                                                                                colloquy (25:19-21; 25:6-8; 26:14-
                                                                                                                                27:2); Calls for privileged
                                                                                                                                communications (26:14-27:2); 602
                                                                                                                                (27:4-10)
                                                                                             33       2          33      12     402; Improper designation of
                                                                                                                                attorney colloquy
Knocke, David James   8/19/2011    65      22       66         3     MIL, PK, 701, 30b6
Knocke, David James   8/19/2011    66      20       66        22     MIL, 602, 30b6, AA,
                                                                     CLC, CUM, DUP, O,
                                                                     PK
Knocke, David James   8/19/2011    67       2       67         6     MIL, PK, NR, AA         66       4          66      15     402; Improper designation of
                                                                                                                                attorney objection
                                                                                             67        7         68      19     402
                                                                                             69       15         69      18     Asked and answered; 402
                                                                                             72       20         73       3     402
                                                                                             73        4         75      21     402
                                                                                             77        5         79      13     104a; 402; 602; Improper
                                                                                                                                designation of attorney objection
                                                                                                                                (77:24)
                                                                                             79       14         81      22     402; Improper designation of
                                                                                                                                attorney objection (81:21)
                                                                                             84       15         86       9     402
Knocke, David James   8/19/2011    75      22       75        24     MIL, PK, AF
Knocke, David James   8/19/2011    76      2        76         4     MIL, PK, AF, 602,       76       10         76      18
                                                                     701, 901, ARG, LA,
                                                                     CLC
Knocke, David James   8/19/2011    82      10       82        19     MIL, PK, AF, 602, NR    84       15         86       9     402

Knocke, David James   8/19/2011   107       9      108        24     MIL, PK, 901, 1002,    110       7         112       2     103; 104a; 602; Improper
                                                                     602, BS, HS, VAG                                           designation of attorney objections




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Krull, Stephen    11/18/2015    11    17     11       22
Krull, Stephen    11/18/2015    11    25     12       1
Krull, Stephen    11/18/2015    26    13     26       17
Krull, Stephen    11/18/2015    32    19     35       6
Krull, Stephen    11/18/2015    46    19     47       12   402, 403        47      13       47    17
Krull, Stephen    11/18/2015    50    13     50       15   402, 403
Krull, Stephen    11/18/2015    50    19     50       22   402, 403
Krull, Stephen    11/18/2015    53     3     53       4    402, 403
Krull, Stephen    11/18/2015    53     6     53       18   402, 403        53      20       53    21   104a; 602
                                                                           53      23       54    2    104a; 602
Krull, Stephen    11/18/2015    54     4      54    16     402, 403
Krull, Stephen    11/18/2015    69     20     69    24     402, 403
Krull, Stephen    11/18/2015    70     5      70    25     402, 403
Krull, Stephen    11/18/2015    74     21     75    13     402, 403        75      14       75    16
Krull, Stephen    11/18/2015    81     8      81    10     402, 403
Krull, Stephen    11/18/2015    81     14     82    6      402, 403
Krull, Stephen    11/18/2015    85     8      85    11     402, 403
Krull, Stephen    11/18/2015    85     17     86    3      402, 403        86      14       87    4    104a; 602
                                                                           87      6        87    10   104a; 602
Krull, Stephen    11/18/2015    87     12     88    19     402, 403
Krull, Stephen    11/18/2015    92     12     92    23     402, 403
Krull, Stephen    11/18/2015    93     5      93    13     402, 403        93      14       93    16
Krull, Stephen    11/18/2015    93     17     94    7      402, 403
Krull, Stephen    11/18/2015   103     5     103    21     402, 403
Krull, Stephen    11/18/2015   105     9     106    8      402, 403
Krull, Stephen    11/18/2015   110     4     110    15     402, 403       119      15       119   20   403; 104a
Krull, Stephen    11/18/2015   120     6     120    23     402, 403
Krull, Stephen    11/18/2015   121     5     122    7      402, 403
Krull, Stephen    11/18/2015   122     11    122    20     402, 403
Krull, Stephen    11/18/2015   124     6     125    5      402, 403
Krull, Stephen    11/18/2015   207     11    208    7      402, 403
Krull, Stephen    11/18/2015   214     4     214    12     402, 403
Krull, Stephen    11/18/2015   215     19    216    15     402, 403
Krull, Stephen    11/18/2015   226     22    226    23     402, 403
Krull, Stephen    11/18/2015   227     4     227    13     402, 403       230      20       233   14
                                                                          233      22       235   5
Krull, Stephen    11/18/2015   256     15    257    2      402, 403
Krull, Stephen    11/18/2015   257     6     257    7      402, 403
Krull, Stephen    11/18/2015   257     10    257    12     402, 403
Krull, Stephen    11/18/2015   257     16    257    17     402, 403
Krull, Stephen    11/18/2015   258     20    259    12     402, 403
Krull, Stephen    11/18/2015   259     15    262    2      402, 403
Krull, Stephen    11/18/2015   262     5     262    12     402, 403


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Krull, Stephen    11/18/2015   264     8    264       13 402, 403




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                                     Designations                       Objections                    Designations                                                                               Objections
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MacPhee, John       2/6/2008     7     22      8       11   HS
MacPhee, John       2/6/2008     10    14     10       25   HS
MacPhee, John       2/6/2008     11     5     11       15   HS
MacPhee, John       2/6/2008     11    25     12        2   HS
MacPhee, John       2/6/2008     12    10     12       14   HS
MacPhee, John       2/6/2008     12    20     12       21   HS
MacPhee, John       2/6/2008     13     4     13        6   HS
MacPhee, John       2/6/2008     13    23     13       25   HS
MacPhee, John       2/6/2008     14    22     15       11   HS
MacPhee, John       2/6/2008     16     8     16       19   HS
MacPhee, John       2/6/2008     45    12     46        2   HS, VAG, O, ARG
MacPhee, John       2/6/2008     58    23     59       21   HS
MacPhee, John       2/6/2008     60     4     60       11   HS, L
MacPhee, John       2/6/2008     60    25     61       11   HS, 402, L, AA
MacPhee, John       2/6/2008     61    17     61       25   NARR, VAG, O, 602, HS
MacPhee, John       2/6/2008     62     2     62       19   INC, NARR, VAG, O, 602, HS, 402       62     20     63     2
MacPhee, John       2/6/2008     97    17     98       25   INC, VAG, HS, 602, NARR              104     14    105     9
MacPhee, John       2/6/2008    114    21    115       14   VAG, HS, L
MacPhee, John       2/6/2008    120     1    120       19   VAG, HS, 402, 602
MacPhee, John       2/6/2008    140    13    143        9   HS, VAG, 402, 602, AF                144     9     144    16
MacPhee, John       2/6/2008    155    23    156        3   HS, 402, 602
MacPhee, John       2/6/2008    156    10    156       14   HS, 402, 602
MacPhee, John       2/6/2008    158     1    158       13   HS, VAG, ARG, 602                    158     14    158    19
MacPhee, John       2/6/2008    159    24    160       13   HS,VAG, ARG, 602
MacPhee, John       2/6/2008    160    19    161        3   HS, VAG, 602, PK                     161     4     161     6
MacPhee, John       2/6/2008    162     2    162       20   HS, VAG, 602
MacPhee, John       2/6/2008    171     5    172       20   HS, INC, VAG, 602
MacPhee, John       2/6/2008    178     8    178       23   VAG, O, 602, HS
MacPhee, John       2/6/2008    195     6    195       25   HS, INC, VAG
MacPhee, John     3/18/2016      11    15     11       16
MacPhee, John     3/18/2016      12    20     12       22   INC
MacPhee, John     3/18/2016      16     4     18        3   L, 402
MacPhee, John     3/18/2016      19    16     20       14   L
MacPhee, John     3/18/2016      23    25     24        2   L                                     24      3    24      4              106               24           5         24       11
                                                                                                  24     21    24     24
MacPhee, John     3/18/2016     24     25     25     8      602, L
MacPhee, John     3/18/2016     35      7      35    12     INC, 602, 402
MacPhee, John     3/18/2016     58      7      58    13     L, 602, 402
MacPhee, John     3/18/2016     91      1      91     4     L, 602, 402
MacPhee, John     3/18/2016    104      5     104    12     L, VAG, HS
MacPhee, John     3/18/2016    107     20     109     1     HS, VAG, 602, PK                     109     2     109     6
                                                                                                 109     8     109     8
MacPhee, John     3/18/2016    138     23     139    9      HS, L, 602, 402
MacPhee, John     3/18/2016    164      9     164    14     HS, L, 602, 402
MacPhee, John     3/18/2016    164     16     164    18     HS, L, 602, 402
MacPhee, John     3/18/2016    204     24     205    17     VAG, 602, PK, 701, 30b6, 205:11-
                                                            205:13 -- HS
MacPhee, John     3/18/2016    211     14     211    16     VAG, 602
MacPhee, John     3/18/2016    211     18     211    19     VAG, 602                             213     3     213     6     Vague and ambiguous
                                                                                                 213     8     213     8     Vague and ambiguous
MacPhee, John     3/18/2016    267     25     268    12     HS, L
MacPhee, John     3/18/2016    270      5     271    4      CUM, L,



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MacPhee, John     3/18/2016  272   12    272       17   CUM, 402
MacPhee, John     3/18/2016  272   24    273       21   L, 402, 602, 273:14-273:18 -- HS     273     22    274     1
MacPhee, John     3/18/2016  274    2    274       16   VAG, 602
MacPhee, John     3/18/2016  274   22    275       3    CUM, L, 602
MacPhee, John     3/18/2016  275    5    276       5    602, L, VAG, 402
MacPhee, John     3/18/2016  276    8    277        1   AF, PK, 602, 402
MacPhee, John     3/18/2016  278    1    278       4    L, 701, 602, 402, VAG
MacPhee, John     3/18/2016  278    7    278       24   VAG, 701, 602, 402, VAG
MacPhee, John     3/18/2016  279    1    279       8    HS, PK, 602
MacPhee, John     3/18/2016  280   12    281        3   CUM, AA, VAG, 02
MacPhee, John     3/18/2016  281   15    281       16   INC, CUM, 701, 602, VAG, PK
MacPhee, John     3/18/2016  281   18    282        4   VAG, 602
MacPhee, John     3/18/2016  282    9    282       19   402, 602
MacPhee, John     3/18/2016  283    3    284       7    402, 602, VAG, PK, AF
MacPhee, John     3/18/2016  284    9    284       16   VAG, 602, PK, 701
MacPhee, John     3/18/2016  285    2    286       10   HS, VAG, AF, 602
MacPhee, John     3/18/2016  286   12    286       13   HS, 602
MacPhee, John     3/18/2016  286   18    287        1   VAG, 402, 602
MacPhee, John     3/18/2016  287    3    288        6   L, VAG, 402, 602, PK
MacPhee, John     3/18/2016  288   12    288       18   INC, HS
MacPhee, John     3/18/2016  290    1    290       18   L, VAG, 402, 602
MacPhee, John     3/18/2016  293   22    294       12   AF, L, HS, 602, 402
MacPhee, John     3/18/2016  294   14    294       17   602, 402
MacPhee, John     3/18/2016  294   18    295       1    L, AC, 602, 402                      319     1     319    13   602 (319:7-13)
MacPhee, John     3/18/2016  295   12    295       22   L, CUM, AA, 402, 602
MacPhee, John     3/18/2016  296   23    297       2    L, 402, 602
MacPhee, John     3/18/2016  297    4    297        6   L, VAG, 402, 602
MacPhee, John     3/18/2016  297    8    297       15   L, VAG, 402, 602
MacPhee, John     3/18/2016  299    5    299       9    HS, PK, NARR, 402, 602, VAG, 701

MacPhee, John     3/18/2016   299    12    299    19    HS, PK, AF, 402, 602, VAG, 701
MacPhee, John     3/18/2016   299    20    299    24    HS, 602, PK, VAG, 403, 701
MacPhee, John     3/18/2016   300     2    300    22    HS, 602, PK, VAG, 403, 701, AF,      316     10    316    20
                                                        NARR
                                                                                             316     22    317    24
MacPhee, John     3/18/2016   301    1     301    22    HS, 602, PK, VAG, 403, 701, AF,      311      4    312     2   602; 106 (311:4-7)
                                                        NARR, L
                                                                                             313      3    313    12
                                                                                             313     15    314     9
MacPhee, John     3/18/2016   301    24    302    20    CP, L, 402, 602, 403, 701, VAG
MacPhee, John     3/18/2016   302    24    303     1    402, 602, 403, 701, VAG
MacPhee, John     3/18/2016   303    22    303    24    VAG, 602, L, 403, 701
MacPhee, John     3/18/2016   304     2    304    6     VAG, 602, 403, 701, AF
MacPhee, John     3/18/2016   304     7    304    10    L, 602, PK, 403, 701, AF
MacPhee, John     3/18/2016   304    12    304    20    602, PK, 403, 701, AF
MacPhee, John     3/18/2016   304    21    305    2     L, 402, VAG, HS
MacPhee, John     3/18/2016   305     4    305    13    VAG, AF, L, 402, 602, HS
MacPhee, John     3/18/2016   305    15    305    20    L, ARG, VAG, 602, HYPO, 403, 701

MacPhee, John     3/18/2016   305    22    305    22    VAG, 602, HYPO, 403, 701
MacPhee, John     3/18/2016   319    20    320    4     INC
MacPhee, John     3/18/2016   320    18    320    22    INC, VAG, HS, 602



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Mahoney, Joseph   5/10/2016    11        1      11       4       MIL

Mahoney, Joseph   5/10/2016     11      12      11       14      MIL

Mahoney, Joseph   5/10/2016     17      18      17       20      MIL

Mahoney, Joseph   5/10/2016     18      23      18       25      MIL, PK, NR

Mahoney, Joseph   5/10/2016     19       4      19       15      MIL, AF, NR, O, PK,    19       20          20    25
                                                                 VAG
Mahoney, Joseph   5/10/2016     21       4      21       11      MIL, AF, PK, NR,       21       12          22     1
                                                                 NARR, VAG
                                                                                        22       17          23     6
                                                                                        23       23          24    21
Mahoney, Joseph   5/10/2016     32      24      33       4       MIL, MIS, 1002

Mahoney, Joseph   5/10/2016     33       9      33       13      MIL                    33       14          34     1

Mahoney, Joseph   5/10/2016     34       2      34       6       MIL, PK, CLC, AF       34       11          34    25

Mahoney, Joseph   5/10/2016     34      14      34       18      MIL, DUP, AA, CLC      34       19          34    25

Mahoney, Joseph   5/10/2016     90      10      90       12      MIL

Mahoney, Joseph   5/10/2016     90      21      90       21      MIL, NR, 602, 701,
                                                                 1002, 901, AF, PK,
                                                                 VAG
Mahoney, Joseph   5/10/2016     90      23      91       13      MIL, NR, 602, 701,
                                                                 1002, 901, AF, PK,
                                                                 VAG
Mahoney, Joseph   5/10/2016     91      17      92       2       MIL, NR, 602, 701,
                                                                 1002, 901, AF, PK,
                                                                 VAG
Mahoney, Joseph   5/10/2016     92       6      92       23      MIL, NR, 602, 701,     93        2          93    16
                                                                 1002, 901, AF, PK,
                                                                 VAG
                                                                                       101        6       102       4
Mahoney, Joseph   5/10/2016    101       6      101      17      MIL, MPT, NR, PK,      92        6        92      23
                                                                 VAG, 403, AF, ARG

Mahoney, Joseph   5/10/2016    112      10      112      17      MIL




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Mahoney, Joseph   5/10/2016   112       19     112       24      MIL

Mahoney, Joseph   5/10/2016    115      15      115      21      MIL, AF, PK          116        8       116      18

Mahoney, Joseph   5/10/2016    117      24      118      13      MIL, AF, 403, 602,
                                                                 901, ARG, CLC, HS,
                                                                 PK
Mahoney, Joseph   5/10/2016    118      19      119      5       MIL, AF, PK, NR,
                                                                 701
Mahoney, Joseph   5/10/2016    120      18      120      20      MIL, CLC, CP, MIS,
                                                                 PK, LA, VAG
Mahoney, Joseph   5/10/2016    121       2      121      3       MIL, CLC, CP, MIS,   122        6       122      10
                                                                 PK, LA, VAG, NR

                                                                                      124        2       124       4
Mahoney, Joseph   5/10/2016    125      13      127      8       MIL, 602, 701,
                                                                 30b6, 901, AF,
                                                                 ARG, CLC, IMP, NR,
                                                                 PK, VAG
Mahoney, Joseph   5/10/2016    133      13      134      2       MIL, 602, 701,
                                                                 30b6, 901, HS, AF,
                                                                 ARG, CLC, IMP, NR,
                                                                 PK, VAG

Mahoney, Joseph   5/10/2016    135      19      136      10      MIL, 602, 701,       159        9       159      24
                                                                 30b6, 901, HS, AF,
                                                                 ARG, CLC, IMP, NR,
                                                                 PK, VAG

Mahoney, Joseph   5/10/2016    153      20      154      7       MIL, 602, 701,       154        8       155      10
                                                                 30b6, 901, HS, AF,
                                                                 ARG, CLC, IMP, NR,
                                                                 PK, VAG

Mahoney, Joseph   5/10/2016    170      21      171      20      MIL, 602, 701,       170       21       171       4
                                                                 30b6, 901, HS, AF,
                                                                 ARG, CLC, IMP, NR,
                                                                 PK, VAG, INC

                                                                                      172        3       172      23




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Mahoney, Joseph   5/10/2016   172        3     172       23      MIL, 602, 701,       174        2       177       2
                                                                 30b6, 901, HS, AF,
                                                                 ARG, CLC, IMP, NR,
                                                                 PK, VAG, INC

                                                                                      175       6        175      10
                                                                                      177       3        178       9
                                                                                      187       18       188      23
                                                                                      190       24       192      18
Mahoney, Joseph   5/10/2016    187      18      188      23      MIL, 602, 701,       192       19       195      12
                                                                 30b6, 901, HS, AF,
                                                                 ARG, CLC, IMP, NR,
                                                                 PK, VAG, INC, 106,
                                                                 501

Mahoney, Joseph   5/10/2016    192      19      193      1       MIL, 602, 701,       194        7       195      12
                                                                 30b6, 901, AF,
                                                                 ARG, CLC, IMP, NR,
                                                                 PK, VAG, INC, 501

                                                                                      201       18       202      16




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Maloney, Edward   6/19/2008   6      5      6       7    HS                        6      23       7      6  402, 403
Maloney, Edward   6/19/2008   9      9      9       11   HS                        9      12       9     13     106           9           14        9          23
Maloney, Edward   6/19/2008   9     24     10       2    HS
Maloney, Edward   6/19/2008  10      3     10       3    HS
Maloney, Edward   6/19/2008  11      4     11       25   HS
Maloney, Edward   6/19/2008  12     10     12       21   HS
Maloney, Edward   6/19/2008  12     22     12       23   HS
Maloney, Edward   6/19/2008  12     24     15       3    HS, 701, 602, 403, MIL
Maloney, Edward   6/19/2008  15     12     16       3    HS, 701, 602, 403, MIL    16     4     16     5       106           16           6         16         18     701, 602, 403
Maloney, Edward   6/19/2008  17      4     17       23   HS
Maloney, Edward   6/19/2008  18     21     19       7    HS
Maloney, Edward   6/19/2008  19     17     19       25   HS                        20     1     20     8       106           20           9         20         10
Maloney, Edward   6/19/2008  20     11     20       18   HS
Maloney, Edward   6/19/2008  20     19     21       16   HS
Maloney, Edward   6/19/2008  21     17     22       5    HS
Maloney, Edward   6/19/2008  22     11     23       14   HS
Maloney, Edward   6/19/2008  22     14     23       14   HS
Maloney, Edward   6/19/2008  24     10     24       24   HS
Maloney, Edward   6/19/2008  26      1     26       24   HS                        26    25     27     7
Maloney, Edward   6/19/2008  27      8     28       1    HS                        28     2     28     4
Maloney, Edward   6/19/2008  28      5     29       24   HS                        29    25     30    11
                                                                                   31     4     31    14
Maloney, Edward   6/19/2008    33     8     34     1     HS                        32     5     33     7
                                                                                   34     2     34     7
Maloney, Edward   6/19/2008    34     8     34    23     HS                        36     8     36    11       106           35           15        36          7     602, 403, 402
                                                                                   36    17     36    23       106           36           12        36         16                             403
                                                                                   37     5     37     9
Maloney, Edward   6/19/2008    37    16     38     6     HS                        39    22     40     2
                                                                                   40    21     41    11       106           41           12        41         15
                                                                                   42     3     42    10       402
Maloney, Edward   6/19/2008    44     1     44    15     HS                        44    16     44    21
Maloney, Edward   6/19/2008    53    25     54    9      HS                        54    10     54    18
Maloney, Edward   6/19/2008    55    12     56    18     HS
Maloney, Edward   6/19/2008    58     9     59    3      HS                        60     9     60    11
                                                                                   60    15     61     9       106           61           10        62         14     403, IMP, INC
Maloney, Edward   6/19/2008    62    15     64     4     HS
Maloney, Edward   6/19/2008    64    17     67     2     HS, 701, 602, 403, MIL    69    13     70     5       106           70            6        70         25
                                                                                   73    22     73    24       106           73           25        74         12     AF, 602
                                                                                   76     9     77     7
                                                                                   77    12     78     7       106           78           8         78         25
                                                                                   99     1     99     8       106           97           6         98         25     AF, 403
Maloney, Edward   6/19/2008    68    13     68    19     HS                        68    25     69     6
Maloney, Edward   6/19/2008    72     4     73    16     HS, 701, 602, 403.
Maloney, Edward   6/19/2008    80     4     80    11     HS
Maloney, Edward   6/19/2008    80    12     81    8      HS
Maloney, Edward   6/19/2008    81     9     82    7      HS                        83    19     83    21
Maloney, Edward   6/19/2008    81    18     81    24     HS
Maloney, Edward   6/19/2008    83    25     84    11     HS
Maloney, Edward   6/19/2008    86     4     87    1      HS



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Maloney, Edward   6/19/2008  87    19     88       25   HS
Maloney, Edward   6/19/2008 101    11    101       19   HS                     101    20    102     9
Maloney, Edward   6/19/2008 102    13    102       23   HS
Maloney, Edward   6/19/2008 108    15    109       20   HS, AA, AF             109    21    110     24       402
                                                                               119    18    120      4
                                                                               121     9    121     17       106           121           18      122         5
Maloney, Edward   6/19/2008   131    21    131    25    HS                     132     1    132      3
Maloney, Edward   6/19/2008   132     4    132    7     HS
Maloney, Edward   6/19/2008   132     9    132    11    HS
Maloney, Edward   6/19/2008   132    12    132    22    HS
Maloney, Edward   6/19/2008   132    24    133    11    HS                     133    12    133     23
Maloney, Edward   6/19/2008   133    24    136    11    HS                     136    12    136     16
Maloney, Edward   6/19/2008   136    17    137    18    HS                     138    16    138     25
Maloney, Edward   6/19/2008   139     1    139    17    HS                     139    20    140      4
Maloney, Edward   6/19/2008   140     5    142    8     HS
Maloney, Edward   6/19/2008   143     1    143    6     HS
Maloney, Edward   6/19/2008   144     8    145    16    HS                     143     7    144      7
Maloney, Edward   6/19/2008   152    24    153    22    HS                     153    23    154     25
                                                                               151     7    151     14
                                                                               151    17    151     24       106           151           25      152         10     AF, 403
                                                                               152    11    152     14
Maloney, Edward   7/14/2011    6     20     6     22
Maloney, Edward   7/14/2011    9     20     9     24
Maloney, Edward   7/14/2011    9     25    10     22
Maloney, Edward   7/14/2011   11     14    13     4                             13     5     13     9
Maloney, Edward   7/14/2011   14     22    15     18
Maloney, Edward   7/14/2011   16     17    16     21
Maloney, Edward   7/14/2011   20     15    20     25    602, 701                21     1     21     2
Maloney, Edward   7/14/2011   27     25    28     9
Maloney, Edward   7/14/2011   36      9    36     22
Maloney, Edward   7/14/2011   39      2    40     15
Maloney, Edward   7/14/2011   42      1    42     19
Maloney, Edward   7/14/2011   58     16    58     20
Maloney, Edward   7/14/2011   58     24    58     24
Maloney, Edward   7/14/2011   59      1    59     5
Maloney, Edward   7/14/2011   61      3    61     5
Maloney, Edward   7/14/2011   61      6    61     24
Maloney, Edward   7/14/2011   62      4    62     9     AF
Maloney, Edward   7/14/2011   83      2    83     5
Maloney, Edward   7/14/2011   83     10    83     10
Maloney, Edward   7/14/2011   83     12    83     13
Maloney, Edward   7/14/2011   83     15    83     19
Maloney, Edward   7/14/2011   83     22    84     7     701, 602                84     9     84     13       106           84            14       84         21     AF, 403, 402, 602
Maloney, Edward   7/14/2011   101     6    101    16
Maloney, Edward   7/14/2011   105     9    105    12
Maloney, Edward   7/14/2011   106     3    107    5
Maloney, Edward   7/14/2011   114    16    114    21
Maloney, Edward   7/14/2011   115    10    115    13    AF                     115    14    115     14
                                                                               115    19    115     19       106           115           20      116         2      602, 403, 402



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Maloney, Edward   7/14/2011 116     4    116       7
Maloney, Edward   7/14/2011 116    20    117       3
Maloney, Edward   7/14/2011 117     6    117       6
Maloney, Edward   7/14/2011 120    16    120       21
Maloney, Edward   7/14/2011 121     3    121       11
Maloney, Edward   7/14/2011 124    12    124       20 O, MIS
Maloney, Edward   7/14/2011 126    22    127       12
Maloney, Edward   7/14/2011 127    13    128       8
Maloney, Edward   7/14/2011 128    21    129       8
Maloney, Edward   7/14/2011 129    24    131       18 602, MIS                  131    19    131     22       106           131           23      132         1      701, 602, 403
Maloney, Edward   7/14/2011 132     2    132       5 701, 602
Maloney, Edward   7/14/2011 137     1    137       15
Maloney, Edward   7/14/2011 137    23    138       2                            137    16    137     22
                                                                                138     3    138     24
Maloney, Edward   7/14/2011   140    15    140    18
Maloney, Edward   7/14/2011   144    22    145    7    602




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Transcript Name     Depo Date Page Line Page Line                       Page Line Page Line                     Page Start   Line Start Page End Line End
                              Start Start End End                       Start Start End End
Manusos, Nicholas   1/21/2016  7     10      7       10
Manusos, Nicholas   1/21/2016  7     12      7       14
Manusos, Nicholas   1/21/2016  16    16     16       18
Manusos, Nicholas   1/21/2016  17     6     17       23
Manusos, Nicholas   1/21/2016  18    15     18       20
Manusos, Nicholas   1/21/2016 150    22    150       22       INC
Manusos, Nicholas   1/21/2016 152    11    152       12   HYPO, 602,
                                                              701
Manusos, Nicholas   1/21/2016   152    15    152    19    HYPO, 602,
                                                           701, VAG
Manusos, Nicholas   1/21/2016   152    25    152    25    HYPO, 602,
                                                           701, VAG
Manusos, Nicholas   1/21/2016   153    12    153    15    HYPO, 602,
                                                           701, VAG
Manusos, Nicholas   1/21/2016   153    19    153    19    HYPO, 602,
                                                           701, VAG
Manusos, Nicholas   1/21/2016   155    19    156    8      602, 701
                                                           (156:6-8)
Manusos, Nicholas   1/21/2016   156    11    156    21     602, 701
Manusos, Nicholas   1/21/2016   156    25    156    25     602, 701
Manusos, Nicholas   1/21/2016   160    11    160    15     602, 701
Manusos, Nicholas   1/21/2016   160    19    160    19     602, 701
Manusos, Nicholas   1/21/2016   167    13    167    24        402
Manusos, Nicholas   1/21/2016   171    12    171    19
Manusos, Nicholas   1/21/2016   171    24    171    25
Manusos, Nicholas   1/21/2016   172    4     172    11
Manusos, Nicholas   1/21/2016   174    22    174    24    AF, HYPO,
                                                          402, 602
Manusos, Nicholas   1/21/2016   175    4     175    5     AF, HYPO,
                                                          402, 602
Manusos, Nicholas   1/21/2016   177    10    177    12    AF, HYPO,
                                                          402, 602
Manusos, Nicholas   1/21/2016   177    16    177    16    AF, HYPO,     177      17       177   17
                                                          402, 602
                                                                        177      21       177   21
                                                                        178      1        178   5



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Manusos, Nicholas   1/21/2016 187    24    188       10
Manusos, Nicholas   1/21/2016 189    17    189       20
Manusos, Nicholas   1/21/2016 190     2    190       4    VAG, 602,
                                                            701
Manusos, Nicholas   1/21/2016   190    7     190    12      402
Manusos, Nicholas   1/21/2016   192    10    192    13      402
Manusos, Nicholas   1/21/2016   192    22    193    10     402, AF,
                                                          HYPO, 602
                                                          (193:6-10)
Manusos, Nicholas   1/21/2016   193    14    193    15    HYPO, AF,
                                                            602
Manusos, Nicholas   1/21/2016   193    19    193    24    HYPO, AF,
                                                            602
Manusos, Nicholas   1/21/2016   194    6     194    10
Manusos, Nicholas   1/21/2016   194    15    194    19       402
Manusos, Nicholas   1/21/2016   194    22    195    5      402, AF,
                                                          HYPO, 602
                                                          (195:3-5)
Manusos, Nicholas   1/21/2016   195    9     196    10     402, AF,
                                                          HYPO, 602
Manusos, Nicholas   1/21/2016   196    14    196    15     402, AF,
                                                          HYPO, 602
Manusos, Nicholas   1/21/2016   198    14    198    18       VAG        198      19       198   21
Manusos, Nicholas   1/21/2016   200    24    201    8                   199      18       200   3
Manusos, Nicholas   1/21/2016   201    11    201    11
Manusos, Nicholas   1/21/2016   201    23    202    1        402
Manusos, Nicholas   1/21/2016   202    8     202    11    AF, HYPO,
                                                           402, 602
Manusos, Nicholas   1/21/2016   202    22    203    4     AF, HYPO,
                                                           402, 602
Manusos, Nicholas   1/21/2016   215    1     215    6        402
Manusos, Nicholas   1/21/2016   216    22    216    25    402, VAG,
                                                             602
Manusos, Nicholas   1/21/2016   217    9     217    16    402, VAG,     217      17       217   18
                                                             602
Manusos, Nicholas   1/21/2016   218    21    219    3      402, AF,
                                                          HYPO, 602


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Transcript Name     Depo Date Page Line Page Line                       Page Line Page Line                     Page Start   Line Start Page End Line End
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Manusos, Nicholas   1/21/2016   219    7    219    14      402, AF,
                                                          HYPO, 602
Manusos, Nicholas   1/21/2016   219   19    220     1      402, AF,
                                                          HYPO, 602
                                                        (219:19), VAG

Manusos, Nicholas   1/21/2016   221   16    221    23      402, AF,
                                                          HYPO, 602
Manusos, Nicholas   1/21/2016   226   17    226    22      402, AF
Manusos, Nicholas   1/21/2016   226   25    227    19     402, MPT
                                                         (227:13-19)
Manusos, Nicholas   1/21/2016   227   24    228     1        AC
Manusos, Nicholas   1/21/2016   228   4     228     6     VAG, 402,
                                                            CUM
Manusos, Nicholas   1/21/2016   228   10    228    11     402, CUM
Manusos, Nicholas   1/21/2016   230   22    231    14     602, 701,
                                                         VAG (231:9-
                                                             14)
Manusos, Nicholas   1/21/2016   231   17    231    20      602, 701
Manusos, Nicholas   1/21/2016   231   24    231    25      602, 701
Manusos, Nicholas   1/21/2016   232   11    232    14
Manusos, Nicholas   1/21/2016   232   19    233    3      402, VAG,
                                                            602
Manusos, Nicholas   1/21/2016   233    9    233    13     402, 602
Manusos, Nicholas   1/21/2016   239    5    239    8     402, HYPO,
                                                          602, VAG
Manusos, Nicholas   1/21/2016   239   14    239    15    402, HYPO,     238      15       238   18
                                                            602
                                                                        238      21       239   4
Manusos, Nicholas   1/21/2016   239   17    239    21       402
Manusos, Nicholas   1/21/2016   241   5     241    7      VAG, 602,
                                                            701
Manusos, Nicholas   1/21/2016   241   11    241    15     VAG, 602,
                                                            701
Manusos, Nicholas   1/21/2016   241   18    241    20     402, 403




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Manusos, Nicholas   1/21/2016   242    4    242     7     VAG, 602,
                                                        701, 402, 403

Manusos, Nicholas   1/21/2016   242   13    242    17     VAG, 602,
                                                        701, 402, 403

Manusos, Nicholas   1/21/2016   242   21    242    23     602, 402
Manusos, Nicholas   1/21/2016   243   2     243    2        402
Manusos, Nicholas   1/21/2016   246   12    246    16     INC, VAG      246    8        246   11
                                                                        246    17       247   1
Manusos, Nicholas   1/21/2016   247   12    247    14     602, 701,
                                                         VAG, HYPO
Manusos, Nicholas   1/21/2016   247   18    248     1     602, 701,
                                                         VAG, HYPO
Manusos, Nicholas   1/21/2016   248   6     248    10     602, 701
Manusos, Nicholas   1/21/2016   256   1     256    3        CLC         256    6        256   9
Manusos, Nicholas   1/21/2016   261   11    261    15       402
Manusos, Nicholas   1/21/2016   261   18    261    24       402




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McMahon, Owen     2/24/2012  9      3      9       4
McMahon, Owen     2/24/2012  9     16      9       23
McMahon, Owen     2/24/2012  9     12      9       18
McMahon, Owen     2/24/2012  21     6     21       10
McMahon, Owen     2/24/2012  42     3     42       5 402, 403,
                                                      602
McMahon, Owen     2/24/2012 111     2    111       2 VAG
McMahon, Owen     2/24/2012 111     5    111       6 VAG
McMahon, Owen     2/24/2012 111    11    111       19 402, 403
McMahon, Owen     2/24/2012 112    10    112       20 402, 403
McMahon, Owen     2/24/2012 113     3    113       23 VAG, 402,
                                                      403
McMahon, Owen     2/24/2012 117     4    117       13 VAG, 402,
                                                      403
McMahon, Owen     2/24/2012 117    16    117       16 VAG, 402,
                                                      403
McMahon, Owen     2/24/2012 222    18    223       5 402, 602
McMahon, Owen     2/24/2012 223    17    224       8 402, 602,
                                                      701
McMahon, Owen     2/24/2012 224    11    224       11 402, 602,
                                                      701
McMahon, Owen     2/24/2012 224    13    224       17 402, 602,
                                                      VAG
McMahon, Owen     2/24/2012 224    20    224       20 402, 602,
                                                      VAG
McMahon, Owen     2/24/2012 224    22    225       2 402, 602
McMahon, Owen     2/24/2012 225     3    225       5 402, 602
McMahon, Owen     2/24/2012 225     8    225       8 402, 602
McMahon, Owen     2/24/2012 225    10    225       18 402, 602,
                                                      VAG
McMahon, Owen     2/24/2012 225    21    225       21 402, 602,
                                                      VAG
McMahon, Owen     2/24/2012 225    23    226       3 402, 602
McMahon, Owen     2/24/2012 226     6    226       8 402, 602
McMahon, Owen     2/24/2012 226    10    227       4 402, 602
McMahon, Owen     2/24/2012 229    13    229       15
McMahon, Owen     2/24/2012 229    18    229       18
McMahon, Owen     2/24/2012 229    20    230       22 402, 602,
                                                      VAG
McMahon, Owen     2/24/2012 230    25    231       15 402, 602,      231    16    231     18   104a; 602; 402; 403
                                                      VAG
                                                                     231    21    231     23   Not responsive; 104a; 602;
                                                                                               701; 402; 403
McMahon, Owen     2/24/2012   232     1    232    4   INC, PK,
                                                      602, VAG,
                                                      402




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McMahon, Owen     2/24/2012 232     7    232       7 PK, 602,
                                                      VAG, 402
McMahon, Owen     3/30/2016  5     19      5       22
McMahon, Owen     3/30/2016  6      4      6       14
McMahon, Owen     3/30/2016  75    20     76       5 402, 602,
                                                      701, VAG
McMahon, Owen     3/30/2016  76     7     76       21 402, 602,
                                                      701, CP, IMP

McMahon, Owen     3/30/2016   76    23    77     6   402, 602,
                                                     701, CP




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Mink, William     10/2/2015  7      1      7       4
Mink, William     10/2/2015  8      7      8       10
Mink, William     10/2/2015  9     21     10        5
Mink, William     10/2/2015  10    11     10       20
Mink, William     10/2/2015  10    25     11       15
Mink, William     10/2/2015  11    21     12       10
Mink, William     10/2/2015  25    22     25       24
Mink, William     10/2/2015  26    25     27        9
Mink, William     10/2/2015  28    25     29       10 L, CLC                   29    11      29    14
Mink, William     10/2/2015  29    15     30        6 L, CLC, 403              30     7      30    15       106           30          16        30       22
                                                                               30    23      31     5
Mink, William     10/2/2015    31     6     31    10   L, MIS, AA
Mink, William     10/2/2015    62    20     62    25                           63     1      63    7
Mink, William     10/2/2015    63    22     64     8
Mink, William     10/2/2015    64    10     64    17
Mink, William     10/2/2015   126    18    127    16
Mink, William     10/2/2015   141    19    141    24
Mink, William     10/2/2015   143    15    144    21                          146     5      146   21
Mink, William     10/2/2015   155    16    155    25
Mink, William     10/2/2015   189    12    191    7
Mink, William     10/2/2015   191    10    193    6
Mink, William     10/2/2015   203    18    203    21
Mink, William     10/2/2015   204    1     204    6
Mink, William     10/2/2015   208    4     212    12
Mink, William     10/2/2015   215    3     216    24                          332    2       332   18
                                                                              335    21      335   23
                                                                              335    25      336   5
Mink, William     10/2/2015   217    8     220    21   PK, MIS, O
Mink, William     10/2/2015   221    4     223    20   602, AA
Mink, William     10/2/2015   223    25    223    25   AA
Mink, William     10/2/2015   224    21    225    17
Mink, William     10/2/2015   226    9     228    10   701, AF, PK, L         328    19      328   23
Mink, William     10/2/2015   228    11    228    15
Mink, William     10/2/2015   228    16    228    20
Mink, William     10/2/2015   232    20    232    23   O, VAG
Mink, William     10/2/2015   232    25    232    25   O, VAG
Mink, William     10/2/2015   233    2     233    3    O, VAG
Mink, William     10/2/2015   233    15    233    20   O, VAG
Mink, William     10/2/2015   233    22    233    24
Mink, William     10/2/2015   234    11    234    24
Mink, William     10/2/2015   235    22    236    4    602                    336    23      336   25       802
                                                                              337    12      337   18     802; 402
Mink, William     10/2/2015   236    6     236    10
Mink, William     10/2/2015   237    6     237    20   602, PK
Mink, William     10/2/2015   238    2     238    20   602, PK
Mink, William     10/2/2015   239    12    239    17   602, PK



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Mink, William     10/2/2015 239    20    239       24                       340     19      340    22
Mink, William     10/2/2015 240     2    240       4                        340     25      341    4
                                                                            343      1      343     6
                                                                            344     10      344    12
Mink, William     10/2/2015   240    23    240    24
Mink, William     10/2/2015   240    25    242    3     L
Mink, William     10/2/2015   242    6     242    6
Mink, William     10/2/2015   242    8     243    13    402
Mink, William     10/2/2015   243    20    244    17    402, 403
Mink, William     10/2/2015   244    18    244    19    402, 403
Mink, William     10/2/2015   244    24    246    8     402, 403
Mink, William     10/2/2015   246    11    249    15    402, 403, PK, L
Mink, William     10/2/2015   266    6     266    24    L, MPT, AC
Mink, William     10/2/2015   267    2     267    2     L, MPT, AC
Mink, William     10/2/2015   268    5     268    12
Mink, William     10/2/2015   275    3     276    8
Mink, William     10/2/2015   276    20    278    14    602
Mink, William     10/2/2015   279    3     279    8     602, 403, L
Mink, William     10/2/2015   300    22    302    13    602
Mink, William     10/2/2015   305    1     306    2     602
Mink, William     10/2/2015   320    21    321    22
Mink, William     10/2/2015   322    5     322    19    602, MIS
Mink, William     10/2/2015   322    21    324    6




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Mitchell, Brian   12/19/2007    7      4      7       7    HS
Mitchell, Brian   12/19/2007    7     16      7       17   HS
Mitchell, Brian   12/19/2007    11    20     11       21   HS
Mitchell, Brian   12/19/2007    16    23     17       9    HS
Mitchell, Brian   12/19/2007    17    12     17       20   HS
Mitchell, Brian   12/19/2007    47     3     49       7    HS, 402, 403,
                                                           602,
Mitchell, Brian   12/19/2007    56     14     56    24     HS
Mitchell, Brian   12/19/2007    57     12     58    3      HS, 402, 403,
                                                           602,
Mitchell, Brian   12/19/2007    68     9      68    15     HS, 402, 403,
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Mitchell, Brian   12/19/2007    68     18     70    10     HS, 402, 403,
                                                           602,
Mitchell, Brian   12/19/2007    72     16     73    16     HS, 402, 403,    70       11       72    2    602; 104a
                                                           602,
                                                                            73       17        80   20   602; 104a
                                                                            81       12        83   6    602; 104a
                                                                           115       20       116   25   602; 104a;
                                                                                                         403
Mitchell, Brian   12/19/2007    83     7      83    16     HS, 402, 403,
                                                           602,
Mitchell, Brian   12/19/2007    83     20     84     5     HS, 402, 403,
                                                           602,
Mitchell, Brian   12/19/2007    84     8      84    14     HS, 402, 403,
                                                           602,
Mitchell, Brian   12/19/2007    84     17     84    23     HS, 402, 403,
                                                           602,
Mitchell, Brian   12/19/2007    85     1      85     5     HS, 602, 701     85       6        85    19   602; 104a

                                                                            86       10       87    9    602; 104a
Mitchell, Brian   12/19/2007    87     10     87    16     HS               88       17       89    9    602; 104a
Mitchell, Brian   12/19/2007    89     10     91    6      HS               91       7        91    18
Mitchell, Brian   12/19/2007    91     19     92    24     HS, 602          92       25       94    9    106; 602;
                                                                                                         104a
Mitchell, Brian   12/19/2007    94     10     94    19     HS, 402, 403,
                                                           602
Mitchell, Brian   12/19/2007    95     12     95    19     HS, 402, 403,
                                                           602
Mitchell, Brian   12/19/2007    96     1      96     8     HS, 402, 403,
                                                           602
Mitchell, Brian   12/19/2007    97     13     98     1     HS, 402, 403,
                                                           602


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Mitchell, Brian   12/19/2007 101     8    104       12 HS, 402,403,
                                                       O




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                                     Designations          Objections         Designations                                                                                Objections
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                                Start Start End End                      Start Start End End
Nevers, Robert         3/4/2016  5      5      5       6
Nevers, Robert         3/4/2016  5     20      6       2
Nevers, Robert Leon    3/4/2016   9     25     10     4
Nevers, Robert Leon    3/4/2016   50    25     51     2                   56    6        56       8                                56          9        56        15
                                                                          57    1        57       7   402; 403
Nevers, Robert Leon    3/4/2016   51    9      51    14       402
Nevers, Robert Leon    3/4/2016   61    18     62     3     402, INC
Nevers, Robert Leon    3/4/2016   63    24     64     9       402
Nevers, Robert         3/4/2016   71    13    71     15                  139    25      140       4                                139         9        139       24
                                                                                                     Vague and ambiguous;
Nevers, Robert Leon    3/4/2016   140   24    141     2     602, 701     140    5       140       19 Compound; 602
Nevers, Robert         3/4/2016   142   22    142    25                  143    1       143       4
Nevers, Robert         3/4/2016   143   16    144    17     602, 701     138    7       138       22




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Petrie, Cherri    3/16/2016   8     16      8       18
Petrie, Cherri    3/16/2016   9      1      9        7
Petrie, Cherri    3/16/2016   9     10      9       12
Petrie, Cherri    3/16/2016   9     17      9       19
Petrie, Cherri    3/16/2016  11     16     13       17
Petrie, Cherri    3/16/2016  23      7     24        1                    22    9     23      6
Petrie, Cherri    3/16/2016  24      5     24       10
Petrie, Cherri    3/16/2016   27     4     28        8
Petrie, Cherri    3/16/2016   32    19     32       22
Petrie, Cherri    3/16/2016   33     1     33        3
Petrie, Cherri    3/16/2016   34     4     34       15
Petrie, Cherri    3/16/2016   35    17     36        3
Petrie, Cherri    3/16/2016   36    22     37       10
Petrie, Cherri    3/16/2016   37    13     37       19
Petrie, Cherri    3/16/2016   43    22     45       19
Petrie, Cherri    3/16/2016   46    21     47        1
Petrie, Cherri    3/16/2016   47     5     47        9
Petrie, Cherri    3/16/2016  50     21     51       10
Petrie, Cherri    3/16/2016  51     12     51       16                    51   17     51     23
Petrie, Cherri    3/16/2016  52     24     53        6
Petrie, Cherri    3/16/2016   54    24     55       15
Petrie, Cherri    3/16/2016   55    18     55       23
Petrie, Cherri    3/16/2016   74    20     75        8
Petrie, Cherri    3/16/2016   75    11     75       14
Petrie, Cherri    3/16/2016  76     11     76       19
Petrie, Cherri    3/16/2016   76    20     77       13
Petrie, Cherri    3/16/2016   77    22     78        5
Petrie, Cherri    3/16/2016   80    23     81        8
Petrie, Cherri    3/16/2016   81    13     82       16
Petrie, Cherri    3/16/2016   85    17     86        7
Petrie, Cherri    3/16/2016   87    17     88       12
Petrie, Cherri    3/16/2016   95    25     96        6
Petrie, Cherri    3/16/2016  103    22    104       10
Petrie, Cherri    3/16/2016  104    20    105        9
Petrie, Cherri    3/16/2016  105    11    106        4
Petrie, Cherri    3/16/2016  106     6    106       11
Petrie, Cherri    3/16/2016  106    15    107        6
Petrie, Cherri    3/16/2016  107    12    108        7
Petrie, Cherri    3/16/2016  110    19    111        6
Petrie, Cherri    3/16/2016  112     4    112       23
Petrie, Cherri    3/16/2016  113     6    113       11
Petrie, Cherri    3/16/2016  118     7    118       24
Petrie, Cherri    3/16/2016 119     11    119       21
Petrie, Cherri    3/16/2016 140      3    140       21
Petrie, Cherri    3/16/2016 144     12    145       25
Petrie, Cherri    3/16/2016  149    23    150       14



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Petrie, Cherri    3/16/2016  151   19    151       22
Petrie, Cherri    3/16/2016  184    4    184        9
Petrie, Cherri    3/16/2016                                              184   20    185      6 602 (185:3-185:6); 701
                                                                                                (185:3-185:6); Vague
                                                                                                and ambiguous (185:3-
                                                                                                185:6)
                              184    12    184    19
                                                                         185    8    185     13 602, 701; Vague and
                                                                                                ambiguous
Petrie, Cherri    3/16/2016   255     7    255    13
Petrie, Cherri    3/16/2016   262    21    263    17
Petrie, Cherri    3/16/2016   263    24    264    9
Petrie, Cherri    3/16/2016   265     4    265    14
Petrie, Cherri    3/16/2016   278    3     279    24 AC, L
Petrie, Cherri    3/16/2016   279    25    280    2
Petrie, Cherri    3/16/2016   280    23    282     8                     282    9    282     13
Petrie, Cherri    3/16/2016                                              321   18    322      1 Vague and ambiguous
                                                                                                (321:24-322:1);104a
                                                                                                (321:24-322:1); 602
                                                                                                (321:24-322:1)
                              282    14    283    25
                                                                         322    4    322      6                             322           7       322        14      603, 403
                                                                         322   15    322     18
Petrie, Cherri    3/16/2016   284     6    284    12
Petrie, Cherri    3/16/2016   284    13    285    11
Petrie, Cherri    3/16/2016   286     4    286    25
Petrie, Cherri    3/16/2016   287     7    287    20
Petrie, Cherri    3/16/2016   287    23    288    5                      323    7    323     12
Petrie, Cherri    3/16/2016   288    9     288    25
Petrie, Cherri    3/16/2016   288    22    289    12    701, 602
Petrie, Cherri    3/16/2016   289    3     289    12    701, 602
Petrie, Cherri    3/16/2016   289    17    290    1     602
Petrie, Cherri    3/16/2016   293    25    294    4
Petrie, Cherri    3/16/2016   294    11    295    25    AA
Petrie, Cherri    3/16/2016   295    17    295    25
Petrie, Cherri    3/16/2016   296    3     299    24
Petrie, Cherri    3/16/2016   300    13    302    11
Petrie, Cherri    3/16/2016   301    13    301    22
Petrie, Cherri    3/16/2016   301    23    303    9
Petrie, Cherri    3/16/2016   302    20    305    12
Petrie, Cherri    3/16/2016   303    10    303    14
Petrie, Cherri    3/16/2016   304    8     305    3     602
Petrie, Cherri    3/16/2016   305    4     305    12    602
Petrie, Cherri    3/16/2016   305    17    305    22                     305   23    306     10
Petrie, Cherri    3/16/2016          11    312    25    602, AF, CP,
                              306                       403



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Petrie, Cherri    3/16/2016         2    313       2 602, AF, CP,
                                                      403, 701
                            313
Petrie, Cherri    3/16/2016        12    316       17 AA, 701, 602
                            313
Petrie, Cherri    3/16/2016                           AA, 701, 602
                            315    19    316       5
Petrie, Cherri    3/16/2016 319    24    320       8




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Picurro, Janis    12/4/2015   7     10      7       11
Picurro, Janis    12/4/2015   7     18      7       20
Picurro, Janis    12/4/2015   7     24      7       25
Picurro, Janis    12/4/2015  17      9     17       14
Picurro, Janis    12/4/2015  17     22     18        2
Picurro, Janis    12/4/2015  18      5     18       10
Picurro, Janis    12/4/2015  19     12     19       18
Picurro, Janis    12/4/2015  20     10     21        2
Picurro, Janis    12/4/2015  21      6     21        8
Picurro, Janis    12/4/2015  21     18     21       20
Picurro, Janis    12/4/2015  22     18     23        1
Picurro, Janis    12/4/2015  23     14     23       18
Picurro, Janis    12/4/2015  24      9     24       18
Picurro, Janis    12/4/2015  24     24     25       10
Picurro, Janis    12/4/2015  25     13     26       22
Picurro, Janis    12/4/2015  29     13     29       20
Picurro, Janis    12/4/2015  31     15     31       20
Picurro, Janis    12/4/2015  104    15    104       20
Picurro, Janis    12/4/2015  104    23    104       25
Picurro, Janis    12/4/2015  105     2    105        4
Picurro, Janis    12/4/2015  105     6    105       16
Picurro, Janis    12/4/2015  105    18    108        5   NR, 602
Picurro, Janis    12/4/2015  130    14    130       21
Picurro, Janis    12/4/2015  131     3    131        5
Picurro, Janis    12/4/2015  131    12    131       16
Picurro, Janis    12/4/2015  237    22    237       25
Picurro, Janis    12/4/2015  238     4    238        6
Picurro, Janis    12/4/2015  242    11    242       15   L
Picurro, Janis    12/4/2015  242    17    243        8   L, 602
Picurro, Janis    12/4/2015  243    11    243       20   MPT
Picurro, Janis    12/4/2015  244    23    245        1   L, 602
Picurro, Janis    12/4/2015  246    20    246       25
Picurro, Janis    12/4/2015  247    21    248        1
Picurro, Janis    12/4/2015  248     4    248       25   L
Picurro, Janis    12/4/2015
                                                         L, 106, 403,
                              249     2    249     8     602, AF, MIS
Picurro, Janis    12/4/2015
                                                         L, 106, 403,
                              249    10    249     12    602, AF, MIS
Picurro, Janis    12/4/2015                              106, 403,
                              249    21    249     24    602,MIS
Picurro, Janis    12/4/2015   250     1    250     22    L



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Picurro, Janis    12/4/2015  250   24    251        4
Picurro, Janis    12/4/2015  255    5    255        8   L
Picurro, Janis    12/4/2015  256    1    256        3   L
Picurro, Janis    12/4/2015  256    5    256        7
Picurro, Janis    12/4/2015  256   20    256       23   L
Picurro, Janis    12/4/2015  256   25    257        2   L
Picurro, Janis    12/4/2015  257   23    259        8
Picurro, Janis    12/4/2015  259   12    259       15
Picurro, Janis    12/4/2015  259   17    259       24   602, VAG
Picurro, Janis    12/4/2015  260    1    260        3
Picurro, Janis    12/4/2015  260    8    261       24   602
Picurro, Janis    12/4/2015  262    1    262       25   602
Picurro, Janis    12/4/2015  263    3    263        3
Picurro, Janis    12/4/2015
                                                        L, 602, 402,
                              264    16    264    21    403,AF, VAG
Picurro, Janis    12/4/2015   265     6    265    16    L
Picurro, Janis    12/4/2015   265    18    265    21    AA
Picurro, Janis    12/4/2015                             L, 602, 403,
                              265    24    266     2    AF, VAG
Picurro, Janis    12/4/2015   266     6    267     6    L, AA
Picurro, Janis    12/4/2015   267     9    267    13    L, 602
Picurro, Janis    12/4/2015                             VAG, 602,
                              267    17    267    22    CLC
Picurro, Janis    12/4/2015   267    24    267    24




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Pike, Matthew     4/26/2016    5    20      5     25       INC         5       18       5     19
Pike, Matthew     4/26/2016    9    20     10      6
Pike, Matthew     4/26/2016   10    10     10     20
Pike, Matthew     4/26/2016   11     1     11     19
Pike, Matthew     4/26/2016   12     1     12      4
Pike, Matthew     4/26/2016   12    11     12     25
Pike, Matthew     4/26/2016   14     3     14     21
Pike, Matthew     4/26/2016   15    15     16     25                  17        1       17    9    402, 403
                                                                      18       21       19    2    402, 403
Pike, Matthew     4/26/2016   33     1     33      7
Pike, Matthew     4/26/2016   33    13     33     20    402, 602
Pike, Matthew     4/26/2016   48    23     49      3
Pike, Matthew     4/26/2016   49    17     50      3  INC (50:2-3)
Pike, Matthew     4/26/2016   51     6     51     17 402, 403, 602
Pike, Matthew     4/26/2016   53    18     54      4 402 (54:1-4)
Pike, Matthew     4/26/2016   55    24     56      7      402
Pike, Matthew     4/26/2016   56    17     56     22      402
Pike, Matthew     4/26/2016   84    17     85     14      402
Pike, Matthew     4/26/2016   95    14     96     14      402        96        15       96    20 402, 403
Pike, Matthew     4/26/2016   111    8     112    12                 111        5       111    7 402, 403
Pike, Matthew     4/26/2016   112   16     113    15                 113       22       114    1 402, 403
Pike, Matthew     4/26/2016   116   25     117     7
                                                       VAG, 402,
Pike, Matthew     4/26/2016   158   12     159     3    602, 701     161       23       161   25 402, 403
Pike, Matthew     4/26/2016   190    9     190    16    402, 602     189        3       189   17 402, 403
Pike, Matthew     4/26/2016   195    8     195    12      402
Pike, Matthew     4/26/2016   245    3     245    17    402, 403
                                                       402, 602 &
                                                     701 (252:10-
Pike, Matthew     4/26/2016   250   12     252    15       15)
Pike, Matthew     4/26/2016   253    9     253    23    602. 701
Pike, Matthew     4/26/2016   254    8     254    12      VAG        253       24       254   1    402, 403
                                                                     254        5       254   7    402, 403
Pike, Matthew     4/26/2016   284   17     285    10       402




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                                                       602 (286:16-
                                                         21), 402
                                                         (286:22-
Pike, Matthew     4/26/2016   286   16     287    10     287:10)




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Romano, Jeffrey   7/15/2011  8      8      8       11
Romano, Jeffrey   7/15/2011  8     14      8       17
Romano, Jeffrey   7/15/2011  8     20      8       25                   9     1      9      4
                                                                       13     24    14      6
                                                                       15     20    15      23
                                                                       16     10    16      11
                                                                       16     14    17      1
Romano, Jeffrey   7/15/2011   17     4       17    19                  17     20    18      5
                                                                       18     11    18      11
                                                                       18     22    19      3
Romano, Jeffrey   7/15/2011   138    22     140     5                  137    11    138     17
                                                                       140    6     140     7
                                                                       140    11    140     13
                                                                       145    2     145     13
                                                                       145    22    145     25
Romano, Jeffrey   7/15/2011                                            203    1     204     2    Calls for legal
                                                                                                 conclusion;
                                                                                                 Vague and
                                                                                                 ambiguous
                              205    18     205    24
                                                                       204    8     204     18
Romano, Jeffrey   7/15/2011   206     5     206    21                  206    25    207     2
Romano, Jeffrey   7/15/2011   207     3     207    17                  206    25    207     2
Romano, Jeffrey   7/15/2011   207    23     208    14                  206    25    207     2
Romano, Jeffrey   7/15/2011                           30b6
                              215    10     215    13 402
Romano, Jeffrey   3/18/2016    6     16      6     20
Romano, Jeffrey   3/18/2016    7      9      7     10
Romano, Jeffrey   3/18/2016    10    20      10    23                    7    11      7     13
                                                                        11    5      11     20
                                                                        13    6      13     12
Romano, Jeffrey   3/18/2016   11     1       11     4                    7    11      7     13
                                                                        11    5      11     20
                                                                        13    6      13     12
Romano, Jeffrey   3/18/2016   40     23      41     7   CLC             36    2      36     11
                                                                        38    4      38     10
                                                                        39    11     39     14
                                                                        40    2      40     2
                                                                        40    4      40     7
                                                                        41    8      41     10
Romano, Jeffrey   3/18/2016   43     18      43    20
Romano, Jeffrey   3/18/2016   43     24      44    13
Romano, Jeffrey   3/18/2016   44     19      45    7 CLC




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Romano, Jeffrey   3/18/2016                                            15     10      16     15 Cumulative;
                                                                                                Duplicative of
                                                                                                other exhibits
                              125   20     126    22
                                                                      125     7     125    12
                                                                      127     5     127    7    402;
                                                                                                Compound
Romano, Jeffrey   3/18/2016                            CLC            130     1     130    3
                              140   23     140    25   Contingent
                                                                      130    15     130    25   Calls for legal
                                                                                                conclusion

                                                                      132     7     132    10   Calls for legal
                                                                                                conclusion

                                                                      132    23     133    1    Calls for legal
                                                                                                conclusion

                                                                      133    11     133    16   Calls for legal
                                                                                                conclusion

                                                                      141    18     141    21
Romano, Jeffrey   3/18/2016   141   5      141     5   Contingent     130    1      130    3
                                                                      130    15     130    25   Calls for legal
                                                                                                conclusion

                                                                      132     7     132    10   Calls for legal
                                                                                                conclusion

                                                                      132    23     133    1    Calls for legal
                                                                                                conclusion

                                                                      133    11     133    16   Calls for legal
                                                                                                conclusion

                                                                      141    18     141    21
Romano, Jeffrey   3/18/2016                            CLC            130    1      130    3
                                                       30b6
                              141   7      141    14   Contingent
                                                                      130    15     130    25   Calls for legal
                                                                                                conclusion




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                                                                       132     7      132    10 Calls for legal
                                                                                                conclusion

                                                                      132     23    133     1   Calls for legal
                                                                                                conclusion

                                                                      133     11    133    16   Calls for legal
                                                                                                conclusion

                                                                      141     18    141    21
Romano, Jeffrey   3/18/2016   141   16     141    16   Contingent     130     1     130    3
                                                                      130     15    130    25   Calls for legal
                                                                                                conclusion

                                                                      132     7     132    10   Calls for legal
                                                                                                conclusion

                                                                      132     23    133     1   Calls for legal
                                                                                                conclusion

                                                                      133     11    133    16   Calls for legal
                                                                                                conclusion

                                                                      141     18    141    21
Romano, Jeffrey   3/18/2016                            O
                                                       30b6
                                                       602
                              142   5      142    7    VAG
Romano, Jeffrey   3/18/2016   142   9      142    13   VAG
Romano, Jeffrey   3/18/2016   142   15     142    18
Romano, Jeffrey   3/18/2016                            30b6
                                                       402
                              143   4      143     5   403
Romano, Jeffrey   3/18/2016   143   9      143     9   Contingent      7      14     8      6   402; 403
Romano, Jeffrey   3/18/2016                            30b6            7      14     8      6   402; 403
                                                       402
                              143   11     143    11   403
Romano, Jeffrey   3/18/2016   143   13     143    13
Romano, Jeffrey   3/18/2016                            30b6
                                                       402
                              143   15     143    22   403
Romano, Jeffrey   3/18/2016   143   24     143    24




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Romano, Jeffrey   3/18/2016                           30b6
                                                      402
                                                      602
                                                      VAG
                             161   13    161       15 O
Romano, Jeffrey   3/18/2016  161   17    161       18
Romano, Jeffrey   3/18/2016                           30b6
                                                      402
                                                      602
                                                      VAG
                             161   20    161       23 O
Romano, Jeffrey   3/18/2016  162    2    162       6 Contingent       162    8     162     9
                                                                      162    11    162     15




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                             Start Start End End                        Start Start End End
Schneider, Laura   1/26/2012    5    12     5      21
Schneider, Laura   1/26/2012    8     2     8      11
Schneider, Laura   1/26/2012   11     1    11       2
Schneider, Laura   1/26/2012   11     6    11       6                    11       7        11    11
Schneider, Laura   1/26/2012   104    9    104      9   CLC, 602, 701
Schneider, Laura   1/26/2012   104   12    104     17   CLC, 602, 701   103       8        103   15 402; 403; 602




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                                   Designations                 Objections              Designations            Objections                                                Objections
Transcript Name   Depo Date   Page Line Page Line                                  Page Line Page Line                        Page Start   Line Start Page End Line End
                              Start Start End        End                           Start Start End        End
Shlevin, Harold   4/23/2008    6      4      6        6
Shlevin, Harold   4/23/2008    37    17     37       25    HS, L, 602, PK
Shlevin, Harold   4/23/2008    38     5     38        8    HS, 602, PK
Shlevin, Harold   4/23/2008    41    23     42        8    HS, 602
Shlevin, Harold   4/23/2008    44    19     45        4    HS, 602, PK
Shlevin, Harold   4/23/2008   101    12    103       12    HS, L, NARR, VAG,
                                                           402
Shlevin, Harold   4/23/2008   103     14     106    20     HS, L, VAG, PK, 602      113    17     113    20        402
Shlevin, Harold   4/23/2008   116     18     116    24     HS, L, 602, PK, 403,     114    20     116     1
                                                           701
Shlevin, Harold   4/23/2008   132      1     132     3     HS, INC                  132     4     133    16
                                                                                    133    23     133    24
Shlevin, Harold   5/29/2015    6      20      6     24
Shlevin, Harold   5/29/2015   111      3     111     4
Shlevin, Harold   5/29/2015   119     13     119    17
Shlevin, Harold   5/29/2015   122     13     122    15
Shlevin, Harold   5/29/2015   123     10     123    12     PK, 602, L, 402
Shlevin, Harold   5/29/2015   123     15     123    15     PK, 602
Shlevin, Harold   5/29/2015   129     13     129    22     L, PK, 602, 701, VAG,
                                                           O, NARR
Shlevin, Harold   5/29/2015   129     25     130    11     PK, 602, 701, VAG, O,
                                                           NARR
Shlevin, Harold   5/29/2015   143     11     143    22     PK, 602
Shlevin, Harold   5/29/2015   173     15     173    21     L, PK, 602
Shlevin, Harold   5/29/2015   173     23     174    7      PK, 602
Shlevin, Harold   5/29/2015   277     22     279    5      L, 402, PK, 602, VAG,
                                                           NARR
Shlevin, Harold   5/29/2015   279      8     279    13     PK, 602, L, HS
Shlevin, Harold   5/29/2015   279     15     279    17     L, HS, 602, PK
Shlevin, Harold   5/29/2015   279     20     280    7      HS, PK, 602
Shlevin, Harold   5/29/2015   280      9     281     4     L, HS, PK, 602
Shlevin, Harold   5/29/2015   281     10     281    11     602, VAG, INC
Shlevin, Harold   5/29/2015   281     13     281    22     PK, 602, HS, NARR




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Tarriff, Scott    7/10/2008    8     15      8       17   HS
Tarriff, Scott    7/10/2008    11    14     11       22   HS
Tarriff, Scott    7/10/2008    12     4     12       15   HS
Tarriff, Scott    7/10/2008    12    16     13       4    HS
Tarriff, Scott    7/10/2008    13    24     14       11   HS
Tarriff, Scott    7/10/2008    14    15     15       10   NARR, HS                  20     14     20    20
Tarriff, Scott    7/10/2008    15    11     16       19   L, HS, 501, MIL
Tarriff, Scott    7/10/2008    18     3     19       11   HS                        19     12     20    13
Tarriff, Scott    7/10/2008    21     5     22       3    HS, 501, MIL
Tarriff, Scott    7/10/2008    22     9     22       11   HS, 501, MIL
Tarriff, Scott    7/10/2008    23    13     24       14   HS
Tarriff, Scott    7/10/2008    24    15     24       17   HS, AF, MPT
Tarriff, Scott    7/10/2008    24    20     25       21   HS, 501, MIL
Tarriff, Scott    7/10/2008    26     8     26       24   HS, 501, MIL
Tarriff, Scott    7/10/2008    32    18     37       4    NARR, NPK, L, HS,
                                                          501, MIL                 126     11    129     2
                                                                                   138      1    140    15
Tarriff, Scott    7/10/2008    45     17     47     8     NARR, L, BS, HS, 501,
                                                          MIL
Tarriff, Scott    7/10/2008    54     4      56     8     402, 701, BS, HS, 501,    56     15     57     5
                                                          MIL
Tarriff, Scott    7/10/2008    60     5      60     19    HS                        58      1     60     4
                                                                                    61     10     61    14              106               61      15       61       25       HS, 602, 402
Tarriff, Scott    7/10/2008    87      4     87      8    HS
Tarriff, Scott    7/10/2008    87      9     87     24    HS
Tarriff, Scott    7/10/2008    87     25     88     22    HS
Tarriff, Scott    7/10/2008    89      2     90     18    HS                        90     19     90    25
Tarriff, Scott    7/10/2008    91      1     91      6    HS
Tarriff, Scott    7/10/2008   104      1    105      5    HS                        73     25     77    14
Tarriff, Scott    7/10/2008   116     21    117     18    HS                       117     19    118     7
Tarriff, Scott    7/10/2008   141      3    141     12    602, HS                  143     17    144    10
Tarriff, Scott    7/10/2008   145      7    147      8    602, HS, BS, 501, MIL
Tarriff, Scott    7/10/2008   147     14    147     19    602, HS, 501, MIL
Tarriff, Scott    7/10/2008   150     17    151     14    HS, 501, MIL             153     2     153    11              106              153      12       154      19        HS, 602, 402
                                                                                   157      3    157    24              106              157      25       158      12        HS, 602, 402
                                                                                   167     14    168    22
Tarriff, Scott    7/10/2008   158     13    159     15    HS, 501, MIL
Tarriff, Scott    7/10/2008   180     21    181     22    HS
Tarriff, Scott    7/23/2015    13     10     13     13
Tarriff, Scott    7/23/2015    13     18     13     19
Tarriff, Scott    7/23/2015    16     10     16     12
Tarriff, Scott    7/23/2015    17     15     18      3
Tarriff, Scott    7/23/2015    26      2     26      3
Tarriff, Scott    7/23/2015    27     14     27     21    106, 501, MIL             27     10     27    13
Tarriff, Scott    7/23/2015    28     15     28     24    501, MIL                 130      3    130    12
                                                                                   141     16    142     3
                                                                                   142     20    143    17
                                                                                   143     19    144    18



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                                                                              144    25      144    25
                                                                              176    15      178     3
                                                                                                         402 (176:15-176:25); 403
                                                                                                         (176:15-176:25);
                                                                                                         402 (177:1-178:3); 403 (177:1-
                                                                                                         178:3); 602 (177:1-178:3)
Tarriff, Scott    7/23/2015    29     1    29      3    501, MIL              55     18     55     24                 106                  56       1       56        2       NR, R, L, VAG
Tarriff, Scott    7/23/2015    61     8    61      9   L
Tarriff, Scott    7/23/2015    61    11    61     14   L
Tarriff, Scott    7/23/2015    61    16    61     16   L
Tarriff, Scott    7/23/2015    62     7    62     14   L, AF, MPT             65     16     65     20
Tarriff, Scott    7/23/2015    69     3    69      7   501, MIL
Tarriff, Scott    7/23/2015   120    2    120     14   L, MPT, 501, MIL       159    12    160     2                  106                 159       3       159      11       R, 602, 403,
                                                                              160     5    160      9
                                                                              161    22    161     22
                                                                              162     5    162      9
                                                                              169     3    169     19
                                                                              169    24    170      8
Tarriff, Scott    7/23/2015   155    15   155     18   L, AF, PK




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                            Start Start End End                        Start Start End End
Todisco, Joseph   3/13/2008  4       4      4       6    HS
Todisco, Joseph   3/13/2008   4      9      4       12   HS
Todisco, Joseph   3/13/2008   7      2      7       11   HS
Todisco, Joseph   3/13/2008   9      3      9       12   HS
Todisco, Joseph   3/13/2008  11     15     11       22   HS
Todisco, Joseph   3/13/2008  12     13     12       22   HS
Todisco, Joseph   3/13/2008  13      2     13       10   HS             13    17    14      2       106           14           3        14          5     403, O, VAG
Todisco, Joseph   3/13/2008  19      6     19       24   HS             18     6    19      5
                                                                        20    11    20     13
Todisco, Joseph   3/13/2008   25     1     25       6    HS
Todisco, Joseph   3/13/2008   25     18    25      25    HS
Todisco, Joseph   3/13/2008   26     1     26       8    HS
Todisco, Joseph   3/13/2008   27     13    27      20    HS
Todisco, Joseph   3/13/2008   27     25    27      25    HS
Todisco, Joseph   3/13/2008   28     1     28      21    HS
Todisco, Joseph   3/13/2008   30     6     30      21    HS
Todisco, Joseph   3/13/2008   39     24    39      25    HS
Todisco, Joseph   3/13/2008   40     1     40      25    HS
Todisco, Joseph   3/13/2008   44     1     44      25    HS
Todisco, Joseph   3/13/2008   45     1     45       5    HS
Todisco, Joseph   3/13/2008   46     7     46      12    HS
Todisco, Joseph   3/13/2008   51     3     51      25    HS
Todisco, Joseph   3/13/2008   52     1     52      25    HS
Todisco, Joseph   3/13/2008   53     1     53      10    HS
Todisco, Joseph   3/13/2008   53     17    53      25    HS
Todisco, Joseph   3/13/2008   54     1     54      10    HS
Todisco, Joseph   3/13/2008   54     16    54      16    HS
Todisco, Joseph   3/13/2008   54     20    54      20    HS
Todisco, Joseph   3/13/2008   56     20    56      25    HS
Todisco, Joseph   3/13/2008   57     1     57      15    HS
Todisco, Joseph   3/13/2008   59     12    59      25    HS
Todisco, Joseph   3/13/2008   60     1     60       8    HS
Todisco, Joseph   3/13/2008   67     13    67      19    HS
Todisco, Joseph   3/13/2008   68     4     68       9    HS
Todisco, Joseph   3/13/2008   69     3     69      25    HS
Todisco, Joseph   3/13/2008   70     1     70      11    HS
Todisco, Joseph   3/13/2008   71     14    71      25    HS
Todisco, Joseph   3/13/2008   72     1     72      18    HS
Todisco, Joseph   3/13/2008   77     4     77      23    HS
Todisco, Joseph   3/13/2008   81     10    81      25    HS
Todisco, Joseph   3/13/2008   82     1     82      25    HS
Todisco, Joseph   3/13/2008   83     1     83       2    HS
Todisco, Joseph   3/13/2008   99     11    99      24    HS             98    14    99     10
Todisco, Joseph   3/13/2008   100    7     100     25    HS
Todisco, Joseph   3/13/2008   101    1     101     10    HS
Todisco, Joseph   3/13/2008   103    13    103     25    HS
Todisco, Joseph   3/13/2008   104    1     104     12    HS



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Todisco, Joseph   3/13/2008  104   25    104       25   HS
Todisco, Joseph   3/13/2008  105    1    105       11   HS
Todisco, Joseph   3/13/2008  117   12    117       25   HS
Todisco, Joseph   3/13/2008  118    1    118       13   HS
Todisco, Joseph   3/13/2008  119   20    119       25   HS
Todisco, Joseph   3/13/2008  120    1    120        5   HS
Todisco, Joseph   3/13/2008  124   13    124       25   HS
Todisco, Joseph   3/13/2008  125    1    125        9   HS, PK
Todisco, Joseph   3/13/2008  154   17    154       25   HS
Todisco, Joseph   3/13/2008                             602, AF, HS,
                                                        NARR, BS
                               155   1     155    25
Todisco, Joseph   3/13/2008                             602, AF, HS,
                                                        NARR, BS
                               156   1     156    16
Todisco, Joseph   3/13/2008                             MPT, HS,
                                                        AF, NARR,
                               158   12    158    25    BS
Todisco, Joseph   3/13/2008                             MPT, HS,
                                                        AF, NARR,
                               159   1     159    12    BS
Todisco, Joseph   3/13/2008    162   3     162    12    602, PK, HS
Todisco, Joseph   3/13/2008    162   17    162    25    602, PK, HS
Todisco, Joseph   3/13/2008    164   25    164    25    HS
Todisco, Joseph   3/13/2008    165   1     165    12    HS
Todisco, Joseph   3/13/2008    165   23    165    25    HS               165   13     165    22
Todisco, Joseph   3/13/2008    166   1     166    25    602, PK, HS
Todisco, Joseph   3/13/2008    167   1     167     2    602, PK, HS
Todisco, Joseph    7/30/2015    7    16     7     25
Todisco, Joseph    7/30/2015    8    13     8     15
Todisco, Joseph    7/30/2015   13    12    13     14                      12   21      12    23
Todisco, Joseph    7/30/2015   13    19    14     20                      13    1      13    11
Todisco, Joseph    7/30/2015   14    25    15      2
Todisco, Joseph    7/30/2015   15    4     15      7
Todisco, Joseph    7/30/2015   156   5     158     8
Todisco, Joseph    7/30/2015   184   10    185     7




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                                    Designations            Objections         Designations          Objections                                                 Objections
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Tykot, Edward     2/23/2016     9     21      9       23
Tykot, Edward     2/23/2016     9     25     10        2
Tykot, Edward     2/23/2016    10     25     11       23
Tykot, Edward     2/23/2016    17     17     18       19   VAG, 602
Tykot, Edward     2/23/2016    19     12     20        5   VAG, 602
Tykot, Edward     2/23/2016    20      8     20       18   VAG
Tykot, Edward     2/23/2016    21      1     21        6   VAG, HYPO
Tykot, Edward     2/23/2016    21      9     21       14   VAG, HYPO
Tykot, Edward     2/23/2016    55      9     55       18
Tykot, Edward     2/23/2016    65     19     65       21
Tykot, Edward     2/23/2016    65     24     66        7
Tykot, Edward     2/23/2016    66     13     66       14
Tykot, Edward     2/23/2016    66     23     67        5
Tykot, Edward     2/23/2016    127     4    128       13
Tykot, Edward     2/23/2016    145     4    145        8                    145       9        145   14
Tykot, Edward     2/23/2016                                VAG, 602, PK
                              145     15     147     7
Tykot, Edward     2/23/2016                                VAG, 602, PK
                              147     11     147    16
Tykot, Edward     2/23/2016                                VAG, 602, PK
                              147     20     148     1
Tykot, Edward     2/23/2016                                PK, 602          148      23        149   1 Vaugue and
                                                                                                       ambiguous;
                              148     13     148    22                                                 104a; 602
                                                                            150       5        150   6 Vaugue and
                                                                                                       ambiguous;
                                                                                                       104a; 602
Tykot, Edward     2/23/2016   272     8      272    25     PK, 602, L
Tykot, Edward     2/23/2016   273     19     273    23     L, 701, VAG
Tykot, Edward     2/23/2016   274     1      274    6      L, 701, VAG
Tykot, Edward     2/23/2016   274     8      274    20     L, 701, VAG
Tykot, Edward     2/23/2016                                L, VAG, 602,
                                                           PK, 402, BS
                              275     14     275    18
Tykot, Edward     2/23/2016                                L, VAG, 602,
                                                           PK, 402, BS,
                              275     20     276     5     HS
Tykot, Edward     2/23/2016                                L, VAG, 602,
                                                           PK, 701
                              279     13     279    17
Tykot, Edward     2/23/2016                                L, VAG, 602,
                                                           PK, 701
                              279     19     279    20




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                              Start Start End End                       Start Start End        End
Tykot, Edward     7/15/2011     6     10      6       12
Tykot, Edward     7/15/2011     6     13      7       2
Tykot, Edward     7/15/2011    34     25     35       5
Tykot, Edward     7/15/2011    37     10     37       13 PK, 602
Tykot, Edward     7/15/2011    37     15     37       15 PK, 602           37      21        37    24 104a; 602
                                                                           38       1        38     4 104a (38:1-
                                                                                                      38:1); 602
                                                                                                      (38:1-38:1)
                                                                           38       7        38     9
                                                                           38      11        38    19 104a (38:12-
                                                                                                      38:19; 602
                                                                                                      (38:12-38:19)

Tykot, Edward     1/31/2008    5      4      5      6  HS
Tykot, Edward     1/31/2008    5      15     5      16 HS
Tykot, Edward     1/31/2008    7      16     8      13 HS
Tykot, Edward     1/31/2008    8      20     8      25 HS
Tykot, Edward     1/31/2008   14      2     14      15 HS
Tykot, Edward     1/31/2008   50      15    52      6  HS
Tykot, Edward     1/31/2008   55      4     56      17 HS
Tykot, Edward     1/31/2008   58      24    59      22 HS
Tykot, Edward     1/31/2008   60      12    61      4  HS
Tykot, Edward     1/31/2008   66      11    66      23 PK, 602, HS        112      12        112   18
Tykot, Edward     1/31/2008   109     6     109     14 PK, 602, HS
Tykot, Edward     1/31/2008   109     18    110     10 PK, 602, HS
Tykot, Edward     1/31/2008   114     12    114     18 PK, 602, HS
Tykot, Edward     1/31/2008                            PK, 602, 701,
                              122     21    123     7 HS
Tykot, Edward     1/31/2008                            PK, 602, 701,
                              125     2     125     11 HS
Tykot, Edward     1/31/2008   134     22    135     5 HS
Tykot, Edward     1/31/2008                            PK, 602,
                              136     10    136     24 701,HS
Tykot, Edward     1/31/2008   139     11    140     6 PK, 602,HS
Tykot, Edward     1/31/2008                            HS                 141      23        142   13 104a (141:23-
                                                                                                      142:10); 602
                                                                                                      (141:23-
                              141     7     141     22                                                142:10)
Tykot, Edward     1/31/2008   142     25    143     9 HS                  143      10        143   16 104a; 602
Tykot, Edward     1/31/2008                            701, 602,
                              180     9     181     11 PK,HS
Tykot, Edward     1/31/2008   188     4     188     20 HS




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Tykot, Edward     1/31/2008                         PK, 602, 701,      192     22     195     13
                              188    24   192    21 HS




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White, Gayle      7/15/2011  8     15      8       18
White, Gayle      7/15/2011  8     20      8       23
White, Gayle      7/15/2011  9      9      9       14
White, Gayle      7/15/2011  12    15     12       16 402, 403,
                                                      VAG
White, Gayle      7/15/2011  12    19     12       23 402, 403,
                                                      VAG
White, Gayle      7/15/2011  13    10     13       17 402, 403
White, Gayle      7/15/2011  96    22     97       10 402, 403
White, Gayle      7/15/2011  97    13     97       18 402, 403
White, Gayle      7/15/2011  97    23     97       24 402, 403
White, Gayle      7/15/2011 229    13    229       15 402, 403,       228     23      229   12   Cumulative
                                                      CLC
White, Gayle      7/15/2011 229    17    229       18 402, 403,
                                                      CLC
White, Gayle      7/15/2011 229    20    229       23 402, 403,
                                                      CLC
White, Gayle      7/15/2011 230     2    230       5 402, 403,
                                                      CLC
White, Gayle      7/15/2011 230    17    230       18 402, 403,
                                                      CLC




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Yang, Difei       6/10/2015  6     16      6       19
Yang, Difei       6/10/2015  13     7     13       12   402
Yang, Difei       6/10/2015  15     7     15       25
Yang, Difei       6/10/2015  16     2     16       25
Yang, Difei       6/10/2015  17     2     17       11
Yang, Difei       6/10/2015  18     6     18       11
Yang, Difei       6/10/2015 250    15    250       19   402, 403, 501
Yang, Difei       6/10/2015 250    25    250       25   402, 403, 501
Yang, Difei       6/10/2015 251     2    251       6    402, 403, 501
Yang, Difei       6/10/2015 365     9    365       21   402, 403, 602    425     25      428       10   Argumentative (427:5-6);
                                                                                                                602; 701
                                                                         439     21      441       04          104a; 701
Yang, Difei       6/10/2015   367    4     367    17    402, 403         434      9      435       15    104a (434:17-23); 602
Yang, Difei       6/10/2015   377    3     377    14    403, 403, 501    377     15      377       23             104a
Yang, Difei       6/10/2015   380    5     380    7     402, 403,        441     13      442       12         Compound
                                                        HYPO, 602, 701

Yang, Difei       6/10/2015   380    19    380    24    402, 403,        441     13      442       12         Compound
                                                        HYPO, 602, 701

Yang, Difei       6/10/2015   382    25    382    25    402, 403,        441     13      442       12         Compound
                                                        HYPO, 602, 701

Yang, Difei       6/10/2015   383    2     383    5     402, 403,        441     13      442       12         Compound
                                                        HYPO, L, 601,
                                                        701
Yang, Difei       6/10/2015   383    12    383    14    402, 403,        441     13      442       12         Compound
                                                        HYPO, L, 601,
                                                        701
Yang, Difei       6/10/2015   383    17    383    25    402, 403,        441     13      442       12         Compound
                                                        HYPO, L, 601,
                                                        701
Yang, Difei       6/10/2015   384    2     384    7     402, 403,        441     13      442       12         Compound
                                                        HYPO, L, 601,
                                                        701
Yang, Difei       6/10/2015   384    9     384    11    402, 403, L,     441     13      442       12         Compound
                                                        601, 701
Yang, Difei       6/10/2015   384    13    384    17    402, 403, L,     441     13      442       12         Compound
                                                        601, 701
Yang, Difei       6/10/2015   384    21    384    22    402, 403, L,     441     13      442       12         Compound
                                                        602, 701
Yang, Difei       6/10/2015   384    25    384    25    402, 403, L,     441     13      442       12         Compound
                                                        602, 701
Yang, Difei       6/10/2015   385    2     385    2     402, 403, L,     385     3       385       12
                                                        602, 701
Yang, Difei       6/10/2015   385    25    385    25    402, 403, L,
                                                        602, 701



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Yang, Difei       6/10/2015 386     2    386       4 402, 403, L,
                                                      602, 701
Yang, Difei       6/10/2015 386     7    386       17 402, 403, 602,
                                                      701
Yang, Difei       6/10/2015 387     4    387       7 L, 402, 403,
                                                      602, 701
Yang, Difei       6/10/2015 387    11    387       17 L, 402, 403,
                                                      602, 701, HYPO

Yang, Difei       6/10/2015   389    18    389    25   L, 402, 403,
                                                       602, 701
Yang, Difei       6/10/2015   390     3    390     3   L, 402, 403,
                                                       602, 701
Yang, Difei       6/10/2015   390     9    390    24   L, 402, 403,
                                                       602, 701
Yang, Difei       6/10/2015   391    12    391    14   L, 402, 403,
                                                       602, 701
Yang, Difei       6/10/2015   391    17    391    25   L, 402, 403,                                      104a; 402
                                                       602, 701
Yang, Difei       6/10/2015   392     2    392    17   L, 402, 403,
                                                       602, 701
Yang, Difei       6/10/2015   392    19    392    19   L, 402, 403,
                                                       602, 701
Yang, Difei       6/10/2015   392    21    392    25   L, 402, 403,
                                                       602, 701
Yang, Difei       6/10/2015   393     2    393     2   L, 402, 403,
                                                       602, 701
Yang, Difei       6/10/2015   396     5    396     7   L, 402, 403,
                                                       602, 701
Yang, Difei       6/10/2015   396    10    396    17   L, 402, 403,
                                                       602, 701
Yang, Difei       6/10/2015   397    15    397    19   L, 402, 403,
                                                       602, 701, LA
Yang, Difei       6/10/2015   397    25    397    25   402, 403, 602,
                                                       701, LA
Yang, Difei       6/10/2015   398     3    398     6   402, 403, 602,
                                                       701, LA
Yang, Difei       6/10/2015   401    15    401    25   L, 402, 403,
                                                       602, 701
Yang, Difei       6/10/2015   402    10    402    13   L, 402, 403,
                                                       602, 701, HYPO

Yang, Difei       6/10/2015   402    15    402    17   L, 402, 403,
                                                       602, 701, HYPO

Yang, Difei       6/10/2015   405    24    405    25   L, 402, 403
Yang, Difei       6/10/2015   406     2    406    7    L, 402, 403



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Yang, Difei       6/10/2015 406    15    406       18 L, 402, 403,
Yang, Difei       6/10/2015 407     4    407       7 L, 402, 403,
                                                      602, 701,
Yang, Difei       6/10/2015 407    12    407       20 L, 402, 403,
                                                      602, 701
Yang, Difei       6/10/2015 413     2    413       5 L, 402, 403,
                                                      602, 701
Yang, Difei       6/10/2015 413    10    413       17 L, 402, 403,
                                                      602, 701
Yang, Difei       6/10/2015 416     9    416       13 L, 402, 403,
                                                      602, 701
Yang, Difei       6/10/2015 416    20    416       25 L, 402, 403,
                                                      602, 701
Yang, Difei       6/10/2015 417     2    417       12 L, 402, 403,
                                                      602, 701
Yang, Difei       6/10/2015 420    11    420       13 L, 402, 403,
                                                      602, 701,
                                                      HYPO,
Yang, Difei       6/10/2015 420    17    420       25 L, 402, 403,
                                                      602, 701,
                                                      HYPO,
Yang, Difei       6/10/2015 421     2    421       15 L, 402, 403,
                                                      602, 701, HYPO

Yang, Difei       6/10/2015   423    13    423    25   402, 403, HS
Yang, Difei       6/10/2015   424     2    424    21   402, 403, 602,    430     7    430      17
                                                       701
                                                                         431     7    431      10 No question included
Yang, Difei       6/10/2015   428    23    428    25   402, 403, HS
Yang, Difei       6/10/2015   429     2    429    2    402, 403          429     4    429      22
Yang, Difei       6/10/2015   429    14    429    18   402, 403          429     4    429      22




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Yeomans, Carol    5/4/2016      9     13      9       15
Yeomans, Carol    5/4/2016      9     20      9       21
Yeomans, Carol    5/4/2016     11      3     11        5
Yeomans, Carol    5/4/2016     15      8     15       21
Yeomans, Carol    5/4/2016     19     19     20       14
Yeomans, Carol    5/4/2016     104    22    105        1   402, 403
Yeomans, Carol    5/4/2016     105    10    105       16   402, 403
Yeomans, Carol    5/4/2016     116    10    117        9   402, 403
Yeomans, Carol    5/4/2016     125    18    126        9   402, 403
Yeomans, Carol    5/4/2016     176     4    177        1   402, 403         201   15     203    22
Yeomans, Carol    5/4/2016     182    23    183       20   402, 403
Yeomans, Carol    5/4/2016     183    22    184       23   402, 403         184   24     185        3
Yeomans, Carol    5/4/2016     185    12    185       25   402, 403
Yeomans, Carol    5/4/2016     186     2    186        4   402, 403
Yeomans, Carol    5/4/2016     186     9    187       13   402, 403
Yeomans, Carol    5/4/2016     187    21    190        6   402, 403         199   22     200    25                          201       1        201        8      402, 403
Yeomans, Carol    5/4/2016     190    18    191       15   402, 403
Yeomans, Carol    5/4/2016                                 402, 403         204    7     206    18       104a (205:14-
                                                                                                          206:6); 602
                              191     25     193     5                                                  (205:14-206:6)
Yeomans, Carol    5/4/2016    193     7      193    14     402, 403
Yeomans, Carol    5/4/2016    193     17     193    21     402, 403
Yeomans, Carol    5/4/2016    193     23     193    24     402, 403
Yeomans, Carol    5/4/2016    194     1      194     5     402, 403
Yeomans, Carol    5/4/2016    194     7      194    20     402, 403
Yeomans, Carol    5/4/2016    194     24     195     1     402, 403
Yeomans, Carol    5/4/2016    195     4      195     7     402, 403         195   18     197        5




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Zeleny, Pete      2/9/2005     4       7       4       9        HS, MIL
Zeleny, Pete      2/9/2005     4      13       4      17        HS, MIL
Zeleny, Pete      2/9/2005     9       9       9      10        HS, MIL, MIS, NARR, O, VAG
Zeleny, Pete      2/9/2005     9      24       10     11        HS, MIL, NARR, O, PK, 602, 901,       11        1       11       6      402
                                                                1002, NR, VAG
Zeleny, Pete      2/9/2005    13      12       13       15      HS, MIL, CP, O, VAG, 602              13       5        13      11      402
                                                                                                      17       3        17      18
Zeleny, Pete      2/9/2005    16      22       17        2      HS, MIL, CP, DUP, AA, AF, O, PK,      16       18       16      21
                                                                VAG
Zeleny, Pete      2/9/2005    17      19       18        1      HS, MIL, CP, DUP, AA, AF, O, PK,
                                                                VAG, L
Zeleny, Pete      2/9/2005    39      19       40       22      HS, MIL, 901, 1002, AF, 403, MIS,
                                                                O, PK, VAG
Zeleny, Pete      2/9/2005    43      11       43       15      HS, MIL, 403, 402, 701, 901,          42       10       42      19
                                                                1002, AF, CLC, CP, HYPO, LA, MIS,
                                                                O, NR, PK
Zeleny, Pete      2/9/2005    43      25       44        2      HS, MIL, 602, 701, 1002, 30b6,        44       23       45       1      602
                                                                AF, CLC, MIS, O, PK, UT, VAG
                                                                                                      97        4       97      23      402, 602
Zeleny, Pete      2/9/2005    45       2       45        4      HS, MIL, 602, 701, 1002, 30b6,
                                                                AF, CLC, MIS, O, PK, UT, VAG
Zeleny, Pete      2/9/2005    46       1       46        4      HS, MIL, 501, 701, AF, ARG, CUM,
                                                                LA, MIS, O, PK, VAG
Zeleny, Pete      2/9/2005    75       3       75       15      HS, MIL, 602, 701, AF, LA, MIS, O,    75       16       76      15      402; Improper designation
                                                                PK, VAG                                                                 of attorney colloquy (75:18-
                                                                                                                                        76:1)
Zeleny, Pete      2/9/2005    80      13       80       18      HS, MIL, 602, 901, 1002, IMP, NR

Zeleny, Pete      2/9/2005    80      24       81       14      HS, MIL, 602, 701, CLC, L, MIS,       81        3       81      11                 106                    81           15        81          24    HS, MIL, 602, 701,
                                                                NR, O, PK, VAG, 403, 30b6                                                                                                                          CLC, L, MIS, NR, O,
                                                                                                                                                                                                                   PK, VAG, 403, 30b6
Zeleny, Pete      2/9/2005    88       1       88       11      HS, MIL, 602, 701, PK, VAG, O,
                                                                MIS, AF, 1002, 901
Zeleny, Pete      2/9/2005    88      18       89        4      HS, MIL, 403, 701, PK, VAG, O,        89        5       89       7
                                                                MIS, AF, 1002, 901, LA, CP
Zeleny, Pete      2/9/2005    89      13       90       12      HS, MIL, L, 402, 602, 701, 30b6,
                                                                AA, AF, ARG, CLC, DUP, MIS, O,
                                                                PK, VAG
Zeleny, Pete      2/9/2005    93      12       93       15      HS, MIL, L, 701, 602, 901, PK,        93        3       93      10      Improper designation of
                                                                NARR, O, UT, VAG                                                        attorney objection
Zeleny, Pete      2/9/2005    94      14       94       23      HS, MIL, L, CLC, CP, CUM, DUP,
                                                                AA, AF, LA, PK, O, VAG, 602, 701




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Zeleny, Pete      2/9/2005    98      11       98     19    HS, MIL, L, CLC, CP, CUM, DUP,      44       23      45         1     602
                                                            AA, AF, LA, PK, O, VAG, 602, 701




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             106       Incomplete Excerpt
             402       Irrelevant
             403       Prejudicial/Confusing
             501       Privileged
             602       Speculation, Foundation
             701       Improper Opinion By Lay Witness
             702       Improper Opinion By Expert
             703       Not Reasonably Relied Upon By Experts
             901       Authenticity
             1002      Original Document Rule
             1006      Improper Summary
             30b6      Outside Scope Of 30(b)(6)
             AA        Asked And Answered
             AC        Attorney Colloquy
             AF        Assumes Facts
             ARG       Argumentative
             BS        Beyond The Scope Of Direct
             CLC       Calls For Legal Conclusion
             CP        Compound
             CUM       Cumulative
             DAUB      Subject To Pending Daubert
             DUP       Duplicative
             HS        Hearsay
             HYPO      Improper/Incomplete Hypothetical
             ILL       Illegible Copy Of Exhibit
             IMP       Improper Designation
             INC       Incomplete Exhibit Or Designation
             L         Leading
             LA        Legal Argument
             MIL       Subject Of Motion In Limine
             MIS       Misleading Question
             MPT       Misstates Prior Testimony
             NARR      Question Calls For A Narrative
             NR        Non-Responsive
             O         Overly Broad Question
             PK        Witness Lacks Personal Knowledge
             UT        Untimely Disclosure
             VAG       Vague And Ambiguous
